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   Avi Josefson (pro hac vice forthcoming)   James E. Cecchi
   Michael D. Blatchley                      Donald A. Ecklund
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   Counsel for Proposed Lead Plaintiff the   Liaison Counsel for Proposed Lead
   Amitim Funds and Proposed Lead Counsel    Plaintiff the Amitim Funds and Proposed
   for the Class                             Liaison Counsel for the Class


                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 JASON KERZNOWSKI, Individually and On       Case No. 2:18-cv-13834-SRC-CLW
 Behalf of All Others Similarly Situated,    Hon. Stanley R. Chesler

                             Plaintiff,      MOTION DAY: December 17, 2018

        v.                                   ORAL ARGUMENT REQUESTED

 OPKO HEALTH, INC., PHILLIP FROST,
 ADAM LOGAL, and JUAN F. RODRIGUEZ,

                             Defendants.



    DECLARATION OF JAMES E. CECCHI IN SUPPORT OF THE MOTION OF THE
         AMITIM FUNDS FOR APPOINTMENT AS LEAD PLAINTIFF AND
       APPROVAL OF THEIR SELECTION OF LEAD AND LIAISON COUNSEL
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  I, James E. Cecchi, declare as follows:

         1.      I am a member in good standing of the bars of the State of New Jersey and of this

  Court. I am a partner in the law firm of Carella, Byrne, Cecchi, Olstein, Brody & Agnello P.C.

  (“Carella Byrne”). I submit this declaration in support of the Motion filed by the Amitim Funds1

  for: (1) appointment as Lead Plaintiff in the above-captioned securities class action; (2) approval

  of their selection of Bernstein Litowitz Berger & Grossmann LLP (“Bernstein Litowitz”) as Lead

  Counsel and Carella Byrne as Liaison Counsel for the Class; and (3) any such further relief as the

  Court may deem just and proper.

         2.      Attached as Exhibits A through E are true and correct copies of the following

  documents:

              EXHIBIT A:        Certification of the Amitim Funds;

              EXHIBIT B:        Chart of transactions and losses of the Amitim Funds;

              EXHIBIT C:        Notice of pendency of Kerznowski v. OPKO Health, Inc, No. 2:18-
                                cv-13834 (D.N.J.), published on September 12, 2018;

              EXHIBIT D:        Firm Résumé of Bernstein Litowitz; and

              EXHIBIT E:        Firm Résumé of Carella Byrne.

         I declare, under penalty of perjury, that the foregoing is true and correct to the best of my

  knowledge.

         Executed this thirteenth day of November 2018.


                                                         /s/ James E. Cecchi
                                                         James E. Cecchi


  1
   The “Amitim Funds” consist of the following five related Israel-based pension funds:
  Mivtachim The Workers Social Insurance Fund Ltd.; Keren Hgimlaot Hmerkazit Histadrut
  Central Pension Fund Ltd.; Kerren Makefet Pension and Provident Center Cooperative
  Society Ltd.; The Hadassah Workers Pension Fund Ltd.; and The “Egged” Members Pension
  Fund Ltd.


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                                    CERTIFICATE OF SERVICE

         I hereby certify that on the 13th day of November 2018, I electronically filed the foregoing

  with the Clerk of Court using the CM/ECF system, which will then send a notification of such

  filing to the registered participants as identified on the Notice of Electronic Filing.


                                                         /s/ James E. Cecchi
                                                         James E. Cecchi




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                         EXHIBIT A
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                         EXHIBIT B
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The Amitim Funds
Loss in OPKO Health, Inc.
Class period: 09/26/13 - 09/07/18
CUSIP # 68375N103                                                                                                                     Hold price
Retained share price: $3.6671 (09/10/18 - 11/12/18)                                                                                         3.6671

   Transaction         Date          Shares           Price        Cost                   Transaction       Date         Shares          Price         Proceeds

Mivtachim The Workers Social Insurance Fund Ltd.

                                                                                    Sale                    6/10/2014    (122,060)         9.1763     ($1,120,059.18)
                                                                                    Sale                    4/13/2015     (61,031)        14.5569       ($888,422.16)
                                                                                    Sale                    6/20/2016     (97,596)         9.1509       ($893,091.24)
Purchase               4/15/2014        73,236         8.0808      $591,802.54      Sale                    2/28/2017    (119,901)         8.5355     ($1,023,414.99)
Purchase               4/17/2014        73,236         8.1813      $599,165.69      Sale                     5/9/2017     (89,926)         7.4392       ($668,977.50)
Purchase                9/8/2014        40,219         8.6348      $347,281.41      Sale                    5/15/2017      (6,415)         7.1778        ($46,045.31)
Purchase              12/29/2014       183,091         9.7759    $1,789,881.14      Sale                     6/1/2017    (269,777)         6.2752     ($1,692,909.49)
Purchase              12/30/2014       122,060         9.8528    $1,202,632.77      Sale                     6/7/2017    (179,852)         6.2690     ($1,127,492.19)
Purchase              12/31/2014        91,545         9.9877      $914,324.00      Sale                    6/19/2017    (239,802)         6.5563     ($1,572,213.85)
Purchase                8/6/2015       274,635        14.5050    $3,983,575.18      Sale                    6/20/2017    (239,802)         6.7770     ($1,625,138.15)
Purchase               8/24/2015       339,049        11.2167    $3,803,017.36      Sale                    6/27/2017     (10,192)         7.0355        ($71,706.11)
Purchase               9/21/2015        26,529         9.9000      $262,637.10      Sale                    6/28/2017     (77,936)         6.7956       ($529,622.82)
Purchase               9/23/2015        60,980         9.5970      $585,225.06      Sale                     7/3/2017    (150,786)         6.4831       ($977,560.72)
Purchase               9/25/2015       158,548         9.3368    $1,480,330.97      Sale                    7/10/2017     (70,676)         6.3054       ($445,640.45)
Purchase               9/28/2015       362,831         8.6062    $3,122,579.82      Sale                    7/17/2017    (149,876)         6.0571       ($907,813.92)
Purchase              10/19/2015       128,972         9.8759    $1,273,714.57      Sale                     1/2/2018     (50,358)         4.9423       ($248,882.78)
Purchase              10/20/2015       182,940         9.5403    $1,745,296.99      Sale                     1/9/2018     (83,931)         4.9397       ($414,590.94)
Purchase              12/14/2015        63,847         9.5821      $611,787.83      Sale                    4/16/2018    (149,876)         3.0212       ($452,798.78)
Purchase               1/10/2017       233,720         9.3716    $2,190,335.26      Sale                    4/23/2018    (209,827)         3.0430       ($638,495.59)
Purchase               1/11/2017       233,720         9.3020    $2,174,063.44
Purchase               1/25/2017       467,440         8.6195    $4,029,099.08      Sale*                   9/14/2018    (289,290)         4.0203     ($1,163,032.59)
Purchase               1/26/2017       142,890         8.6390    $1,234,428.71
Purchase               1/27/2017       175,290         8.6769    $1,520,977.31      Retained                              (765,868)        3.6671     ($2,808,547.37)
                                     3,434,778                  $33,462,156.23                                          (3,434,778)                  ($19,316,456.11)

                                                                                          Mivtachim The Workers Social Insurance Fund Ltd. Loss      ($14,145,700.12)




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The Amitim Funds
Loss in OPKO Health, Inc.
Class period: 09/26/13 - 09/07/18
CUSIP # 68375N103                                                                                                                 Hold price
Retained share price: $3.6671 (09/10/18 - 11/12/18)                                                                                     3.6671

   Transaction         Date          Shares           Price        Cost                   Transaction    Date        Shares          Price        Proceeds

Keren Hgimlaot Hmerkazit Histadrut Central Pension Fund Ltd.

                                                                                    Sale                6/10/2014      (39,280)        9.1763     ($360,445.06)
                                                                                    Sale                4/13/2015      (19,648)       14.5569     ($286,013.97)
                                                                                    Sale                6/20/2016      (31,142)        9.1509     ($284,977.33)
Purchase               4/15/2014        23,568         8.0808      $190,447.35      Sale                2/28/2017      (38,868)        8.5355     ($331,757.81)
Purchase               4/17/2014        23,568         8.1813      $192,816.88      Sale                 5/9/2017      (29,151)        7.4392     ($216,860.12)
Purchase                9/8/2014        12,949         8.6348      $111,811.51      Sale                5/15/2017       (2,079)        7.1778      ($14,922.56)
Purchase              12/29/2014        58,949         9.7759      $576,280.12      Sale                 6/1/2017      (87,452)        6.2752     ($548,780.36)
Purchase              12/30/2014        39,300         9.8528      $387,215.04      Sale                 6/7/2017      (58,301)        6.2690     ($365,488.97)
Purchase              12/31/2014        29,460         9.9877      $294,237.64      Sale                6/19/2017      (77,735)        6.5563     ($509,653.98)
Purchase                8/6/2015        88,425        14.5050    $1,282,602.86      Sale                6/20/2017      (77,735)        6.7770     ($526,810.10)
Purchase               8/24/2015       107,697        11.2167    $1,208,006.99      Sale                6/27/2017       (3,304)        7.0355      ($23,245.39)
Purchase               9/21/2015         8,427         9.9000       $83,427.30      Sale                6/28/2017      (25,264)        6.7956     ($171,684.34)
Purchase               9/23/2015        19,370         9.5970      $185,893.89      Sale                 7/3/2017      (48,879)        6.4831     ($316,887.44)
Purchase               9/25/2015        50,362         9.3368      $470,219.92      Sale                7/10/2017      (22,911)        6.3054     ($144,463.02)
Purchase               9/28/2015       115,252         8.6062      $991,876.58      Sale                7/17/2017      (48,585)        6.0571     ($294,284.20)
Purchase              10/19/2015        40,968         9.8759      $404,595.87      Sale                 1/2/2018      (16,324)        4.9423      ($80,677.60)
Purchase              10/20/2015        58,110         9.5403      $554,385.09      Sale                 1/9/2018      (27,207)        4.9397     ($134,393.44)
Purchase              12/14/2015        20,280         9.5821      $194,324.83      Sale                4/16/2018      (48,585)        3.0212     ($146,782.86)
Purchase               1/10/2017        77,560         9.3716      $726,862.92      Sale                4/23/2018      (68,018)        3.0430     ($206,976.19)
Purchase               1/11/2017        77,560         9.3020      $721,463.12
Purchase               1/25/2017       155,120         8.6195    $1,337,056.84      Sale*               9/14/2018     (105,348)        4.0203     ($423,530.56)
Purchase               1/26/2017        47,418         8.6390      $409,644.77
Purchase               1/27/2017        58,170         8.6769      $504,736.44      Retained                          (236,697)        3.6671      ($868,001.71)
                                     1,112,513                  $10,827,905.94                                      (1,112,513)                  ($6,256,637.03)

                                                                           Keren Hgimlaot Hmerkazit Histadrut Central Pension Fund Ltd. Loss     ($4,571,268.91)




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The Amitim Funds
Loss in OPKO Health, Inc.
Class period: 09/26/13 - 09/07/18
CUSIP # 68375N103                                                                                                                  Hold price
Retained share price: $3.6671 (09/10/18 - 11/12/18)                                                                                      3.6671

   Transaction         Date          Shares           Price        Cost                   Transaction    Date         Shares          Price        Proceeds

Kerren Makefet Pension and Provident Center Cooperative Society Ltd.

                                                                                    Sale                 6/10/2014      (35,540)        9.1763     ($326,125.70)
                                                                                    Sale                 4/13/2015      (17,754)       14.5569     ($258,443.20)
                                                                                    Sale                 6/20/2016      (28,857)        9.1509     ($264,067.52)
Purchase               4/15/2014        21,324         8.0808      $172,314.13      Sale                 2/28/2017      (38,276)        8.5355     ($326,704.80)
Purchase               4/17/2014        21,324         8.1813      $174,458.04      Sale                  5/9/2017      (28,707)        7.4392     ($213,557.11)
Purchase                9/8/2014        11,697         8.6348      $101,000.79      Sale                 5/15/2017       (2,048)        7.1778      ($14,700.05)
Purchase              12/29/2014        53,250         9.7759      $520,567.21      Sale                  6/1/2017      (86,122)        6.2752     ($540,434.32)
Purchase              12/30/2014        35,500         9.8528      $349,774.40      Sale                  6/7/2017      (57,414)        6.2690     ($359,928.37)
Purchase              12/31/2014        26,655         9.9877      $266,222.14      Sale                 6/19/2017      (76,553)        6.5563     ($501,904.43)
Purchase                8/6/2015        79,875        14.5050    $1,158,585.28      Sale                 6/20/2017      (76,553)        6.7770     ($518,799.68)
Purchase               8/24/2015       101,081        11.2167    $1,133,797.17      Sale                 6/27/2017       (3,253)        7.0355      ($22,886.58)
Purchase               9/21/2015         7,909         9.9000       $78,299.10      Sale                 6/28/2017      (24,880)        6.7956     ($169,074.83)
Purchase               9/23/2015        18,180         9.5970      $174,473.46      Sale                  7/3/2017      (48,135)        6.4831     ($312,064.02)
Purchase               9/25/2015        47,268         9.3368      $441,331.86      Sale                 7/10/2017      (22,562)        6.3054     ($142,262.43)
Purchase               9/28/2015       108,171         8.6062      $930,936.39      Sale                 7/17/2017      (47,845)        6.0571     ($289,801.95)
Purchase              10/19/2015        38,451         9.8759      $379,738.23      Sale                  1/2/2018      (16,076)        4.9423      ($79,451.92)
Purchase              10/20/2015        54,540         9.5403      $520,326.33      Sale                  1/9/2018      (26,793)        4.9397     ($132,348.42)
Purchase              12/14/2015        19,034         9.5821      $182,385.54      Sale                 4/16/2018      (47,845)        3.0212     ($144,547.21)
Purchase               1/10/2017        82,960         9.3716      $777,469.68      Sale                 4/23/2018      (66,984)        3.0430     ($203,829.77)
Purchase               1/11/2017        82,960         9.3020      $771,693.92
Purchase               1/25/2017       165,920         8.6195    $1,430,147.44      Sale*                9/14/2018      (97,386)        4.0203     ($391,520.94)
Purchase               1/26/2017        50,719         8.6390      $438,162.15
Purchase               1/27/2017        62,220         8.6769      $539,877.96      Retained                           (239,455)        3.6671      ($878,115.69)
                                     1,089,038                  $10,541,561.22                                       (1,089,038)                  ($6,090,568.93)

                                                                    Kerren Makefet Pension and Provident Center Cooperative Society Ltd. Loss     ($4,450,992.29)




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The Amitim Funds
Loss in OPKO Health, Inc.
Class period: 09/26/13 - 09/07/18
CUSIP # 68375N103                                                                                                                Hold price
Retained share price: $3.6671 (09/10/18 - 11/12/18)                                                                                    3.6671

   Transaction         Date          Shares           Price     Cost                   Transaction      Date        Shares          Price       Proceeds

The Hadassah Workers Pension Fund Ltd.

                                                                                 Sale                  6/10/2014       (2,700)        9.1763     ($24,776.01)
                                                                                 Sale                  4/13/2015       (1,357)       14.5569     ($19,753.71)
                                                                                 Sale                  6/20/2016       (2,080)        9.1509     ($19,033.87)
Purchase               4/15/2014         1,620         8.0808    $13,090.83      Sale                  2/28/2017       (2,559)        8.5355     ($21,842.34)
Purchase               4/17/2014         1,620         8.1813    $13,253.71      Sale                   5/9/2017       (1,919)        7.4392     ($14,275.82)
Purchase                9/8/2014           896         8.6348     $7,736.74      Sale                  5/15/2017         (137)        7.1778        ($983.35)
Purchase              12/29/2014         4,080         9.7759    $39,885.71      Sale                   6/1/2017       (5,758)        6.2752     ($36,132.71)
Purchase              12/30/2014         2,720         9.8528    $26,799.62      Sale                   6/7/2017       (3,839)        6.2690     ($24,066.69)
Purchase              12/31/2014         2,025         9.9877    $20,225.09      Sale                  6/19/2017       (5,118)        6.5563     ($33,555.14)
Purchase                8/6/2015         6,120        14.5050    $88,770.48      Sale                  6/20/2017       (5,118)        6.7770     ($34,684.69)
Purchase               8/24/2015         7,061        11.2167    $79,201.25      Sale                  6/27/2017         (218)        7.0355      ($1,533.75)
Purchase               9/21/2015           553         9.9000     $5,474.70      Sale                  6/28/2017       (1,663)        6.7956     ($11,301.10)
Purchase               9/23/2015         1,270         9.5970    $12,188.19      Sale                   7/3/2017       (3,218)        6.4831     ($20,862.62)
Purchase               9/25/2015         3,302         9.3368    $30,830.11      Sale                  7/10/2017       (1,508)        6.3054      ($9,508.54)
Purchase               9/28/2015         7,556         8.6062    $65,028.11      Sale                  7/17/2017       (3,199)        6.0571     ($19,376.66)
Purchase              10/19/2015         2,686         9.8759    $26,526.67      Sale                   1/2/2018       (1,075)        4.9423      ($5,312.94)
Purchase              10/20/2015         3,810         9.5403    $36,348.43      Sale                   1/9/2018       (1,792)        4.9397      ($8,851.88)
Purchase              12/14/2015         1,330         9.5821    $12,744.18      Sale                  4/16/2018       (3,199)        3.0212      ($9,664.68)
Purchase               1/10/2017         5,000         9.3716    $46,858.11      Sale                  4/23/2018       (4,478)        3.0430     ($13,626.38)
Purchase               1/11/2017         5,000         9.3020    $46,510.00
Purchase               1/25/2017        10,000         8.6195    $86,195.00      Sale*                 9/14/2018       (6,958)        4.0203     ($27,973.25)
Purchase               1/26/2017         3,057         8.6390    $26,409.47
Purchase               1/27/2017         3,750         8.6769    $32,538.45      Retained                            (15,563)         3.6671     ($57,071.74)
                                        73,456                  $716,614.84                                          (73,456)                   ($414,187.88)

                                                                                               The Hadassah Workers Pension Fund Ltd. Loss      ($302,426.96)




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The Amitim Funds
Loss in OPKO Health, Inc.
Class period: 09/26/13 - 09/07/18
CUSIP # 68375N103                                                                                                                               Hold price
Retained share price: $3.6671 (09/10/18 - 11/12/18)                                                                                                   3.6671

   Transaction          Date          Shares          Price             Cost                    Transaction          Date          Shares          Price           Proceeds

The “Egged” Members Pension Fund Ltd.

                                                                                            Sale                    6/10/2014           (420)        9.1763             ($3,854.05)
                                                                                            Sale                    4/13/2015           (210)       14.5569             ($3,056.95)
                                                                                            Sale                    6/20/2016           (325)        9.1509             ($2,974.04)
Purchase               4/15/2014            252         8.0808            $2,036.35         Sale                    2/28/2017           (396)        8.5355             ($3,380.06)
Purchase               4/17/2014            252         8.1813            $2,061.69         Sale                     5/9/2017           (297)        7.4392             ($2,209.44)
Purchase                9/8/2014            139         8.6348            $1,200.23         Sale                    5/15/2017            (21)        7.1778               ($150.73)
Purchase              12/29/2014            630         9.7759            $6,158.82         Sale                     6/1/2017           (891)        6.2752             ($5,591.22)
Purchase              12/30/2014            420         9.8528            $4,138.18         Sale                     6/7/2017           (594)        6.2690             ($3,723.79)
Purchase              12/31/2014            315         9.9877            $3,146.13         Sale                    6/19/2017           (792)        6.5563             ($5,192.59)
Purchase                8/6/2015            945        14.5050           $13,707.21         Sale                    6/20/2017           (792)        6.7770             ($5,367.38)
Purchase               8/24/2015          1,112        11.2167           $12,472.99         Sale                    6/27/2017            (33)        7.0355               ($232.17)
Purchase               9/21/2015             87         9.9000              $861.30         Sale                    6/28/2017           (257)        6.7956             ($1,746.47)
Purchase               9/23/2015            200         9.5970            $1,919.40         Sale                     7/3/2017           (498)        6.4831             ($3,228.58)
Purchase               9/25/2015            520         9.3368            $4,855.14         Sale                    7/10/2017           (233)        6.3054             ($1,469.16)
Purchase               9/28/2015          1,190         8.6062           $10,241.32         Sale                    7/17/2017           (495)        6.0571             ($2,998.26)
Purchase              10/19/2015            423         9.8759            $4,177.51         Sale                     1/2/2018           (167)        4.9423               ($825.36)
Purchase              10/20/2015            600         9.5403            $5,724.16         Sale                     1/9/2018           (277)        4.9397             ($1,368.29)
Purchase              12/14/2015            209         9.5821            $2,002.66         Sale                    4/16/2018           (495)        3.0212             ($1,495.47)
Purchase               1/10/2017            760         9.3716            $7,122.43         Sale                    4/23/2018           (693)        3.0430             ($2,108.77)
Purchase               1/11/2017            760         9.3020            $7,069.52
Purchase               1/25/2017          1,520         8.6195           $13,101.64         Sale*                   9/14/2018         (1,018)        4.0203             ($4,092.67)
Purchase               1/26/2017            465         8.6390            $4,017.14
Purchase               1/27/2017            570         8.6769            $4,945.84         Retained                                  (2,465)        3.6671             ($9,039.51)
                                         11,369                         $110,959.66                                                  (11,369)                          ($64,104.96)

                                                                                                          The “Egged” Members Pension Fund Ltd. Loss                   ($46,854.69)

                                                                                                                      AMITIM FUNDS GRAND TOTAL                  ($23,517,242.97)

*Shares sold within 90 days after the end of the class period have been valued at the higher price between the actual sales price and the average closing price from
the end of the class period to the date of the sale.




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                         EXHIBIT C
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                            OPKO - The Rosen Firm Notice
Wire: Business Wire (BUS) Date: Sep 12 2018 17:51:00
EQUITY ALERT: Rosen Law Firm Files Securities Class Action Lawsuit Against OPKO
Health, Inc. – OPK

  EQUITY ALERT: Rosen Law Firm Files Securities Class Action Lawsuit Against
  OPKO Health, Inc. – OPK

Business Wire

NEW YORK -- September 12, 2018

Rosen Law Firm, a global investor rights law firm, announces it has filed a
class action lawsuit on behalf of purchasers of the securities of OPKO Health,
Inc. (NASDAQ:OPK) from September 26, 2013 through September 7, 2018, inclusive
(the “Class Period”). The lawsuit seeks to recover damages for OPKO investors
under the federal securities laws.

To join the OPKO class action, go to http://www.rosenlegal.com/cases-1412.html
or call Phillip Kim, Esq. or Zachary Halper, Esq. toll-free at 866-767-3653 or
email pkim@rosenlegal.com or zhalper@rosenlegal.com for information on the
class action.

NO CLASS HAS YET BEEN CERTIFIED IN THE ABOVE ACTION. UNTIL A CLASS IS
CERTIFIED, YOU ARE NOT REPRESENTED BY COUNSEL UNLESS YOU RETAIN ONE. YOU MAY
RETAIN COUNSEL OF YOUR CHOICE. YOU MAY ALSO REMAIN AN ABSENT CLASS MEMBER AND
DO NOTHING AT THIS POINT. AN INVESTOR’S ABILITY TO SHARE IN ANY POTENTIAL
FUTURE RECOVERY IS NOT DEPENDENT UPON SERVING AS LEAD PLAINTIFF.

According to the lawsuit, defendants made false and/or misleading statements
and/or failed to disclose that: (1) OPKO and its Chairman and Chief Executive
Officer, Phillip Frost, were engaged in a pump-and-dump scheme with several
other individuals and companies in their investments in several penny stocks;
(2) this illicit scheme would result in governmental scrutiny including from
the SEC; and (3) as a result, defendants’ statements about OPKO’s business,
operations and prospects were materially false and misleading and/or lacked a
reasonable basis at all relevant times. When the true details entered the
market, the lawsuit claims that investors suffered damages.

A class action lawsuit has already been filed. If you wish to serve as lead
plaintiff, you must move the Court no later than November 13, 2018. A lead
plaintiff is a representative party acting on behalf of other class members in
directing the litigation. If you wish to join the litigation, go to
http://www.rosenlegal.com/cases-1412.html or to discuss your rights or
interests regarding this class action, please contact Phillip Kim or Zachary
Halper of Rosen Law Firm toll free at 866-767-3653 or via email at
pkim@rosenlegal.com or zhalper@rosenlegal.com.

Follow us for updates on LinkedIn:
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                            OPKO - The Rosen Firm Notice
https://www.linkedin.com/company/the-rosen-law-firm or on Twitter:
https://twitter.com/rosen_firm.

Rosen Law Firm represents investors throughout the globe, concentrating its
practice in securities class actions and shareholder derivative litigation.
Rosen Law Firm was Ranked No. 1 by ISS Securities Class Action Services for
number of securities class action settlements in 2017. The firm has been
ranked in the top 3 each year since 2013.

View source version on businesswire.com:
https://www.businesswire.com/news/home/20180912006096/en/

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################################ END OF STORY 1 ##############################




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                         EXHIBIT D
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                                                          Trusted
                                                          Advocacy.
                                                          Proven
                                                          Results.




                  Bernstein Litowitz Berger & Grossmann LLP
                  Attorneys at Law


                  Firm Resume




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                                   www.blbglaw.com
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         Since our founding in 1983, Bernstein Litowitz Berger & Grossmann
   LLP has obtained many of the largest monetary recoveries in history – over
   $32 billion on behalf of investors. Unique among our peers, the firm has
   obtained the largest settlements ever agreed to by public companies related to
   securities fraud, including four of the ten largest in history. Working with
   our clients, we have also used the litigation process to achieve precedent-
   setting reforms which have increased market transparency, held wrongdoers
   accountable and improved corporate business practices in groundbreaking
   ways.

               FIRM OVERVIEW
               Bernstein Litowitz Berger & Grossmann LLP (“BLB&G”), a national law firm with offices
               located in New York, California, Louisiana and Illinois, prosecutes class and private actions on
               behalf of individual and institutional clients. The firm’s litigation practice areas include securities
               class and direct actions in federal and state courts; corporate governance and shareholder rights
               litigation, including claims for breach of fiduciary duty and proxy violations; mergers and
               acquisitions and transactional litigation; alternative dispute resolution; distressed debt and
               bankruptcy; civil rights and employment discrimination; consumer class actions and antitrust. We
               also handle, on behalf of major institutional clients and lenders, more general complex commercial
               litigation involving allegations of breach of contract, accountants’ liability, breach of fiduciary
               duty, fraud, and negligence.

               We are the nation’s leading firm in representing institutional investors in securities fraud class
               action litigation. The firm’s institutional client base includes the New York State Common
               Retirement Fund; the California Public Employees’ Retirement System (CalPERS); the Ontario
               Teachers’ Pension Plan Board (the largest public pension funds in North America); the Los
               Angeles County Employees Retirement Association (LACERA); the Chicago Municipal, Police
               and Labor Retirement Systems; the Teacher Retirement System of Texas; the Arkansas Teacher
               Retirement System; Forsta AP-fonden (“AP1”); Fjarde AP-fonden (“AP4”); the Florida State
               Board of Administration; the Public Employees’ Retirement System of Mississippi; the New York
               State Teachers’ Retirement System; the Ohio Public Employees Retirement System; the State
               Teachers Retirement System of Ohio; the Oregon Public Employees Retirement System; the
               Virginia Retirement System; the Louisiana School, State, Teachers and Municipal Police
               Retirement Systems; the Public School Teachers’ Pension and Retirement Fund of Chicago; the
               New Jersey Division of Investment of the Department of the Treasury; TIAA-CREF and other
               private institutions; as well as numerous other public and Taft-Hartley pension entities.


               M O RE T O P S E CU R I T I ES R E CO V E R I E S

               Since its founding in 1983, Bernstein Litowitz Berger & Grossmann LLP has litigated some of the
               most complex cases in history and has obtained over $32 billion on behalf of investors. Unique
               among its peers, the firm has negotiated the largest settlements ever agreed to by public companies
               related to securities fraud, and obtained many of the largest securities recoveries in history
               (including 6 of the top 12):




                                                        3
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                      In re WorldCom, Inc. Securities Litigation – $6.19 billion recovery
                      In re Cendant Corporation Securities Litigation – $3.3 billion recovery
                      In re Bank of America Corp. Securities, Derivative, and Employee Retirement Income
                       Security Act (ERISA) Litigation – $2.43 billion recovery
                      In re Nortel Networks Corporation Securities Litigation (“Nortel II”) – $1.07 billion
                       recovery
                      In re Merck & Co., Inc. Securities Litigation – $1.06 billion recovery
                      In re McKesson HBOC, Inc. Securities Litigation – $1.05 billion recovery*

                                                                          *Source: ISS Securities Class Action Services

              For over a decade, ISS Securities Class Action Services has compiled and published data on
              securities litigation recoveries and the law firms prosecuting the cases. BLB&G has been at or
              near the top of their rankings every year – often with the highest total recoveries, the highest
              settlement average, or both.

              BLB&G also eclipses all competitors on ISS SCAS’s “Top 100 Settlements of All Time” report,
              having recovered nearly 40% of all the settlement dollars represented in the report (nearly $25
              billion), and having prosecuted nearly a third of all the cases on the list (33 of 100).


              G I V I N G S H AR E HO L D E R S     A   VOICE   AN D   C H AN GI N G B USI N E S S P R AC T I CE S   FO R
              T H E B ET T E R

              BLB&G was among the first law firms ever to obtain meaningful corporate governance reforms
              through litigation. In courts throughout the country, we prosecute shareholder class and derivative
              actions, asserting claims for breach of fiduciary duty and proxy violations wherever the conduct of
              corporate officers and/or directors, as well as M&A transactions, seek to deprive shareholders of
              fair value, undermine shareholder voting rights, or allow management to profit at the expense of
              shareholders.

              We have prosecuted seminal cases establishing precedents which have increased market
              transparency, held wrongdoers accountable, addressed issues in the boardroom and executive
              suite, challenged unfair deals, and improved corporate business practices in groundbreaking ways.

              From setting new standards of director independence, to restructuring board practices in the wake
              of persistent illegal conduct; from challenging the improper use of defensive measures and deal
              protections for management’s benefit, to confronting stock options backdating abuses and other
              self-dealing by executives; we have confronted a variety of questionable, unethical and
              proliferating corporate practices. Seeking to reform faulty management structures and address
              breaches of fiduciary duty by corporate officers and directors, we have obtained unprecedented
              victories on behalf of shareholders seeking to improve governance and protect the shareholder
              franchise.


              A DV O C A CY   FO R   V I CT I M S   OF   C O R P O R AT E W R O N G DO I N G

              While BLB&G is widely recognized as one of the leading law firms worldwide advising
              institutional investors on issues related to corporate governance, shareholder rights, and securities
              litigation, we have also prosecuted some of the most significant employment discrimination, civil
              rights and consumer protection cases on record. Equally important, the firm has advanced novel
              and socially beneficial principles by developing important new law in the areas in which we
              litigate.




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              The firm served as co-lead counsel on behalf of Texaco’s African-American employees in Roberts
              v. Texaco Inc., which resulted in a recovery of $176 million, the largest settlement ever in a race
              discrimination case. The creation of a Task Force to oversee Texaco’s human resources activities
              for five years was unprecedented and served as a model for public companies going forward.

              In the consumer field, the firm has gained a nationwide reputation for vigorously protecting the
              rights of individuals and for achieving exceptional settlements. In several instances, the firm has
              obtained recoveries for consumer classes that represented the entirety of the class’s losses – an
              extraordinary result in consumer class cases.




                                                      5
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              PRACTICE AREAS

              S ECURITIES F RAUD L ITIGATION
              Securities fraud litigation is the cornerstone of the firm’s litigation practice. Since its founding,
              the firm has had the distinction of having tried and prosecuted many of the most high-profile
              securities fraud class actions in history, recovering billions of dollars and obtaining unprecedented
              corporate governance reforms on behalf of our clients. BLB&G continues to play a leading role in
              major securities litigation pending in federal and state courts, and the firm remains one of the
              nation’s leaders in representing institutional investors in securities fraud class and derivative
              litigation.

              The firm also pursues direct actions in securities fraud cases when appropriate. By selectively
              opting out of certain securities class actions, we seek to resolve our clients’ claims efficiently and
              for substantial multiples of what they might otherwise recover from related class action
              settlements.

              The attorneys in the securities fraud litigation practice group have extensive experience in the laws
              that regulate the securities markets and in the disclosure requirements of corporations that issue
              publicly traded securities. Many of the attorneys in this practice group also have accounting
              backgrounds. The group has access to state-of-the-art, online financial wire services and
              databases, which enable it to instantaneously investigate any potential securities fraud action
              involving a public company’s debt and equity securities.


              C ORPORATE G OVERNANCE                   AND    S HARE HOLDERS ’ R IGHTS
              The Corporate Governance and Shareholders’ Rights Practice Group prosecutes derivative actions,
              claims for breach of fiduciary duty, and proxy violations on behalf of individual and institutional
              investors in state and federal courts throughout the country. The group has obtained
              unprecedented victories on behalf of shareholders seeking to improve corporate governance and
              protect the shareholder franchise, prosecuting actions challenging numerous highly publicized
              corporate transactions which violated fair process and fair price, and the applicability of the
              business judgment rule. We have also addressed issues of corporate waste, shareholder voting
              rights claims, workplace harassment, and executive compensation. As a result of the firm’s high-
              profile and widely recognized capabilities, the corporate governance practice group is increasingly
              in demand by institutional investors who are exercising a more assertive voice with corporate
              boards regarding corporate governance issues and the board’s accountability to shareholders.

              The firm is actively involved in litigating numerous cases in this area of law, an area that has
              become increasingly important in light of efforts by various market participants to buy companies
              from their public shareholders “on the cheap.”


              E MPLOYMENT D ISCRIMINATION                      AND    C IVI L R IGHTS
              The Employment Discrimination and Civil Rights Practice Group prosecutes class and multi-
              plaintiff actions, and other high-impact litigation against employers and other societal institutions
              that violate federal or state employment, anti-discrimination, and civil rights laws. The practice
              group represents diverse clients on a wide range of issues including Title VII actions: race, gender,
              sexual orientation and age discrimination suits; sexual harassment, and “glass ceiling” cases in
              which otherwise qualified employees are passed over for promotions to managerial or executive
              positions.

              Bernstein Litowitz Berger & Grossmann LLP is committed to effecting positive social change in
              the workplace and in society. The practice group has the necessary financial and human resources
              to ensure that the class action approach to discrimination and civil rights issues is successful. This

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              litigation method serves to empower employees and other civil rights victims, who are usually
              discouraged from pursuing litigation because of personal financial limitations, and offers the
              potential for effecting the greatest positive change for the greatest number of people affected by
              discriminatory practice in the workplace.


              G ENERAL C OMMERCI AL L ITIGATION                     AND    A LTERNATIVE D IS PUTE
              R ESOLUTION
              The General Commercial Litigation practice group provides contingency fee representation in
              complex business litigation and has obtained substantial recoveries on behalf of investors,
              corporations, bankruptcy trustees, creditor committees and other business entities. We have faced
              down powerful and well-funded law firms and defendants – and consistently prevailed. However,
              not every dispute is best resolved through the courts. In such cases, BLB&G Alternative Dispute
              practitioners offer clients an accomplished team and a creative venue in which to resolve conflicts
              outside of the litigation process. BLB&G has extensive experience – and a marked record of
              successes – in ADR practice. For example, in the wake of the credit crisis, we successfully
              represented numerous former executives of a major financial institution in arbitrations relating to
              claims for compensation. Our attorneys have led complex business-to-business arbitrations and
              mediations domestically and abroad representing clients before all the major arbitration tribunals,
              including the American Arbitration Association (AAA), FINRA, JAMS, International Chamber of
              Commerce (ICC) and the London Court of International Arbitration.


              D ISTRESSED D E BT          AND    B ANKRUPTCY C REDITOR N EGOTIATION
              The BLB&G Distressed Debt and Bankruptcy Creditor Negotiation Group has obtained billions of
              dollars through litigation on behalf of bondholders and creditors of distressed and bankrupt
              companies, as well as through third-party litigation brought by bankruptcy trustees and creditors’
              committees against auditors, appraisers, lawyers, officers and directors, and other defendants who
              may have contributed to client losses. As counsel, we advise institutions and individuals
              nationwide in developing strategies and tactics to recover assets presumed lost as a result of
              bankruptcy. Our record in this practice area is characterized by extensive trial experience in
              addition to completion of successful settlements.


              C ONSUMER A DVOCACY
              The Consumer Advocacy Practice Group at Bernstein Litowitz Berger & Grossmann LLP
              prosecutes cases across the entire spectrum of consumer rights, consumer fraud, and consumer
              protection issues. The firm represents victimized consumers in state and federal courts nationwide
              in individual and class action lawsuits that seek to provide consumers and purchasers of defective
              products with a means to recover their damages. The attorneys in this group are well versed in the
              vast array of laws and regulations that govern consumer interests and are aggressive, effective,
              court-tested litigators. The Consumer Practice Advocacy Group has recovered hundreds of
              millions of dollars for millions of consumers throughout the country. Most notably, in a number
              of cases, the firm has obtained recoveries for the class that were the entirety of the potential
              damages suffered by the consumer. For example, in actions against MCI and Empire Blue Cross,
              the firm recovered all of the damages suffered by the class. The group achieved its successes by
              advancing innovative claims and theories of liabilities, such as obtaining decisions in
              Pennsylvania and Illinois appellate courts that adopted a new theory of consumer damages in mass
              marketing cases. Bernstein Litowitz Berger & Grossmann LLP is, thus, able to lead the way in
              protecting the rights of consumers.




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              THE COURTS SPEAK
              Throughout the firm’s history, many courts have recognized the professional excellence and
              diligence of the firm and its members. A few examples are set forth below.

              IN RE   WORLDCOM, INC. SECURITIES LITIGATION
              THE HONORABLE DENISE COTE OF THE UNITED STATES DISTRICT COURT FOR
              THE SOUTHERN DISTRICT OF NEW YORK

                 “I have the utmost confidence in plaintiffs’ counsel…they have been doing a superb
                job…. The Class is extraordinarily well represented in this litigation.”

                 “The magnitude of this settlement is attributable in significant part to Lead Counsel’s
                advocacy and energy…. The quality of the representation given by Lead Counsel...has
                been superb...and is unsurpassed in this Court’s experience with plaintiffs’ counsel in
                securities litigation.”

                “Lead Counsel has been energetic and creative. . . . Its negotiations with the Citigroup
                Defendants have resulted in a settlement of historic proportions.”


              IN RE CLARENT CORPORATION SECURITIES LITIGATION
              T H E H O N O R A B L E C H A R L E S R. B R E Y E R O F T H E U N I T E D S T A T E S D I S T R I C T
              COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA

                “It was the best tried case I’ve witnessed in my years on the bench . . .”

                “[A]n extraordinarily civilized way of presenting the issues to you [the jury]. . . . We’ve
                all been treated to great civility and the highest professional ethics in the presentation of
                the case….”

                “These trial lawyers are some of the best I’ve ever seen.”


              LANDRY’S RESTAURANTS, INC. SHAREHOLDER LITIGATION
              VICE CHANCELLOR J. TRAVIS LASTER OF THE DELAWARE COURT OF
              CHANCERY

                “I do want to make a comment again about the excellent efforts . . . put into this case. . . .
                This case, I think, shows precisely the type of benefits that you can achieve for
                stockholders and how representative litigation can be a very important part of our
                corporate governance system . . . you hold up this case as an example of what to do.”


              M C C A L L V . S C O T T (C O L U M B I A /HCA D E R I V A T I V E L I T I G A T I O N )
              THE HONORABLE THOMAS A. HIGGINS OF THE UNITED STATES DISTRICT
              COURT FOR THE MIDDLE DISTRICT OF TENNESSEE

                “Counsel’s excellent qualifications and reputations are well documented in the record,
                and they have litigated this complex case adeptly and tenaciously throughout the six years
                it has been pending. They assumed an enormous risk and have shown great patience by
                taking this case on a contingent basis, and despite an early setback they have persevered
                and brought about not only a large cash settlement but sweeping corporate reforms that
                may be invaluable to the beneficiaries.”


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                  RECENT ACTIONS & SIGNIFICANT RECOVERIES
                  Bernstein Litowitz Berger & Grossmann LLP is counsel in many diverse nationwide class and
                  individual actions and has obtained many of the largest and most significant recoveries in history.
                  Some examples from our practice groups include:

                  S ECURITIES C LASS A CTIONS
  CASE:            IN RE WORLDCOM, INC. SECURITIES LITIGATION
  COURT:           United States District Court for the Southern District of New York
  HIGHLIGHTS:      $6.19 billion securities fraud class action recovery – the second largest in history; unprecedented
                   recoveries from Director Defendants.
  CASE SUMMARY:    Investors suffered massive losses in the wake of the financial fraud and subsequent bankruptcy of
                   former telecom giant WorldCom, Inc. This litigation alleged that WorldCom and others
                   disseminated false and misleading statements to the investing public regarding its earnings and
                   financial condition in violation of the federal securities and other laws. It further alleged a
                   nefarious relationship between Citigroup subsidiary Salomon Smith Barney and WorldCom,
                   carried out primarily by Salomon employees involved in providing investment banking services to
                   WorldCom, and by WorldCom’s former CEO and CFO. As Court-appointed Co-Lead Counsel
                   representing Lead Plaintiff the New York State Common Retirement Fund, we obtained
                   unprecedented settlements totaling more than $6 billion from the Investment Bank Defendants who
                   underwrote WorldCom bonds, including a $2.575 billion cash settlement to settle all claims against
                   the Citigroup Defendants. On the eve of trial, the 13 remaining “Underwriter Defendants,”
                   including J.P. Morgan Chase, Deutsche Bank and Bank of America, agreed to pay settlements
                   totaling nearly $3.5 billion to resolve all claims against them. Additionally, the day before trial
                   was scheduled to begin, all of the former WorldCom Director Defendants had agreed to pay over
                   $60 million to settle the claims against them. An unprecedented first for outside directors, $24.75
                   million of that amount came out of the pockets of the individuals – 20% of their collective net
                   worth. The Wall Street Journal, in its coverage, profiled the settlement as literally having “shaken
                   Wall Street, the audit profession and corporate boardrooms.” After four weeks of trial, Arthur
                   Andersen, WorldCom’s former auditor, settled for $65 million. Subsequent settlements were
                   reached with the former executives of WorldCom, and then with Andersen, bringing the total
                   obtained for the Class to over $6.19 billion.


  CASE:            IN RE CENDANT CORPORATION SECURITIES LITIGATION
  COURT:           United States District Court for the District of New Jersey
  HIGHLIGHTS:      $3.3 billion securities fraud class action recovery – the third largest in history; significant corporate
                   governance reforms obtained.
  CASE SUMMARY:    The firm was Co-Lead Counsel in this class action against Cendant Corporation, its officers and
                   directors and Ernst & Young (E&Y), its auditors, for their role in disseminating materially false
                   and misleading financial statements concerning the company’s revenues, earnings and expenses for
                   its 1997 fiscal year. As a result of company-wide accounting irregularities, Cendant restated its
                   financial results for its 1995, 1996 and 1997 fiscal years and all fiscal quarters therein. Cendant
                   agreed to settle the action for $2.8 billion to adopt some of the most extensive corporate
                   governance changes in history. E&Y settled for $335 million. These settlements remain the
                   largest sums ever recovered from a public company and a public accounting firm through securities
                   class action litigation. BLB&G represented Lead Plaintiffs CalPERS – the California Public
                   Employees’ Retirement System, the New York State Common Retirement Fund and the New
                   York City Pension Funds, the three largest public pension funds in America, in this action.




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  CASE:          IN RE BANK OF AMERICA CORP. SECURITIES, DERIVATIVE, AND EMPLOYEE RETIREMENT
                 I N C O M E S E C U R I T Y A C T (E R IS A ) L I T I G A T I O N
  COURT:         United States District Court for the Southern District of New York
  HIGHLIGHTS:    $2.425 billion in cash; significant corporate governance reforms to resolve all claims. This
                 recovery is by far the largest shareholder recovery related to the subprime meltdown and credit
                 crisis; the single largest securities class action settlement ever resolving a Section 14(a) claim – the
                 federal securities provision designed to protect investors against misstatements in connection with a
                 proxy solicitation; the largest ever funded by a single corporate defendant for violations of the
                 federal securities laws; the single largest settlement of a securities class action in which there was
                 neither a financial restatement involved nor a criminal conviction related to the alleged misconduct;
                 and one of the 10 largest securities class action recoveries in history.
  DESCRIPTION:   The firm represented Co-Lead Plaintiffs the State Teachers Retirement System of Ohio, the Ohio
                 Public Employees Retirement System, and the Teacher Retirement System of Texas in this
                 securities class action filed on behalf of shareholders of Bank of America Corporation (“BAC”)
                 arising from BAC’s 2009 acquisition of Merrill Lynch & Co., Inc. The action alleges that BAC,
                 Merrill Lynch, and certain of the companies’ current and former officers and directors violated the
                 federal securities laws by making a series of materially false statements and omissions in
                 connection with the acquisition. These violations included the alleged failure to disclose
                 information regarding billions of dollars of losses which Merrill had suffered before the BAC
                 shareholder vote on the proposed acquisition, as well as an undisclosed agreement allowing Merrill
                 to pay billions in bonuses before the acquisition closed despite these losses. Not privy to these
                 material facts, BAC shareholders voted to approve the acquisition.

  CASE:          I N R E N O R T E L N E T W O R K S C O R P O R A T I O N S E C U R I T I E S L I T I G A T I O N ( “N O R T E L II ” )
  COURT:         United States District Court for the Southern District of New York
  HIGHLIGHTS:    Over $1.07 billion in cash and common stock recovered for the class.
  DESCRIPTION:   This securities fraud class action charged Nortel Networks Corporation and certain of its officers
                 and directors with violations of the Securities Exchange Act of 1934, alleging that the Defendants
                 knowingly or recklessly made false and misleading statements with respect to Nortel’s financial
                 results during the relevant period. BLB&G clients the Ontario Teachers’ Pension Plan Board
                 and the Treasury of the State of New Jersey and its Division of Investment were appointed as
                 Co-Lead Plaintiffs for the Class in one of two related actions (Nortel II), and BLB&G was
                 appointed Lead Counsel for the Class. In a historic settlement, Nortel agreed to pay $2.4 billion in
                 cash and Nortel common stock (all figures in US dollars) to resolve both matters. Nortel later
                 announced that its insurers had agreed to pay $228.5 million toward the settlement, bringing the
                 total amount of the global settlement to approximately $2.7 billion, and the total amount of the
                 Nortel II settlement to over $1.07 billion.

  CASE:          IN RE MERCK & CO., INC. SECURITIES LITIGATION
  COURT:         United States District Court, District of New Jersey
  HIGHLIGHTS:    $1.06 billion recovery for the class.
  DESCRIPTION:   This case arises out of misrepresentations and omissions concerning life-threatening risks posed by
                 the “blockbuster” Cox-2 painkiller Vioxx, which Merck withdrew from the market in 2004. In
                 January 2016, BLB&G achieved a $1.062 billion settlement on the eve of trial after more than 12
                 years of hard-fought litigation that included a successful decision at the United States Supreme
                 Court. This settlement is the second largest recovery ever obtained in the Third Circuit, one of the
                 top 11 securities recoveries of all time, and the largest securities recovery ever achieved against a
                 pharmaceutical company. BLB&G represented Lead Plaintiff the Public Employees’ Retirement
                 System of Mississippi.




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  CASE:          I N R E M C K E S S O N HB OC, I N C . S E C U R I T I E S L I T I G A T I O N
  COURT:         United States District Court for the Northern District of California
  HIGHLIGHTS:    $1.05 billion recovery for the class.
  DESCRIPTION:   This securities fraud litigation was filed on behalf of purchasers of HBOC, McKesson and
                 McKesson HBOC securities, alleging that Defendants misled the investing public concerning
                 HBOC’s and McKesson HBOC’s financial results. On behalf of Lead Plaintiff the New York
                 State Common Retirement Fund, BLB&G obtained a $960 million settlement from the company;
                 $72.5 million in cash from Arthur Andersen; and, on the eve of trial, a $10 million settlement from
                 Bear Stearns & Co. Inc., with total recoveries reaching more than $1 billion.


  CASE:          IN RE LEHMAN BROTHERS EQUITY/DEBT SECURITIES LITIGATION
  COURT:         United States District Court for the Southern District of New York
  HIGHLIGHTS:    $735 million in total recoveries.
  DESCRIPTION:   Representing the Government of Guam Retirement Fund, BLB&G successfully prosecuted this
                 securities class action arising from Lehman Brothers Holdings Inc.’s issuance of billions of dollars
                 in offerings of debt and equity securities that were sold using offering materials that contained
                 untrue statements and missing material information.
                 After four years of intense litigation, Lead Plaintiffs achieved a total of $735 million in recoveries
                 consisting of: a $426 million settlement with underwriters of Lehman securities offerings; a $90
                 million settlement with former Lehman directors and officers; a $99 million settlement that
                 resolves claims against Ernst & Young, Lehman’s former auditor (considered one of the top 10
                 auditor settlements ever achieved); and a $120 million settlement that resolves claims against UBS
                 Financial Services, Inc. This recovery is truly remarkable not only because of the difficulty in
                 recovering assets when the issuer defendant is bankrupt, but also because no financial results were
                 restated, and that the auditors never disavowed the statements.


  CASE:          HEALTHSOUTH CORPORATION BONDHOLDER LITIGATION
  COURT:         United States District Court for the Northern District of Alabama
  HIGHLIGHTS:    $804.5 million in total recoveries.

  DESCRIPTION:   In this litigation, BLB&G was the appointed Co-Lead Counsel for the bond holder class,
                 representing Lead Plaintiff the Retirement Systems of Alabama. This action arose from
                 allegations that Birmingham, Alabama based HealthSouth Corporation overstated its earnings at
                 the direction of its founder and former CEO Richard Scrushy. Subsequent revelations disclosed
                 that the overstatement actually exceeded over $2.4 billion, virtually wiping out all of HealthSouth’s
                 reported profits for the prior five years. A total recovery of $804.5 million was obtained in this
                 litigation through a series of settlements, including an approximately $445 million settlement for
                 shareholders and bondholders, a $100 million in cash settlement from UBS AG, UBS Warburg
                 LLC, and individual UBS Defendants (collectively, “UBS”), and $33.5 million in cash from the
                 company’s auditor. The total settlement for injured HealthSouth bond purchasers exceeded $230
                 million, recouping over a third of bond purchaser damages.




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  CASE:          IN RE CITIGROUP, INC. BOND ACTION LITIGATION
  COURT:         United States District Court for the Southern District of New York
  HIGHLIGHTS:    $730 million cash recovery; second largest recovery in a litigation arising from the financial crisis.
  DESCRIPTION:   In the years prior to the collapse of the subprime mortgage market, Citigroup issued 48 offerings of
                 preferred stock and bonds. This securities fraud class action was filed on behalf of purchasers of
                 Citigroup bonds and preferred stock alleging that these offerings contained material
                 misrepresentations and omissions regarding Citigroup’s exposure to billions of dollars in mortgage-
                 related assets, the loss reserves for its portfolio of high-risk residential mortgage loans, and the
                 credit quality of the risky assets it held in off-balance sheet entities known as “structured
                 investment vehicles.” After protracted litigation lasting four years, we obtained a $730 million cash
                 recovery – the second largest securities class action recovery in a litigation arising from the
                 financial crisis, and the second largest recovery ever in a securities class action brought on behalf
                 of purchasers of debt securities. As Lead Bond Counsel for the Class, BLB&G represented Lead
                 Bond Plaintiffs Minneapolis Firefighters’ Relief Association, Louisiana Municipal Police
                 Employees’ Retirement System, and Louisiana Sheriffs’ Pension and Relief Fund.


  CASE:          IN RE WASHINGTON PUBLIC POWER SUPPLY SYSTEM LITIGATION
  COURT:         United States District Court for the District of Arizona
  HIGHLIGHTS:    Over $750 million – the largest securities fraud settlement ever achieved at the time.

  DESCRIPTION:   BLB&G was appointed Chair of the Executive Committee responsible for litigating the action on
                 behalf of the class in this action. The case was litigated for over seven years, and involved an
                 estimated 200 million pages of documents produced in discovery; the depositions of 285 fact
                 witnesses and 34 expert witnesses; more than 25,000 introduced exhibits; six published district
                 court opinions; seven appeals or attempted appeals to the Ninth Circuit; and a three-month jury
                 trial, which resulted in a settlement of over $750 million – then the largest securities fraud
                 settlement ever achieved.


  CASE:          I N R E S C H E R I N G - P L O U G H C O R P O R A T I O N /E N HA NCE S E C U R I T I E S L I T I G A T I O N ; I N R E
                 MERCK & CO., INC. VYTORIN/ZETIA SECURITIES LITIGATION
  COURT:         United States District Court for the District of New Jersey
  HIGHLIGHTS:    $688 million in combined settlements (Schering-Plough settled for $473 million; Merck settled for
                 $215 million) in this coordinated securities fraud litigations filed on behalf of investors in Merck
                 and Schering-Plough.
  DESCRIPTION:   After nearly five years of intense litigation, just days before trial, BLB&G resolved the two actions
                 against Merck and Schering-Plough, which stemmed from claims that Merck and Schering
                 artificially inflated their market value by concealing material information and making false and
                 misleading statements regarding their blockbuster anti-cholesterol drugs Zetia and Vytorin.
                 Specifically, we alleged that the companies knew that their “ENHANCE” clinical trial of Vytorin
                 (a combination of Zetia and a generic) demonstrated that Vytorin was no more effective than the
                 cheaper generic at reducing artery thickness. The companies nonetheless championed the
                 “benefits” of their drugs, attracting billions of dollars of capital. When public pressure to release
                 the results of the ENHANCE trial became too great, the companies reluctantly announced these
                 negative results, which we alleged led to sharp declines in the value of the companies’ securities,
                 resulting in significant losses to investors. The combined $688 million in settlements (Schering-
                 Plough settled for $473 million; Merck settled for $215 million) is the second largest securities
                 recovery ever in the Third Circuit, among the top 25 settlements of all time, and among the ten
                 largest recoveries ever in a case where there was no financial restatement. BLB&G represented
                 Lead Plaintiffs Arkansas Teacher Retirement System, the Public Employees’ Retirement
                 System of Mississippi, and the Louisiana Municipal Police Employees’ Retirement System.



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  CASE:          IN RE LUCENT TECHNOLOGIES, INC. SECURITIES LITIGATION
  COURT:         United States District Court for the District of New Jersey
  HIGHLIGHTS:    $667 million in total recoveries; the appointment of BLB&G as Co-Lead Counsel is especially
                 noteworthy as it marked the first time since the 1995 passage of the Private Securities Litigation
                 Reform Act that a court reopened the lead plaintiff or lead counsel selection process to account for
                 changed circumstances, new issues and possible conflicts between new and old allegations.
  DESCRIPTION:   BLB&G served as Co-Lead Counsel in this securities class action, representing Lead Plaintiffs the
                 Parnassus Fund, Teamsters Locals 175 & 505 D&P Pension Trust, Anchorage Police and Fire
                 Retirement System and the Louisiana School Employees’ Retirement System. The complaint
                 accused Lucent of making false and misleading statements to the investing public concerning its
                 publicly reported financial results and failing to disclose the serious problems in its optical
                 networking business. When the truth was disclosed, Lucent admitted that it had improperly
                 recognized revenue of nearly $679 million in fiscal 2000. The settlement obtained in this case is
                 valued at approximately $667 million, and is composed of cash, stock and warrants.


  CASE:           I N R E W A C H O V I A P R E F E R R E D S E C U R I T I E S A N D B O N D /N O T E S L I T I G A T I O N
  COURT:          United States District Court for the Southern District of New York
  HIGHLIGHTS:     $627 million recovery – among the 20 largest securities class action recoveries in history; third
                  largest recovery obtained in an action arising from the subprime mortgage crisis.
  DESCRIPTION:    This securities class action was filed on behalf of investors in certain Wachovia bonds and
                  preferred securities against Wachovia Corp., certain former officers and directors, various
                  underwriters, and its auditor, KPMG LLP. The case alleges that Wachovia provided offering
                  materials that misrepresented and omitted material facts concerning the nature and quality of
                  Wachovia’s multi-billion dollar option-ARM (adjustable rate mortgage) “Pick-A-Pay” mortgage
                  loan portfolio, and that Wachovia’s loan loss reserves were materially inadequate. According to
                  the Complaint, these undisclosed problems threatened the viability of the financial institution,
                  requiring it to be “bailed out” during the financial crisis before it was acquired by Wells Fargo.
                  The combined $627 million recovery obtained in the action is among the 20 largest securities
                  class action recoveries in history, the largest settlement ever in a class action case asserting only
                  claims under the Securities Act of 1933, and one of a handful of securities class action recoveries
                  obtained where there were no parallel civil or criminal actions brought by government authorities.
                  The firm represented Co-Lead Plaintiffs Orange County Employees Retirement System and
                  Louisiana Sheriffs’ Pension and Relief Fund in this action.


  CASE:           OHIO PUBLIC EMPLOYEES RETIREMENT SYSTEM V. FREDDIE MAC
  COURT:          United States District Court for the Southern District of Ohio
  HIGHLIGHTS:     $410 million settlement.

  DESCRIPTION:    This securities fraud class action was filed on behalf of the Ohio Public Employees Retirement
                  System and the State Teachers Retirement System of Ohio alleging that Federal Home Loan
                  Mortgage Corporation (“Freddie Mac”) and certain of its current and former officers issued false
                  and misleading statements in connection with the company’s previously reported financial results.
                  Specifically, the Complaint alleged that the Defendants misrepresented the company’s operations
                  and financial results by having engaged in numerous improper transactions and accounting
                  machinations that violated fundamental GAAP precepts in order to artificially smooth the
                  company’s earnings and to hide earnings volatility. In connection with these improprieties,
                  Freddie Mac restated more than $5 billion in earnings. A settlement of $410 million was reached
                  in the case just as deposition discovery had begun and document review was complete.




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  CASE:           IN RE REFCO, INC. SECURITIES LITIGATION
  COURT:          United States District Court for the Southern District of New York
  HIGHLIGHTS:     Over $407 million in total recoveries.
  DESCRIPTION:    The lawsuit arises from the revelation that Refco, a once prominent brokerage, had for years
                  secreted hundreds of millions of dollars of uncollectible receivables with a related entity
                  controlled by Phillip Bennett, the company’s Chairman and Chief Executive Officer. This
                  revelation caused the stunning collapse of the company a mere two months after its initial public
                  offering of common stock. As a result, Refco filed one of the largest bankruptcies in U.S. history.
                  Settlements have been obtained from multiple company and individual defendants, resulting in a
                  total recovery for the class of over $407 million. BLB&G represented Co-Lead Plaintiff RH
                  Capital Associates LLC.


                 C ORPORATE G OVERNANCE                AND    S HARE HOLDERS ’ R IGHTS
  CASE:          CITY OF MONROE EMPLOYEES' RETIREMENT SYSTEM, DERIVATIVELY ON BEHALF
                 OF TWENTY-FIRST CENTURY FOX, INC. V. RUPERT MURDOCH, ET AL.
  COURT:         Delaware Court of Chancery
  HIGHLIGHTS:    Landmark derivative litigation establishes unprecedented, independent Board-level council to
                 ensure employees are protected from workplace harassment while recouping $90 million for the
                 company’s coffers.
  DESCRIPTION:   Before the birth of the #metoo movement, BLB&G led the prosecution of an unprecedented
                 shareholder derivative litigation against Fox News parent 21st Century Fox, Inc. arising from the
                 systemic sexual and workplace harassment at the embattled network. After nearly 18 months of
                 litigation, discovery and negotiation related to the shocking misconduct and the Board’s extensive
                 alleged governance failures, the parties unveil a landmark settlement with two key components: 1)
                 the first ever Board-level watchdog of its kind – the "Fox News Workplace Professionalism and
                 Inclusion Council" of experts (WPIC) – majority independent of the Murdochs, the Company and
                 Board; and 2) one of the largest financial recoveries – $90 million – ever obtained in a pure
                 corporate board oversight dispute. The WPIC is expected to serve as a model for public companies
                 in all industries. The firm represented 21st Century Fox shareholder the City of Monroe
                 (Michigan) Employees' Retirement System.


  CASE:          IN RE ALLERGAN, INC. PROXY VIOLATION SECURITIES LITIGATION
  COURT:         United States District Court for the Central District of California
  HIGHLIGHTS:    Litigation recovered over $250 million for investors in challenging unprecedented insider trading
                 scheme by billionaire hedge fund manager Bill Ackman.
  DESCRIPTION:   As alleged in groundbreaking litigation, billionaire hedge fund manager Bill Ackman and his
                 Pershing Square Capital Management fund secretly acquire a near 10% stake in pharmaceutical
                 concern Allergan, Inc. as part of an unprecedented insider trading scheme by Ackman and Valeant
                 Pharmaceuticals International, Inc. What Ackman knew – but investors did not – was that in the
                 ensuing weeks, Valeant would be launching a hostile bid to acquire Allergan shares at a far higher
                 price. Ackman enjoys a massive instantaneous profit upon public news of the proposed
                 acquisition, and the scheme works for both parties as he kicks back hundreds of millions of his
                 insider-trading proceeds to Valeant after Allergan agreed to be bought by a rival bidder. After a
                 ferocious three-year legal battle over this attempt to circumvent the spirit of the U.S. securities
                 laws, BLB&G obtains a $250 million settlement for Allergan investors, and creates precedent to
                 prevent similar such schemes in the future. The Plaintiffs in this action were the State Teachers
                 Retirement System of Ohio, the Iowa Public Employees Retirement System, and Patrick T.
                 Johnson.



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  CASE:          UNITEDHEALTH GROUP, INC. SHAREHOLDER DERIVATIVE LITIGATION
  COURT:         United States District Court for the District of Minnesota

  HIGHLIGHTS:    Litigation recovered over $920 million in ill-gotten compensation directly from former officers for
                 their roles in illegally backdating stock options, while the company agreed to far-reaching reforms
                 aimed at curbing future executive compensation abuses.
  DESCRIPTION:   This shareholder derivative action filed against certain current and former executive officers and
                 members of the Board of Directors of UnitedHealth Group, Inc. alleged that the Defendants
                 obtained, approved and/or acquiesced in the issuance of stock options to senior executives that
                 were unlawfully backdated to provide the recipients with windfall compensation at the direct
                 expense of UnitedHealth and its shareholders. The firm recovered over $920 million in ill-gotten
                 compensation directly from the former officer Defendants – the largest derivative recovery in
                 history. As feature coverage in The New York Times indicated, “investors everywhere should
                 applaud [the UnitedHealth settlement]…. [T]he recovery sets a standard of behavior for other
                 companies and boards when performance pay is later shown to have been based on ephemeral
                 earnings.” The Plaintiffs in this action were the St. Paul Teachers’ Retirement Fund
                 Association, the Public Employees’ Retirement System of Mississippi, the Jacksonville Police
                 & Fire Pension Fund, the Louisiana Sheriffs’ Pension & Relief Fund, the Louisiana Municipal
                 Police Employees’ Retirement System and Fire & Police Pension Association of Colorado.


  CASE:          CAREMARK MERGER LITIGATION
  COURT:         Delaware Court of Chancery – New Castle County

  HIGHLIGHTS:    Landmark Court ruling orders Caremark’s board to disclose previously withheld information,
                 enjoins shareholder vote on CVS merger offer, and grants statutory appraisal rights to Caremark
                 shareholders. The litigation ultimately forced CVS to raise offer by $7.50 per share, equal to more
                 than $3.3 billion in additional consideration to Caremark shareholders.
  DESCRIPTION:   Commenced on behalf of the Louisiana Municipal Police Employees’ Retirement System and
                 other shareholders of Caremark RX, Inc. (“Caremark”), this shareholder class action accused the
                 company’s directors of violating their fiduciary duties by approving and endorsing a proposed
                 merger with CVS Corporation (“CVS”), all the while refusing to fairly consider an alternative
                 transaction proposed by another bidder. In a landmark decision, the Court ordered the Defendants
                 to disclose material information that had previously been withheld, enjoined the shareholder vote
                 on the CVS transaction until the additional disclosures occurred, and granted statutory appraisal
                 rights to Caremark’s shareholders—forcing CVS to increase the consideration offered to
                 shareholders by $7.50 per share in cash (over $3 billion in total).



  CASE:          IN RE PFIZER INC. SHAREHOLDER DERIVATIVE LITIGATION
  COURT:         United States District Court for the Southern District of New York

  HIGHLIGHTS:    Landmark settlement in which Defendants agreed to create a new Regulatory and Compliance
                 Committee of the Pfizer Board that will be supported by a dedicated $75 million fund.
  DESCRIPTION:   In the wake of Pfizer’s agreement to pay $2.3 billion as part of a settlement with the U.S.
                 Department of Justice to resolve civil and criminal charges relating to the illegal marketing of at
                 least 13 of the company’s most important drugs (the largest such fine ever imposed), this
                 shareholder derivative action was filed against Pfizer’s senior management and Board alleging they
                 breached their fiduciary duties to Pfizer by, among other things, allowing unlawful promotion of
                 drugs to continue after receiving numerous “red flags” that Pfizer’s improper drug marketing was
                 systemic and widespread. The suit was brought by Court-appointed Lead Plaintiffs Louisiana
                 Sheriffs’ Pension and Relief Fund and Skandia Life Insurance Company, Ltd. In an
                 unprecedented settlement reached by the parties, the Defendants agreed to create a new Regulatory

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                 and Compliance Committee of the Pfizer Board of Directors (the “Regulatory Committee”) to
                 oversee and monitor Pfizer’s compliance and drug marketing practices and to review the
                 compensation policies for Pfizer’s drug sales related employees.


  CASE:          M I L L E R E T A . V . I AC/ I N T E R A C T I V E C O R P E T A L .
  COURT:         Delaware Court of Chancery
  HIGHLIGHTS:    Litigation shuts down efforts by controlling shareholders to obtain “dynastic control” of the
                 company through improper stock class issuances, setting valuable precedent and sending strong
                 message to boards and management in all sectors that such moves will not go unchallenged.
  DESCRIPTION:   BLB&G obtained this landmark victory for shareholder rights against IAC/InterActiveCorp and its
                 controlling shareholder and chairman, Barry Diller. For decades, activist corporate founders and
                 controllers seek ways to entrench their position atop the corporate hierarchy by granting themselves
                 and other insiders “supervoting rights.” Diller lays out a proposal to introduce a new class of non-
                 voting stock to entrench “dynastic control” of IAC within the Diller family. BLB&G litigation on
                 behalf of IAC shareholders ends in capitulation with the Defendants effectively conceding the case
                 by abandoning the proposal. This becomes critical corporate governance precedent, given trend of
                 public companies to introduce “low” and “no-vote” share classes, which diminish shareholder
                 rights, insulate management from accountability, and can distort managerial incentives by
                 providing controllers voting power out of line with their actual economic interests in public
                 companies.


  CASE:          IN RE DELPHI FINANCIAL GROUP SHAREHOLDER LITIGATION
  COURT:         Delaware Court of Chancery – New Castle County
  HIGHLIGHTS:    Dominant shareholder is blocked from collecting a payoff at the expense of minority investors.
  DESCRIPTION:   As the Delphi Financial Group prepared to be acquired by Tokio Marine Holdings Inc., the conduct
                 of Delphi’s founder and controlling shareholder drew the scrutiny of BLB&G and its institutional
                 investor clients for improperly using the transaction to expropriate at least $55 million at the
                 expense of the public shareholders. BLB&G aggressively litigated this action and obtained a
                 settlement of $49 million for Delphi’s public shareholders. The settlement fund is equal to about
                 90% of recoverable Class damages – a virtually unprecedented recovery.


  CASE:          QUALCOMM BOOKS & RECORDS LITIGATION
  COURT:         Delaware Court of Chancery – New Castle County
  HIGHLIGHTS:    Novel use of “books and records” litigation enhances disclosure of political spending and
                 transparency.
  DESCRIPTION:   The U.S. Supreme Court’s controversial 2010 opinion in Citizens United v. FEC made it easier for
                 corporate directors and executives to secretly use company funds – shareholder assets – to support
                 personally favored political candidates or causes. BLB&G prosecuted the first-ever “books and
                 records” litigation to obtain disclosure of corporate political spending at our client’s portfolio
                 company – technology giant Qualcomm Inc. – in response to Qualcomm’s refusal to share the
                 information. As a result of the lawsuit, Qualcomm adopted a policy that provides its shareholders
                 with comprehensive disclosures regarding the company’s political activities and places Qualcomm
                 as a standard-bearer for other companies.




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  CASE:          IN RE NEWS CORP. SHAREHOLDER DERIVATIVE LITIGATION
  COURT:         Delaware Court of Chancery – Kent County
  HIGHLIGHTS:    An unprecedented settlement in which News Corp. recoups $139 million and enacts significant
                 corporate governance reforms that combat self-dealing in the boardroom.
  DESCRIPTION:   Following News Corp.’s 2011 acquisition of a company owned by News Corp. Chairman and CEO
                 Rupert Murdoch’s daughter, and the phone-hacking scandal within its British newspaper division,
                 we filed a derivative litigation on behalf of the company because of institutional shareholder
                 concern with the conduct of News Corp.’s management. We ultimately obtained an unprecedented
                 settlement in which News Corp. recouped $139 million for the company coffers, and agreed to
                 enact corporate governance enhancements to strengthen its compliance structure, the independence
                 and functioning of its board, and the compensation and clawback policies for management.


  CASE:          I N R E ACS S H A R E H O L D E R L I T I G A T I O N (X E R O X )
  COURT:         Delaware Court of Chancery – New Castle County
  HIGHLIGHTS:    BLB&G challenged an attempt by ACS CEO to extract a premium on his stock not shared with the
                 company’s public shareholders in a sale of ACS to Xerox. On the eve of trial, BLB&G obtained a
                 $69 million recovery, with a substantial portion of the settlement personally funded by the CEO.
  DESCRIPTION:   Filed on behalf of the New Orleans Employees’ Retirement System and similarly situated
                 shareholders of Affiliated Computer Service, Inc., this action alleged that members of the Board of
                 Directors of ACS breached their fiduciary duties by approving a merger with Xerox Corporation
                 which would allow Darwin Deason, ACS’s founder and Chairman and largest stockholder, to
                 extract hundreds of millions of dollars of value that rightfully belongs to ACS’s public shareholders
                 for himself. Per the agreement, Deason’s consideration amounted to over a 50% premium when
                 compared to the consideration paid to ACS’s public stockholders. The ACS Board further breached
                 its fiduciary duties by agreeing to certain deal protections in the merger agreement that essentially
                 locked up the transaction between ACS and Xerox. After seeking a preliminary injunction to enjoin
                 the deal and engaging in intense discovery and litigation in preparation for a looming trial date,
                 Plaintiffs reached a global settlement with Defendants for $69 million. In the settlement, Deason
                 agreed to pay $12.8 million, while ACS agreed to pay the remaining $56.1 million.



  CASE:          IN RE DOLLAR GENERAL CORPORATION SHAREHOLDER LITIGATION
  COURT:         Sixth Circuit Court for Davidson County, Tennessee; Twentieth Judicial District, Nashville
  HIGHLIGHTS:    Holding Board accountable for accepting below-value “going private” offer.
  DESCRIPTION:   A Nashville, Tennessee corporation that operates retail stores selling discounted household goods,
                 in early March 2007, Dollar General announced that its Board of Directors had approved the
                 acquisition of the company by the private equity firm Kohlberg Kravis Roberts & Co. (“KKR”).
                 BLB&G, as Co-Lead Counsel for the City of Miami General Employees’ & Sanitation
                 Employees’ Retirement Trust, filed a class action complaint alleging that the “going private”
                 offer was approved as a result of breaches of fiduciary duty by the board and that the price offered
                 by KKR did not reflect the fair value of Dollar General’s publicly-held shares. On the eve of the
                 summary judgment hearing, KKR agreed to pay a $40 million settlement in favor of the
                 shareholders, with a potential for $17 million more for the Class.




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  CASE:          LANDRY’S RESTAURANTS, INC. SHAREHOLDER LITIGATION
  COURT:         Delaware Court of Chancery – New Castle County
  HIGHLIGHTS:    Protecting shareholders from predatory CEO’s multiple attempts to take control of Landry’s
                 Restaurants through improper means. Our litigation forced the CEO to increase his buyout offer by
                 four times the price offered and obtained an additional $14.5 million cash payment for the class.
  DESCRIPTION:   In this derivative and shareholder class action, shareholders alleged that Tilman J. Fertitta –
                 chairman, CEO and largest shareholder of Landry’s Restaurants, Inc. – and its Board of Directors
                 stripped public shareholders of their controlling interest in the company for no premium and
                 severely devalued remaining public shares in breach of their fiduciary duties. BLB&G’s
                 prosecution of the action on behalf of Plaintiff Louisiana Municipal Police Employees’
                 Retirement System resulted in recoveries that included the creation of a settlement fund composed
                 of $14.5 million in cash, as well as significant corporate governance reforms and an increase in
                 consideration to shareholders of the purchase price valued at $65 million.


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  CASE:          ROBERTS V. TEXACO, INC.
  COURT:         United States District Court for the Southern District of New York
  HIGHLIGHTS:    BLB&G recovered $170 million on behalf of Texaco’s African-American employees and
                 engineered the creation of an independent “Equality and Tolerance Task Force” at the company.
  DESCRIPTION:   Six highly qualified African-American employees filed a class action complaint against Texaco
                 Inc. alleging that the company failed to promote African-American employees to upper level jobs
                 and failed to compensate them fairly in relation to Caucasian employees in similar positions.
                 BLB&G’s prosecution of the action revealed that African-Americans were significantly under-
                 represented in high level management jobs and that Caucasian employees were promoted more
                 frequently and at far higher rates for comparable positions within the company. The case settled
                 for over $170 million, and Texaco agreed to a Task Force to monitor its diversity programs for five
                 years – a settlement described as the most significant race discrimination settlement in history.


  CASE:          E CO A - G MAC /N MA C/ F O R D / T O Y O T A /C H R Y S L E R - C O N S U M E R F I N A N C E
                 DISCRIMINATION LITIGATION
  COURT:         Multiple jurisdictions

  HIGHLIGHTS:    Landmark litigation in which financing arms of major auto manufacturers are compelled to cease
                 discriminatory “kick-back” arrangements with dealers, leading to historic changes to auto financing
                 practices nationwide.
  DESCRIPTION:   The cases involve allegations that the lending practices of General Motors Acceptance Corporation,
                 Nissan Motor Acceptance Corporation, Ford Motor Credit, Toyota Motor Credit and
                 DaimlerChrysler Financial cause African-American and Hispanic car buyers to pay millions of
                 dollars more for car loans than similarly situated white buyers. At issue is a discriminatory
                 kickback system under which minorities typically pay about 50% more in dealer mark-up which is
                 shared by auto dealers with the Defendants.
                  NM AC : The United States District Court for the Middle District of Tennessee granted final
                  approval of the settlement of the class action against Nissan Motor Acceptance Corporation
                  (“NMAC”) in which NMAC agreed to offer pre-approved loans to hundreds of thousands of
                  current and potential African-American and Hispanic NMAC customers, and limit how much it
                  raises the interest charged to car buyers above the company’s minimum acceptable rate.




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                GM AC : The United States District Court for the Middle District of Tennessee granted final
                approval of a settlement of the litigation against General Motors Acceptance Corporation
                (“GMAC”) in which GMAC agreed to take the historic step of imposing a 2.5% markup cap on
                loans with terms up to 60 months, and a cap of 2% on extended term loans. GMAC also agreed to
                institute a substantial credit pre-approval program designed to provide special financing rates to
                minority car buyers with special rate financing.
                D A I M L E R C H R Y S L E R : The United States District Court for the District of New Jersey granted
                final approval of the settlement in which DaimlerChrysler agreed to implement substantial
                changes to the company’s practices, including limiting the maximum amount of mark-up dealers
                may charge customers to between 1.25% and 2.5% depending upon the length of the customer’s
                loan. In addition, the company agreed to send out pre-approved credit offers of no-markup loans
                to African-American and Hispanic consumers, and contribute $1.8 million to provide consumer
                education and assistance programs on credit financing.
                F O R D M O T O R C R E D I T : The United States District Court for the Southern District of New York
                granted final approval of a settlement in which Ford Credit agreed to make contract disclosures
                informing consumers that the customer’s Annual Percentage Rate (“APR”) may be negotiated and
                that sellers may assign their contracts and retain rights to receive a portion of the finance charge.



              CLIENTS AND FEES
              We are firm believers in the contingency fee as a socially useful, productive and satisfying basis of
              compensation for legal services, particularly in litigation. Wherever appropriate, even with our
              corporate clients, we will encourage retention where our fee is contingent on the outcome of the
              litigation. This way, it is not the number of hours worked that will determine our fee, but rather
              the result achieved for our client.

              Our clients include many large and well known financial and lending institutions and pension
              funds, as well as privately-held companies that are attracted to our firm because of our reputation,
              expertise and fee structure. Most of the firm’s clients are referred by other clients, law firms and
              lawyers, bankers, investors and accountants. A considerable number of clients have been referred
              to the firm by former adversaries. We have always maintained a high level of independence and
              discretion in the cases we decide to prosecute. As a result, the level of personal satisfaction and
              commitment to our work is high.




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              IN THE PUBLIC INTEREST
              Bernstein Litowitz Berger & Grossmann LLP is guided by two principles: excellence in legal
              work and a belief that the law should serve a socially useful and dynamic purpose. Attorneys at
              the firm are active in academic, community and pro bono activities, as well as participating as
              speakers and contributors to professional organizations. In addition, the firm endows a public
              interest law fellowship and sponsors an academic scholarship at Columbia Law School.

              B ERNSTEIN L ITOWITZ B ERGER & G ROSSMANN P UBLIC I NTEREST L AW F ELLOWS
              C O L U M B I A L A W S C H O O L − BLB&G is committed to fighting discrimination and effecting
              positive social change. In support of this commitment, the firm donated funds to Columbia Law
              School to create the Bernstein Litowitz Berger & Grossmann Public Interest Law Fellowship.
              This newly endowed fund at Columbia Law School will provide Fellows with 100% of the
              funding needed to make payments on their law school tuition loans so long as such graduates
              remain in the public interest law field. The BLB&G Fellows are able to begin their careers free of
              any school debt if they make a long-term commitment to public interest law.

              FIRM   SP O N SO R S HI P O F H ER J US T I CE
              N E W Y O R K , N Y − BLB&G is a sponsor of Her Justice, a non-profit organization in New York
              City dedicated to providing pro bono legal representation to indigent women, principally battered
              women, in connection with the myriad legal problems they face. The organization trains and
              supports the efforts of New York lawyers who provide pro bono counsel to these women. Several
              members and associates of the firm volunteer their time to help women who need divorces from
              abusive spouses, or representation on issues such as child support, custody and visitation. To read
              more about Her Justice, visit the organization’s website at www.herjustice.org.

              T H E P AU L M. B ER N ST E I N M E MO R I A L S C HO L A R S HI P
              C O L U M B I A L A W S C H O O L − Paul M. Bernstein was the founding senior partner of the firm. Mr.
              Bernstein led a distinguished career as a lawyer and teacher and was deeply committed to the
              professional and personal development of young lawyers. The Paul M. Bernstein Memorial
              Scholarship Fund is a gift of the firm and the family and friends of Paul M. Bernstein, and is
              awarded annually to one or more second-year students selected for their academic excellence in
              their first year, professional responsibility, financial need and contributions to the community.

              FIRM    SP O N SO R S HI P O F C I T Y Y E A R N EW Y O R K
              N E W Y O R K , N Y − BLB&G is also an active supporter of City Year New York, a division of
              AmeriCorps. The program was founded in 1988 as a means of encouraging young people to
              devote time to public service and unites a diverse group of volunteers for a demanding year of
              full-time community service, leadership development and civic engagement. Through their
              service, corps members experience a rite of passage that can inspire a lifetime of citizenship and
              build a stronger democracy.

              M AX W. B E R GE R P R E -L AW P R O G R A M
              B A R U C H C O L L E G E − In order to encourage outstanding minority undergraduates to pursue a
              meaningful career in the legal profession, the Max W. Berger Pre-Law Program was established at
              Baruch College. Providing workshops, seminars, counseling and mentoring to Baruch students,
              the program facilitates and guides them through the law school research and application process,
              as well as placing them in appropriate internships and other pre-law working environments.

              N E W Y O R K S AY S T H AN K Y O U F O U N D AT I O N
              N E W Y O R K , N Y − Founded in response to the outpouring of love shown to New York City by
              volunteers from all over the country in the wake of the 9/11 attacks, The New York Says Thank
              You Foundation sends volunteers from New York City to help rebuild communities around the
              country affected by disasters. BLB&G is a corporate sponsor of NYSTY and its goals are a
              heartfelt reflection of the firm’s focus on community and activism.


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              OUR ATTORNEYS

              M EMBERS

              M A X W. B E R G E R , the firm’s senior founding partner, supervises BLB&G’s litigation practice
              and prosecutes class and individual actions on behalf of the firm’s clients.

              He has litigated many of the firm's most high-profile and significant cases, and has negotiated
              seven of the largest securities fraud settlements in history, each in excess of a billion dollars:
              Cendant ($3.3 billion); Citigroup–WorldCom ($2.575 billion); Bank of America/Merrill Lynch
              ($2.4 billion); JPMorgan Chase–WorldCom ($2 billion); Nortel ($1.07 billion); Merck ($1.06
              billion); and McKesson ($1.05 billion).

              Most recently, before the #metoo movement came alive, on behalf of an institutional investor
              client, he handled the prosecution of the unprecedented shareholder derivative litigation against
              Fox News parent 21st Century Fox, Inc. arising from the systemic sexual and workplace
              harassment at the embattled network. After nearly 18 months of litigation, discovery and
              negotiation related to the shocking misconduct and the Board’s extensive alleged governance
              failures, the parties unveiled a landmark settlement with two key components: 1) the first ever
              Board-level watchdog of its kind – the “Fox News Workplace Professionalism and Inclusion
              Council” of experts (WPIC) – majority independent of the Murdochs, the Company and Board;
              and 2) one of the largest financial recoveries – $90 million – ever obtained in a pure corporate
              board oversight dispute. The WPIC is expected to serve as a model for public companies in all
              industries.

              Mr. Berger’s work has garnered him extensive media attention, and he has been the subject of
              feature articles in a variety of major media publications. Unique among his peers, The New York
              Times highlighted his remarkable track record in an October 2012 profile entitled “Investors’
              Billion-Dollar Fraud Fighter,” which also discussed his role in the Bank of America/Merrill Lynch
              Merger litigation. In 2011, Mr. Berger was twice profiled by The American Lawyer for his role in
              negotiating a $627 million recovery on behalf of investors in the In re Wachovia Corp. Securities
              Litigation, and a $516 million recovery in In re Lehman Brothers Equity/Debt Securities
              Litigation. Previously, Mr. Berger’s role in the WorldCom case generated extensive media
              coverage including feature articles in BusinessWeek and The American Lawyer. For his
              outstanding efforts on behalf of WorldCom investors, The National Law Journal profiled Mr.
              Berger (one of only eleven attorneys selected nationwide) in its annual 2005 “Winning Attorneys”
              section. He was subsequently featured in a 2006 New York Times article, “A Class-Action
              Shuffle,” which assessed the evolving landscape of the securities litigation arena.

              One of the “100 Most Influential Lawyers in America”

              Widely recognized for his professional excellence and achievements, Mr. Berger was named one
              of the “100 Most Influential Lawyers in America” by The National Law Journal for being “front
              and center” in holding Wall Street banks accountable and obtaining over $5 billion in cases arising
              from the subprime meltdown, and for his work as a “master negotiator” in obtaining numerous
              multi-billion dollar recoveries for investors.

              Described as a “standard-bearer” for the profession in a career spanning over 40 years, he is the
              2014 recipient of Chambers USA’s award for Outstanding Contribution to the Legal Profession.
              In presenting this prestigious honor, Chambers recognized Mr. Berger’s “numerous headline-
              grabbing successes,” as well as his unique stature among colleagues – “warmly lauded by his
              peers, who are nevertheless loath to find him on the other side of the table.”




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              Law360 published a special feature discussing his life and career as a “Titan of the Plaintiffs Bar,”
              and also named him one of only six litigators selected nationally as a “Legal MVP” for his work in
              securities litigation.

              For the past ten years in a row, Mr. Berger has received the top attorney ranking in plaintiff
              securities litigation by Chambers and is consistently recognized as one of New York’s “local
              litigation stars” by Benchmark Litigation (published by Institutional Investor and Euromoney).

              Since their various inceptions, he has also been named a “leading lawyer” by the Legal 500 US
              Guide, one of “10 Legal Superstars” by Securities Law360, and one of the “500 Leading Lawyers
              in America” and “100 Securities Litigators You Need to Know” by Lawdragon magazine. Further,
              The Best Lawyers in America guide has named Mr. Berger a leading lawyer in his field.

              Considered the “Dean” of the U.S. plaintiff securities bar, Mr. Berger has lectured extensively for
              many professional organizations, and is the author and co-author of numerous articles on
              developments in the securities laws and their implications for public policy. He was chosen, along
              with several of his BLB&G partners, to author the first chapter – “Plaintiffs’ Perspective” – of
              Lexis/Nexis’s seminal industry guide Litigating Securities Class Actions. An esteemed voice on
              all sides of the legal and financial markets, in 2008 the SEC and Treasury called on Mr. Berger to
              provide guidance on regulatory changes being considered as the accounting profession was
              experiencing tectonic shifts shortly before the financial crisis.

              Mr. Berger also serves the academic community in numerous capacities. A long-time member of
              the Board of Trustees of Baruch College, he is now the President of the Baruch College Fund. A
              member of the Dean's Council to Columbia Law School, he has taught Profession of Law, an
              ethics course at Columbia Law School, and serves on the Advisory Board of Columbia Law
              School’s Center on Corporate Governance. In May 2006, he was presented with the Distinguished
              Alumnus Award for his contributions to Baruch College, and in February 2011, Mr. Berger
              received Columbia Law School's most prestigious and highest honor, “The Medal for Excellence.”
              This award is presented annually to Columbia Law School alumni who exemplify the qualities of
              character, intellect, and social and professional responsibility that the Law School seeks to instill
              in its students. As a recipient of this award, Mr. Berger was profiled in the Fall 2011 issue of
              Columbia Law School Magazine.

              Mr. Berger is currently a member of the New York State, New York City and American Bar
              Associations, and is a member of the Federal Bar Council. He is also a member of the American
              Law Institute and an Advisor to its Restatement Third: Economic Torts project. In addition, Mr.
              Berger is a member of the Board of Trustees of The Supreme Court Historical Society.

              Mr. Berger lectures extensively for many professional organizations. In 1997, Mr. Berger was
              honored for his outstanding contribution to the public interest by Trial Lawyers for Public Justice,
              where he was a “Trial Lawyer of the Year” Finalist for his work in Roberts, et al. v. Texaco, the
              celebrated race discrimination case, on behalf of Texaco's African-American employees.

              Among numerous charitable and volunteer works, Mr. Berger is an active supporter of City Year
              New York, a division of AmeriCorps, dedicated to encouraging young people to devote time to
              public service. In July 2005, he was named City Year New York’s “Idealist of the Year,” for his
              long-time service and work in the community. He and his wife, Dale, have also established The
              Dale and Max Berger Public Interest Law Fellowship at Columbia Law School and the Max
              Berger Pre-Law Program at Baruch College.

              EDUCATION: Baruch College-City University of New York, B.B.A., Accounting, 1968;
              President of the student body and recipient of numerous awards. Columbia Law School, J.D.,
              1971, Editor of the Columbia Survey of Human Rights Law.

              BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
              New York; U.S. Court of Appeals for the Second Circuit; U.S. Supreme Court.


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              G E R A L D H. S I L K ’S practice focuses on representing institutional investors on matters
              involving federal and state securities laws, accountants’ liability, and the fiduciary duties of
              corporate officials, as well as general commercial and corporate litigation. He also advises
              creditors on their rights with respect to pursuing affirmative claims against officers and directors,
              as well as professionals both inside and outside the bankruptcy context.

              Mr. Silk is a member of the firm’s Management Committee. He also oversees the firm’s New
              Matter department in which he, along with a group of attorneys, financial analysts and
              investigators, counsels institutional clients on potential legal claims. In December 2014, Mr. Silk
              was recognized by The National Law Journal in its inaugural list of “Litigation Trailblazers &
              Pioneers” — one of 50 lawyers in the country who have changed the practice of litigation through
              the use of innovative legal strategies — in no small part for the critical role he has played in
              helping the firm’s investor clients recover billions of dollars in litigation arising from the financial
              crisis, among other matters.

              In addition, Lawdragon magazine, which has named Mr. Silk one of the “100 Securities Litigators
              You Need to Know,” one of the “500 Leading Lawyers in America” and one of America’s top 500
              “rising stars” in the legal profession, also recently profiled him as part of its “Lawyer Limelight”
              special series, discussing subprime litigation, his passion for plaintiffs’ work and the trends he
              expects to see in the market. Recognized as one of an elite group of notable practitioners by
              Chambers USA, he is also named as a “Litigation Star” by Benchmark, is recommended by the
              Legal 500 USA guide in the field of plaintiffs’ securities litigation, and has been selected by New
              York Super Lawyers every year since 2006.

              In the wake of the financial crisis, he advised the firm’s institutional investor clients on their rights
              with respect to claims involving transactions in residential mortgage-backed securities (RMBS)
              and collateralized debt obligations (CDOs). His work representing Cambridge Place Investment
              Management Inc. on claims under Massachusetts state law against numerous investment banks
              arising from the purchase of billions of dollars of RMBS was featured in a 2010 New York Times
              article by Gretchen Morgenson titled, “Mortgage Investors Turn to State Courts for Relief.”

              Mr. Silk also represented the New York State Teachers’ Retirement System in a securities
              litigation against the General Motors Company arising from a series of misrepresentations
              concerning the quality, safety, and reliability of the Company’s cars which resulted in a $300
              million settlement. He was also a member of the litigation team responsible for the successful
              prosecution of In re Cendant Corporation Securities Litigation in the District of New Jersey,
              which was resolved for $3.2 billion. In addition, he is actively involved in the firm's prosecution
              of highly successful M&A litigation, representing shareholders in widely publicized lawsuits,
              including the litigation arising from the proposed acquisition of Caremark Rx, Inc. by CVS
              Corporation — which led to an increase of approximately $3.5 billion in the consideration offered
              to shareholders.

              A graduate of the Wharton School of Business, University of Pennsylvania and Brooklyn Law
              School, in 1995-96, Mr. Silk served as a law clerk to the Hon. Steven M. Gold, U.S.M.J., in the
              United States District Court for the Eastern District of New York.

              Mr. Silk lectures to institutional investors at conferences throughout the country, and has written
              or substantially contributed to several articles on developments in securities and corporate law,
              including “Improving Multi-Jurisdictional, Merger-Related Litigation,” American Bar Association
              (February 2011); “The Compensation Game,” Lawdragon, Fall 2006; “Institutional Investors as
              Lead Plaintiffs: Is There A New And Changing Landscape?,” 75 St. John’s Law Review 31
              (Winter 2001); “The Duty To Supervise, Poser, Broker-Dealer Law and Regulation,” 3rd Ed.
              2000, Chapter 15; “Derivative Litigation In New York after Marx v. Akers,” New York Business
              Law Journal, Vol. 1, No. 1 (Fall 1997).




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              He has also been a commentator for the business media on television and in print. Among other
              outlets, he has appeared on NBC’s Today, and CNBC’s Power Lunch, Morning Call, and
              Squawkbox programs, as well as being featured in The New York Times, Financial Times,
              Bloomberg, The National Law Journal, and the New York Law Journal.

              EDUCATION: Wharton School of the University of Pennsylvania, B.S., Economics, 1991.
              Brooklyn Law School, J.D., cum laude, 1995.

              BAR ADMISSIONS: New York; U.S. District Courts for the Southern and Eastern Districts of
              New York.


              S A L V A T O R E J. G R A Z I A N O is widely recognized as one of the top securities litigators in the
              country. He has served as lead trial counsel in a wide variety of major securities fraud class
              actions, recovering billions of dollars on behalf of institutional investors and hedge fund clients.

              Over the course of his distinguished career, Mr. Graziano has successfully litigated many high-
              profile cases, including: Merck & Co., Inc. (Vioxx) Sec. Litig. (D.N.J.); In re Schering-Plough
              Corp./ENHANCE Sec. Litig. (D.N.J.); New York State Teachers' Retirement System v. General
              Motors Co. (E.D. Mich.); In re MF Global Holdings Limited Sec. Litig. (S.D.N.Y); In re Raytheon
              Sec. Litig. (D. Mass.); In re Refco Sec. Litig. (S.D.N.Y.); In re MicroStrategy, Inc. Sec. Litig.
              (E.D. Va.); In re Bristol Myers Squibb Co. Sec. Litig. (S.D.N.Y.); and In re New Century Sec.
              Litig. (C.D. Cal.).

              Industry observers, peers and adversaries routinely honor Mr. Graziano for his accomplishments.
              He is one of the “Top 100 Trial Lawyers” in the nation according to Benchmark Litigation, which
              credits him for performing “top quality work.” Chambers USA describes Mr. Graziano as
              “wonderfully talented…a smart, aggressive lawyer who works hard for his clients,” while Legal
              500 praises him as a “highly effective litigator.” Heralded as one of a handful of Class Action
              MVPs in the nation by Law360, he is also one of Lawdragon’s 500 Leading Lawyers in America,
              named as a leading mass tort and plaintiff class action litigator by Best Lawyers®, and as a New
              York Super Lawyer.

              A highly esteemed voice on investor rights, regulatory and market issues, in 2008 he was called
              upon by the Securities and Exchange Commission’s Advisory Committee on Improvements to
              Financial Reporting to give testimony as to the state of the industry and potential impacts of
              proposed regulatory changes being considered. He is the author and co-author of numerous
              articles on developments in the securities laws, and was chosen, along with several of his BLB&G
              partners, to author the first chapter – “Plaintiffs’ Perspective” – of Lexis/Nexis’s seminal industry
              guide Litigating Securities Class Actions.

              A managing partner of the firm, Mr. Graziano has previously served as the President of the
              National Association of Shareholder & Consumer Attorneys, and has served as a member of the
              Financial Reporting Committee and the Securities Regulation Committee of the Association of the
              Bar of the City of New York. He regularly lectures on securities fraud litigation and shareholder
              rights.

              Prior to entering private practice, Mr. Graziano served as an Assistant District Attorney in the
              Manhattan District Attorney’s Office.

              EDUCATION: New York University College of Arts and Science, B.A., psychology, cum laude,
              1988. New York University School of Law, J.D., cum laude, 1991.

              BAR ADMISSIONS: New York; U.S. District Courts for the Southern and Eastern Districts of
              New York; U.S. Courts of Appeals for the First, Second, Third, Fourth, Ninth and Eleventh
              Circuits.



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              D A V I D R. S T I C K N E Y practices in the firm’s California office, where he focuses on complex
              litigation in state and federal courts nationwide at both the trial court and appellate levels. He has
              represented institutions and individuals in high-profile and historic cases, litigating virtually every
              type of securities matter, including claims under the Securities and Exchange Acts of 1933 and
              1934, fraud and non-disclosure cases under state blue-sky laws and myriad additional actions
              addressing securities-related misconduct.

              Mr. Stickney has prosecuted and, together with his partners, successfully resolved a number of the
              firm’s significant cases, obtaining billions of dollars in recoveries for investors. Among such
              cases are In re McKesson Sec. Litig., recovering $1.023 billion, the largest settlement in history for
              any securities class action within the Ninth Circuit; In re Lehman Brothers Debt/Equity Sec. Litig.,
              which settled for $615 million; In re Bear Stearns Mortgage Pass-Through Certificate Litigation,
              recovering $500 million; Plaintiff vs. Wall Street Banks, recovering $382 million; Public
              Employees Ret. Sys. of Miss. vs. Merrill Lynch & Co., recovering $325 million; Wyatt v. El Paso
              Corp., which settled for $285 million; Public Employees Ret. Sys. of Miss. vs. JP Morgan, which
              settled for $280 million; In re Genworth Fin. Inc., Sec. Litig., settlement pending for $219 million;
              BFA Liquidation Trust v. Arthur Andersen LLP, which settled during trial for $217 million; In re
              Wells Fargo Mortgage Pass-Through Certificate Litig., which settled for $125 million; Public
              Employees Ret. Sys. of Miss. vs. Morgan Stanley, which settled for $95 million; In re Lumber
              Liquidators Sec. Litig.; In re CTI Biopharmaceuticals Sec. Litig.; In re Rayonier Sec. Litig.; In re
              SunPower Corp.; Atlas v. Accredited Home Lenders Holding Company; In re Connetics Inc.; In re
              Stone Energy Corp.; In re WSB Financial Group Sec. Litig.; In re Dura Pharmaceuticals Inc. Sec.
              Litig.; In re EMAC Sec. Litig., and additional cases.

              Mr. Stickney has prosecuted claims arising from a wide variety of industries, including finance
              and banking, accounting services, retail, automotive, software and technology,
              telecommunications, education, healthcare, pharmaceutical, energy oil and gas, transportation and
              shipping, real estate, forestry, insurance and others. He is currently responsible for a number of
              the firm’s prominent cases, including litigation involving Qualcomm, RH Inc., Intel, Cobalt,
              Apollo Education Group and others.

              He has been widely recognized for his professional achievements as one of the top litigators in the
              country by the legal media and industry observers. In March 2016, The Recorder selected Mr.
              Stickney as a “Litigation Groundbreaker” for his work recovering billions of dollars from sellers
              of toxic mortgage securities. The Daily Journal named Mr. Stickney one of the top 30 plaintiff
              lawyers in California for 2016. In November 2014, Law360 profiled him as one of the “Titans of
              the Plaintiffs Bar,” as well twice naming him a “Class Action MVP,” one of only a handful of
              litigators selected nationally. Since 2014, Lawdragon magazine has selected him to its exclusive
              list of the “500 Leading Lawyers in America,” and since 2008 has been named a “Rising Star” and
              a “Litigation Star” by Benchmark (The Definitive Guide to America’s Leading Litigation Firms &
              Attorneys). Thomson recognizes Mr. Stickney as a San Diego Super Lawyer and featured in the
              Corporate Counsel edition of Super Lawyers.

              Mr. Stickney lectures on securities litigation and shareholder matters for seminars and programs
              sponsored by professional organizations. He has also authored and co-authored several articles
              concerning securities litigation and class actions.

              During 1996-1997, Mr. Stickney served as law clerk to the Honorable Bailey Brown of the United
              States Court of Appeals for the Sixth Circuit.

              EDUCATION: University of California, Davis, B.A., 1993. University of Cincinnati College of
              Law, J.D., 1996; Jacob B. Cox Scholar; Lead Articles Editor of the University of Cincinnati Law
              Review.

              BAR ADMISSIONS: California; U.S. District Courts for the Northern, Southern and Central
              Districts of California; U.S. Courts of Appeals for the Second, Fifth, Sixth, Eighth and Ninth
              Circuits; U.S. District Court for the District of Colorado.

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              J O H N C. B R O W N E ’s practice focuses on the prosecution of securities fraud class actions. He
              represents the firm’s institutional investor clients in jurisdictions throughout the country and has
              been a member of the trial teams of some of the most high-profile securities fraud class actions in
              history.

              Mr. Browne was Lead Counsel in the In re Citigroup, Inc. Bond Action Litigation, which resulted
              in a $730 million cash recovery – the second largest recovery ever achieved for a class of
              purchasers of debt securities. It is also the second largest civil settlement arising out of the
              subprime meltdown and financial crisis. Mr. Browne was also a member of the team representing
              the New York State Common Retirement Fund in In re WorldCom, Inc. Securities Litigation,
              which culminated in a five-week trial against Arthur Andersen LLP and a recovery for investors of
              over $6.19 billion – one of the largest securities fraud recoveries in history.

              Other notable litigations in which Mr. Browne served as Lead Counsel on behalf of shareholders
              include In re Refco Securities Litigation, which resulted in a $407 million settlement, In re the
              Reserve Fund Securities and Derivative Litigation, which settled for more than $54 million, In re
              King Pharmaceuticals Litigation, which settled for $38.25 million, In re RAIT Financial Trust
              Securities Litigation, which settled for $32 million, and In re SFBC Securities Litigation, which
              settled for $28.5 million.

              Most recently, Mr. Browne served as lead counsel in the In re BNY Mellon Foreign Exchange
              Securities Litigation, which settled for $180 million, In re State Street Corporation Securities
              Litigation, which settled for $60 million, and the Anadarko Petroleum Corporation Securities
              Litigation, which settled for $12.5 million. Mr. Browne also represents the firm’s institutional
              investor clients in the appellate courts, and has argued appeals in the Second Circuit, Third Circuit
              and, most recently, the Fifth Circuit, where he successfully argued the appeal in the In re Amedisys
              Securities Litigation.

              In recognition of his achievements and legal excellence, Law360 named Mr. Browne a “Class
              Action MVP” (one of only four litigators selected nationally), and he was selected by legal
              publication Lawdragon to its exclusive list as one of the “500 Leading Lawyers in America.” He
              is ranked a New York Super Lawyer by Thomson Reuters, and is recommended by Legal 500 for
              his work in securities litigation.

              Prior to joining BLB&G, Mr. Browne was an attorney at Latham & Watkins, where he had a wide
              range of experience in commercial litigation, including defending corporate officers and directors
              in securities class actions and derivative suits, and representing major corporate clients in state and
              federal court litigations and arbitrations.

              Mr. Browne has been a panelist at various continuing legal education programs offered by the
              American Law Institute (“ALI”) and has authored and co-authored numerous articles relating to
              securities litigation.

              EDUCATION: James Madison University, B.A., Economics, magna cum laude, 1994. Cornell
              Law School, J.D., cum laude, 1998; Editor of the Cornell Law Review.

              BAR ADMISSIONS: New York; U.S. District Court for the Southern District of New York; U.S.
              Courts of Appeals for the Second, Third and Fifth Circuits.


              M A R K L E B O V I T C H heads the firm’s corporate governance litigation practice, focusing on
              derivative suits and transactional litigation. Working with his institutional investor clients, he
              fights to hold management accountable, pursuing meaningful and novel challenges to alleged
              corporate governance-related misconduct and anti-shareholder practices. His cases have created
              key legal precedents while helping recoup billions of dollars for investors and improving corporate
              governance practices in numerous industries.


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              Most recently, Mr. Lebovitch led the Allergan Proxy Violation Litigation, alleging an
              unprecedented insider trading scheme by billionaire hedge fund manager Bill Ackman, Ackman’s
              Pershing Square Capital Management fund and Valeant Pharmaceuticals International, Inc. After
              a ferocious three-year legal battle over this attempt to circumvent the spirit of the U.S. securities
              laws, defendants accepted a $290 million settlement for Allergan investors. Last year, before the
              birth of the #metoo movement, he led the prosecution of an unprecedented shareholder derivative
              litigation against Fox News parent 21st Century Fox, Inc. arising from the systemic sexual and
              workplace harassment at the embattled network. The case resulted in one of the largest financial
              recoveries – $90 million – ever obtained in a pure corporate board oversight dispute; and the
              creation of an independent council of experts – named the “Fox News Workplace Professionalism
              and Inclusion Council” – which is expected to serve as a model for public companies in all
              industries.

              Other select current and past representations include:
                 In re DISH Corp. Shareholder Litigation: derivative suit challenging misappropriation and
                  front-running by a controlling shareholder, costing investors over $800 million;
                 Insys Derivative Litigation: challenging a board-approved illegal marketing scheme that
                  actively encouraged off-label marketing of a deadly opioid fentanyl drug;
                 In re TIBCO Software Stockholder Litigation: pursued novel and precedent-setting merger
                  agreement reformation claims and received 33% of potential damages shortly before trial;
                 In re Freeport-McMoRan Derivative Litigation: settled for a cash recovery of nearly $154
                  million, plus corporate governance reforms;
                 In re Jefferies, Inc. Stockholder Litigation: settled for a $75 million net payment paid entirely
                  to a class of former Jefferies investor through a first-of-its-kind dividend;
                 Safeway Appraisal Litigation: provided clients with a nearly 30% increase in value above the
                  negotiated merger consideration;
                 In re News Corp. Shareholder Derivative Litigation: settled for a $139 million cash recovery,
                  and an unprecedented package of corporate governance and oversight enhancements;
                 In re El Paso Corp. Shareholder Litigation: resulted in a $110 million post-closing settlement
                  and a ruling that materially improved the way M&A financial advisors address conflicts of
                  interest;
                 In re Delphi Financial Group Shareholder Litigation: challenged the controlling
                  shareholder’s unlawful demand for an additional $55 million in connection with the sale of
                  the company, resulting in the recovery of $49 million;
                 In re Pfizer Derivative Litigation: resulted in a $75 million payment and creation of a new
                  Healthcare Law Regulatory Committee, which sets an improved standard for regulatory
                  compliance oversight by a public company board of directors; and
                 In re ACS Shareholder Litigation: settled on the eve of trial for a $69 million cash payment to
                  ACS shareholders.

              Mr. Lebovitch pioneered challenges to the improper but widespread practice of using “Proxy Put”
              provisions in corporate debt agreements, obtaining pro-shareholder rulings in cases like In re
              Amylin Shareholders Litigation, In re SandRidge Energy, Inc. Shareholder Litigation, and In re
              Healthways, Inc. Shareholder Litigation, which have caused the industry to materially change its
              use of such provisions. He also prosecutes securities litigations, and in that capacity, was the lead
              litigation attorney in In re Merrill Lynch Bondholders Litigation, which settled for $150 million;
              and a member of the team prosecuting In re Bank of America Securities Litigation, which settled
              for $2.425 billion. Currently, he is the lead attorney prosecuting In re Allergan Proxy Securities
              Litigation.



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              Mr. Lebovitch has received national recognition for his work in securities and M&A litigation.
              The National Law Journal named Mr. Lebovitch, as a “Plaintiffs’ Lawyers Trailblazer,”
              recognizing him among the top 26 practitioners in the nation. He was selected 2016 national
              “Plaintiff Attorney of the Year” by Benchmark Litigation and is regularly honored as a New York
              “Litigation Star” by Benchmark in its exclusive annual list of top practitioners. Named a leading
              lawyer in M&A litigation by Best Lawyers®, Mr. Lebovitch was selected as its 2016 M&A
              Litigation “Lawyer of the Year” for New York City. He is one of Lawdragon’s ”500 Leading
              Lawyers in America,” a New York Super Lawyer, and is recognized by Chambers USA and Legal
              500 as one of an elite group of notable practitioners in securities and M&A litigation. In 2013,
              Law360 named him as one of its five “Rising Stars” nationally in the area of securities litigation –
              the only plaintiff-side attorney so selected. In 2012, The Deal magazine prominently profiled Mr.
              Lebovitch as one of the top three lawyers nationally representing shareholder plaintiffs in M&A
              litigation in its feature article, “The Troika Atop the M&A Plaintiffs’ Bar.”

              Mr. Lebovitch is a member of the Board of Advisors for both the Institute for Law and Economics
              and the NYU Institute for Corporate Governance and Finance, and is an author and a frequent
              speaker and commentator at industry events on a wide range of corporate governance and
              securities related issues. His publications include “Of Babies and Bathwater: Deterring Frivolous
              Stockholder Suits Without Closing the Courthouse Doors to Legitimate Claims,” “Making Order
              Out of Chaos: A Proposal To Improve Organization and Coordination in Multi-Jurisdictional
              Merger-Related Litigation,” “‘Novel Issues’ or a Return to Core Principles? Analyzing the
              Common Link Between the Delaware Chancery Court’s Recent Rulings in Option Backdating and
              Transactional Cases” (NYU Journal of Law & Business, Volume 4, Number 2), “Calling a Duck a
              Duck: Determining the Validity of Deal Protection Provisions in Merger of Equals Transactions”
              (2001 Columbia Business Law Review 1) and “Practical Refinement” (The Daily Deal, January
              2002), each of which discussed evolving developments in the law of directors’ fiduciary duties.

              Mr. Lebovitch clerked for Vice Chancellor Stephen P. Lamb on the Court of Chancery of the State
              of Delaware, and was a litigation associate at Skadden, Arps, Slate, Meagher & Flom in New
              York, where he represented clients in a variety of corporate governance, commercial and federal
              securities matters.

              EDUCATION: Binghamton University – State University of New York, B.A., cum laude, 1996.
              New York University School of Law, J.D., cum laude, 1999.

              BAR ADMISSIONS: New York; U. S. District Courts for the Southern and Eastern Districts of
              New York.


              H A N N A H R O S S is involved in a variety of the firm’s litigation practice areas, focusing in
              particular on securities fraud, shareholder rights and other complex commercial matters. She has
              two decades of experience as a civil and criminal litigator, and represents the firm’s institutional
              investor clients as counsel in a number of major pending actions.

              A key member and leader of trial teams that have recovered billions of dollars for investors, Ms.
              Ross is widely recognized by industry observers for her professional achievements. Euromoney/
              Legal Media Group named her one of the top female litigators in the country (1 of 9 finalists for
              its “Best in Litigation” category). Named a “Litigation Star” and one of the “Top 250 Women in
              Litigation” in the nation by Benchmark, she has earned praise as one of a small elite of notable
              practitioners from Legal 500 US for her achievements, and is one of the “500 Leading Lawyers in
              America,” part of an exclusive list of the top practitioners in the nation as compiled by leading
              legal journal Lawdragon.

              In addition to her direct litigation responsibilities, she is one of the senior partners at the firm
              responsible for client development and client relations. A significant part of her practice is
              dedicated to initial case evaluation and counseling the firm’s institutional investor clients on
              potential claims.

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              Ms. Ross was a senior member of the team that prosecuted In re Bank of America Securities
              Litigation, which resulted in a landmark settlement shortly before trial of $2.425 billion, one of the
              largest securities recoveries ever obtained, and by far the largest recovery achieved in a litigation
              arising from the financial crisis. Most recently, she was the lead partner in the securities class
              action arising from the failure of major mid-Atlantic bank Wilmington Trust, which settled for
              $210 million (pending court approval). Ms. Ross was also a senior member of the trial team that
              prosecuted the litigation arising from the collapse of former leading brokerage MF Global, which
              recovered $234.3 million on behalf of investors. In addition, she led the prosecution against
              Washington Mutual and certain of its former officers and directors for alleged fraudulent conduct
              in the thrift’s home lending operations, an action which settled for $216.75 million and represents
              one of the largest settlements achieved in a case related to the fallout of the subprime crisis and the
              largest recovery ever achieved in a securities class action in the Western District of Washington.
              Ms. Ross was also a key member of the team prosecuting In re The Mills Corporation Securities
              Litigation, which settled for $202.75 million, the largest recovery ever achieved in a securities
              class action in Virginia and the second largest recovery ever in the Fourth Circuit.

              She has been a member of the trial teams in numerous other major securities litigations resulting
              in recoveries for investors in excess of $2 billion. These include securities class actions against
              Nortel Networks, New Century Financial Corporation, and the Federal Home Loan Mortgage
              Corporation (“Freddie Mac”), as well as In re Altisource Portfolio Solutions S.A. Securities
              Litigation, In re DFC Global Corp. Securities Litigation, In re Tronox Securities Litigation, In re
              Delphi Corporation Securities Litigation, In re Affiliated Computer Services, Inc. Derivative
              Litigation, In re OM Group, Inc. Securities Litigation, and In re BioScrip, Inc. Securities
              Litigation.

              Ms. Ross serves on the Corporate Leadership Committee of the New York Women’s Foundation
              and has also served as an adjunct faculty member in the trial advocacy program at the Dickinson
              School of Law of the Pennsylvania State University.

              Before joining BLB&G, Ms. Ross was a prosecutor in the Massachusetts Attorney General’s
              Office as well as an Assistant District Attorney in the Middlesex County (Massachusetts) District
              Attorney’s Office.

              EDUCATION: Cornell University, B.A., cum laude, 1995. The Dickinson School of Law of the
              Pennsylvania State University, J.D., with distinction, 1998; Woolsack Honor Society; Comments
              Editor of the Dickinson Law Review; D. Arthur Magaziner Human Services Award.

              BAR ADMISSIONS: Massachusetts; New York; U.S. District Court for the Southern District of
              New York.


              T I M O T H Y A. D E L A N G E practices in the firm’s California office, where he focuses on
              complex litigation in state and federal courts nationwide. He has extensive experience
              representing prominent private and public institutional investors in class actions, individual
              actions and derivative cases. Mr. DeLange is a senior member of the firm’s team representing
              investors who were harmed by the abusive practices of the many players in the mortgage lending
              arena. He is currently in charge of litigation on behalf of numerous institutions that invested
              directly in mortgage-backed securities, including litigation involving Morgan Stanley, Bear
              Stearns, JPMorgan, and others.

              Since joining the firm, Mr. DeLange has prosecuted and successfully resolved a number of
              prominent securities class actions, recovering billions of dollars on behalf of investors. Most
              recently, along with his partners, Mr. DeLange led the litigation against Washington Mutual,
              which settled for $216.75 million, the largest recovery ever achieved in a securities class action in
              the Western District of Washington. In addition, he served as co-lead counsel on behalf of
              institutional investors in In re Maxim Integrated Products, Inc. Securities Litigation, which settled

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              for $173 million and represents the largest stock option backdating settlement reached in the Ninth
              Circuit and the third largest backdating settlement overall. Among other major cases are In re
              McKesson Securities Litigation, which settled before trial for a total of over $1.04 billion, the
              largest settlement amount in history for any securities class action within the Ninth Circuit; In re
              Accredo Health, Inc., which settled less than 6 weeks before trial for $33 million; In re HCA, Inc.,
              which settled for $20 million; and In re Network Associates Securities Litigation, which settled for
              $70 million.

              Mr. DeLange lectures on securities litigation and institutional investor interests and has authored
              and co-authored several articles concerning securities litigation and class actions.

              EDUCATION: University of California, Riverside, B.A., 1994. University of San Diego School
              of Law, J.D., 1997; Recipient of the American Jurisprudence Award in Contracts.

              BAR ADMISSIONS: California; U.S. District Courts for the Central, Eastern, Northern and
              Southern Districts of California.


              D A V I D L. W A L E S , one of the leaders of the firm’s Corporate Governance litigation practice,
              prosecutes a variety of derivative, class and private litigation arising from breaches of fiduciary
              duty and other misconduct by boards of directors and senior executives at public companies.

              He is an experienced trial attorney who has recovered billions of dollars on behalf of his
              institutional investor clients. A former Assistant United States Attorney for the Southern District
              of New York, Mr. Wales has tried numerous cases both as a prosecutor and in private practice.

              His current and recent cases including the following:
                 In re 21st Century Fox Derivative Action – derivative action against the Board of Directors
                  and controlling stockholders, and a senior executive, for breach of fiduciary duty for a
                  systemic culture of sexual harassment and discrimination; a landmark settlement with two key
                  components: 1) the first-ever Board-level watchdog of its kind – the “Fox News Workplace
                  Professionalism and Inclusion Council” of experts (WPIC) – majority independent of the
                  Murdochs, the Company and Board; and 2) one of the largest financial recoveries – $90
                  million – ever obtained in a pure corporate board oversight dispute; the WPIC is expected to
                  serve as a model for public companies in all industries;
                 In re Alphabet Shareholder Derivative Action – derivative action against the Board of
                  Directors and senior executives of Alphabet for violating anti-trust laws, including for the
                  recent European Commission fine of $2.7 billion;
                 In re Sorrento Therapeutics, Inc. Derivative Litigation – derivative action alleging a scheme
                  to grant large amounts of options and warrants in subsidiaries of the Company to the board of
                  directors and executives of the Company, without shareholder approval;
                 In re Yahoo!, Inc. Derivative Litigation – action alleging that the Board and senior executives
                  of Yahoo breached their duties by failing to disclose large hacks of Yahoo email users,
                  resulting in the price of the sale of internet business being reduced by $350 million, as well as
                  numerous consumer lawsuits; and
                 In re New Senior Investment Group, Inc. Derivative Litigation – derivative action alleging
                  that a conflicted board of directors allowed a self-dealing and over-priced transaction with
                  entities controlled by Fortress Investment Group.

              As lead counsel in numerous major securities litigations, some of Mr. Wales’s significant
              recoveries include:
                 In re Merck & Co., Inc. Securities Litigation – a recovery of $1.06 billion in a certified class
                  action on behalf of investors in Merck Securities;


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                 In re Citigroup Inc. Bond Litigation – a class action on behalf of investors in numerous
                  securities offerings which resulted in $730 million recovery;
                 Public Employees’ Retirement System of Mississippi v. Merrill Lynch & Co. Inc. – $315
                  million settlement in a class action on behalf of investors in residential mortgage-backed
                  securities;
                 In re Pfizer Inc. Shareholder Derivative Action – $75 million settlement and substantial
                  corporate governance changes in a derivative action that set new benchmark for highly
                  regulated businesses;
                 In re Jefferies Group, Inc. Shareholders Litigation – $70 million settlement on behalf of
                  shareholders in the sale of the company;
                 In re Sepracor Corp. Securities Litigation – $52.5 million recovery in a certified class action;
                  and
                 In re Cablevision Systems Corp. Derivative Litigation – $34.4 million recovery in a back-
                  dated stock option action.

              Mr. Wales is rated AV, the highest rating possible from Martindale-Hubbell®. He has also been
              regularly recognized by Legal 500 as a top practitioner, and by Thomson Reuters as a New York
              Super Lawyer for his work in securities litigation. In addition, he is a frequent speaker and author
              on corporate governance and securities fraud matters.

              EDUCATION: State University of New York at Albany, B.A., magna cum laude, 1984.
              Georgetown University Law Center, J.D., cum laude, 1987; Notes and Comments Editor for the
              Journal of Law and Technology.

              BAR ADMISSIONS: New York; District of Columbia; U.S. Courts of Appeals for the Second,
              Third and Fourth Circuits; U.S. District Courts for the Eastern, Northern, Southern and Western
              Districts of New York; U.S. District Court for the Eastern District of Michigan; U.S. District
              Court for the District of Columbia; U.S. District Court for the Northern District of Illinois and
              Trial Bar.


              A V I J O S E F S O N prosecutes securities fraud litigation for the firm’s institutional investor clients,
              and has participated in many of the firm’s significant representations, including In re SCOR
              Holding (Switzerland) AG Securities Litigation, which resulted in a recovery worth in excess of
              $143 million for investors. He was also a member of the team that litigated the In re OM Group,
              Inc. Securities Litigation, which resulted in a settlement of $92.4 million.

              As a member of the firm’s New Matter department, Mr. Josefson counsels institutional clients on
              potential legal claims. He has presented argument in several federal and state courts, including an
              appeal he argued before the Delaware Supreme Court.

              Mr. Josefson is also actively involved in the M&A litigation practice, and represented
              shareholders in the litigation arising from the proposed acquisitions of Ceridian Corporation and
              Anheuser-Busch. A member of the firm’s subprime litigation team, he has participated in
              securities fraud actions arising from the collapse of subprime mortgage lender American Home
              Mortgage and the actions against Lehman Brothers, Citigroup and Merrill Lynch, arising from
              those banks’ multi-billion-dollar loss from mortgage-backed investments. Mr. Josefson has
              prosecuted actions against Deutsche Bank and Morgan Stanley arising from their sale of
              mortgage-backed securities, and is advising U.S. and foreign institutions concerning similar
              claims arising from investments in mortgage-backed securities.

              Mr. Josefson practices in the firm’s Chicago and New York Offices.




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              EDUCATION: Brandeis University, B.A., cum laude, 1997. Northwestern University, J.D., 2000;
              Dean’s List; Justice Stevens Public Interest Fellowship (1999); Public Interest Law Initiative
              Fellowship (2000).

              BAR ADMISSIONS: Illinois, New York; U.S. District Courts for the Southern District of New
              York and the Northern District of Illinois.


              J O H N R I Z I O -H A M I L T O N is involved in a variety of the firm’s litigation practice areas,
              focusing specifically on securities fraud, corporate governance, and shareholder rights. He
              currently represents the firm’s institutional investor clients as counsel in a number of major
              pending actions, including the securities class action arising from Facebook’s IPO, captioned In re
              Facebook, Inc. IPO Securities Litigation.

              Mr. Rizio-Hamilton was a member of the trial team prosecuting In re Bank of America Securities
              Litigation, which settled for $2.425 billion, the single largest securities class action recovery ever
              resolving violations of Sections 14(a) and 10(b) of the Securities Exchange Act, and one of the top
              securities litigation settlements obtained of all time. He also served as counsel on behalf of the
              institutional investor plaintiffs in In re Citigroup, Inc. Bond Action Litigation, which settled for
              $730 million, the second largest recovery ever in a securities class action brought on behalf of
              purchasers of debt securities. In addition, Mr. Rizio-Hamilton was a member of the team that
              prosecuted the In re Wachovia Corp. Bond/Notes Litigation, in which the firm recovered a total of
              $627 million on behalf of investors, one of the 15 largest securities class action recoveries in
              history. Most recently, he served as a key member of the team that recovered $150 million for
              investors in In re JPMorgan Chase & Co. Securities Litigation, a securities fraud class action
              arising out of misrepresentations and omissions concerning JPMorgan’s Chief Investment Office,
              the company’s risk management systems, and the trading activities of the so-called “London
              Whale.”

              Mr. Rizio-Hamilton has also been a member of the trial teams in several additional securities
              litigations through which the firm has successfully recovered hundreds of millions of dollars on
              behalf of injured investors. Among other matters, he was part of the trial teams that prosecuted
              Eastwood Enterprises LLC v. WellCare, In re MBIA, Inc. Securities Litigation, and In re RAIT
              Financial Trust Securities Litigation.

              For his remarkable accomplishments, Mr. Rizio-Hamilton was recognized by Law360 as one of
              the country’s “Top Attorneys Under 40,” and a national “Rising Star” in the area of class action
              litigation.

              Before joining BLB&G, Mr. Rizio-Hamilton clerked for the Honorable Chester J. Straub of the
              United States Court of Appeals for the Second Circuit, and the Honorable Sidney H. Stein of the
              United States District Court for the Southern District of New York.

              EDUCATION: The Johns Hopkins University, B.A., with honors, 1997. Brooklyn Law School,
              J.D., summa cum laude; Editor-in-Chief of the Brooklyn Law Review; first-place winner of the J.
              Braxton Craven Memorial Constitutional Law Moot Court Competition.

              BAR ADMISSIONS: New York; U.S. District for the Southern District of New York.


              B E N J A M I N G A L D S T O N practices in the firm’s California office and focuses on complex
              litigation, securities fraud class actions, and derivative and corporate governance matters.




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              He has participated in the prosecution and resolution of many of the firm's most significant
              matters, which have returned billions of dollars to investors. The high-profile securities fraud
              class actions Mr. Galdston has litigated include, among others:
                 In re McKesson HBOC Securities Litigation, which settled for more than $1 billion – the
                  largest recovery in a securities class action in Ninth Circuit history;
                 In re Lehman Brothers Holdings, Inc., which recovered more than $735 million for
                  shareholders of the now defunct brokerage;
                 In re Citigroup Bond Litigation, a $730 million recovery;
                 In re Wachovia Corp. Securities Litigation, a $627 million recovery for investors;
                 In re Washington Mutual, Inc. Securities Litigation, at $216.75 million the largest recovery
                  ever in a securities class action in the Western District of Washington;
                 In re Maxim Integrated Products, Inc. Securities Litigation, which settled for $173 million
                  and represents the largest stock option backdating settlement reached in the Ninth Circuit and
                  the third largest backdating settlement overall; and
                 In re New Century, a $125 million recovery.

              Mr. Galdston has represented institutional investors in prosecuting novel legal claims in individual
              direct actions, as well, including: In re EMAC Securities Litigation, a direct action arising from a
              private offering of asset-backed securities; and In re AXA Rosenberg Investor Litigation. The AXA
              litigation was brought under the Investment Advisers Act of 1940, and resulted in recovery over
              $65 million for investors in AXA Rosenberg’s funds and strategies who had incurred losses as a
              result of an error in the company’s quantitative investment model.

              Mr. Galdston has been at the forefront of litigation on behalf of investors arising out of the
              financial crisis and residential mortgage industry. Together with his partners, he is currently
              leading class action litigation against the largest RMBS Trustee Banks concerning securities
              totaling more than $2.3 trillion in original principal balance.

              Mr. Galdston is also involved in the firm’s client development initiatives, and frequently speaks
              and publishes regarding institutional investor rights and corporate reform. Mr. Galdston often
              hosts BLB&G’s Real-Time Speaker Series webcasts regarding issues of importance and interest to
              the institutional investor community.

              Mr. Galdston earned his law degree from the University of San Diego School of Law, where he
              served on the Moot Court Board, competed in national Moot Court tournaments and directed the
              University of San Diego School of Law National Criminal Procedure Moot Court Tournament.
              Following law school, Mr. Galdston represented investors in securities fraud actions at another
              national law firm.

              Previously, Mr. Galdston was the sole proprietor of a litigation support provider in the Bay Area,
              where he designed, constructed and maintained relational document databases for small law firms
              litigating document-intensive cases. He has authored several articles concerning e-discovery
              practice in the federal courts.

              Mr. Galdston is a member of the California Bar Association and the Federal Bar Association, and
              is a former president of the Greater San Diego Barristers Club. For his professional achievements
              and legal excellence, Mr. Galdston has been recognized by Legal 500 as a leading practitioner in
              the field.

              EDUCATION: Oberlin College, B.A., Sociology and Soviet Area Studies, 1989. University of
              San Diego School of Law, J.D., 2000; American Trial Lawyers’ Association Book Award for
              Outstanding Scholarship in Appellate Advocacy, American Jurisprudence Award for Property,
              and the Computer Assisted Learning Institute Award for Excellence.

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              BAR ADMISSIONS: California; U.S. District Courts for the Central, Northern and Southern
              Districts of California.


              J A M E S A. H A R R O D ’s practice focuses on representing the firm’s institutional investor clients
              in securities fraud-related matters. He has over seventeen years’ experience prosecuting complex
              litigation in federal courts.

              Over the course of his career, he has obtained over a billion dollars on behalf of investor classes.
              His high-profile cases include In re Motorola Securities Litigation, in which he was a key member
              of the team that represented the State of New Jersey’s Division of Investment and obtained a $190
              million recovery three days before trial. Recently, Mr. Harrod represented the class of investors in
              the securities litigation against General Motors arising from GM’s recall of vehicles with defective
              ignition switches, and recovered $300 million for investors – the second largest securities class
              action recovery in the Sixth Circuit.

              Mr. Harrod represented institutional investors in several cases concerning the issuance of
              residential mortgage-backed securities prior to the financial crisis. He worked on the team that
              recovered $500 million for investors in In re Bear Stearns Mortgage Pass-Through Certificates
              Litigation, which brought claims related to the issuance of mortgage pass-through certificates
              during 2006 and 2007. In a similar action, Plumbers’ & Pipefitters’ Local #562 Supplemental
              Plan & Trust v. J.P. Morgan Acceptance Corp. I, he recovered $280 million on behalf of a class of
              investors. Other mortgage-backed securities cases that Mr. Harrod worked on include In re
              Lehman Bros. Mortgage-Backed Securities Litigation ($40 million recovery), and Tsereteli v.
              Residential Asset Securitization Trust 2006-A8 ($10.9 million recovery).

              Among his other notable recoveries are The Department of the Treasury of the State of New Jersey
              and its Division of Investment v. Cliffs Natural Resources Inc. (class recovery of $84 million);
              Anwar, et al., v. Fairfield Greenwich Limited (settlement valued at $80 million); In re Service
              Corporation International ($65 million recovery); Danis v. USN Communications, Inc. ($44.6
              million recovery); In re Tower Group International, Ltd. Securities Litigation ($20.5 million
              recovery); In re Navistar International Securities Litigation ($13 million recovery); and In re
              Sonus Networks, Inc. Securities Litigation-II ($9.5 million recovery).

              In connection with his representation of institutional investors, he is a frequent speaker to public
              pension fund organizations and trustees concerning fiduciary duties, emerging issues in securities
              litigation and the financial markets.

              Mr. Harrod is recognized as a New York Super Lawyer for his securities litigation achievements.

              EDUCATION: Skidmore College, B.A.; George Washington University Law School, J.D.

              BAR ADMISSIONS: New York; U.S. Courts of Appeals for the Second, Third, Sixth and
              Seventh Circuits; U.S. District Courts for the Eastern and Southern Districts of New York.


              J E R O E N V A N K W A W E G E N is recognized as one of the nation’s top shareholder litigators. In
              courts across the country, he has served as lead counsel in a variety of securities class actions and
              actions involving breaches of fiduciary duty by boards of directors and senior executives.

              Over the course of his career, Mr. van Kwawegen has successfully litigated many important cases
              recovering hundreds of millions of dollars for investors, improving corporate governance practices
              at numerous companies, and vindicating fundamental shareholder rights, including Public
              Employees’ Ret. Sys. of Mississippi v. Merrill Lynch & Co. (U.S. District Court for the Southern
              District of New York), In re Pfizer Inc. Shareholder Derivative Litigation (U.S. District Court for

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              the Southern District of New York), In re Globe Specialty Metals, Inc. Stockholder Litigation
              (Delaware Chancery Court), In re Appraisal of Towers Watson & Co. (Delaware Chancery Court),
              Bayerische Landesbank v. Merrill Lynch & Co. (New York Supreme Court), The Police Ret. Sys.
              of St. Louis v. Erbey (Baltimore Circuit Court), In re Safeway Inc. Stockholder Litigation
              (Delaware Chancery Court), and Teamsters Local 443 Health Servs. & Ins. Plan v. Darden
              Restaurants, Inc. (Florida Circuit Court).

              Among other cases, Mr. van Kwawegen is currently prosecuting In re Scana Corporation
              Securities Litigation (U.S. District Court of South Carolina), In re Starz Stockholder Litigation
              (Delaware Chancery Court), and In re Appraisal of Columbia Pipeline Group, Inc. (Delaware
              Chancery Court).

              Industry observers, peers and adversaries have honored Mr. van Kwawegen for his
              accomplishments. The National Law Journal named Mr. van Kwawegen, as a “Plaintiffs’
              Lawyers Trailblazer,” recognizing him among the top 26 practitioners in the nation “who continue
              to make their mark in various aspects of legal work on the Plaintiffs’ side.” He has been
              recognized as a New York Super Lawyer and a New York “Rising Star” by Thomson Reuters. He
              is a frequent speaker at industry events on a wide range of corporate governance and securities
              related issues, and recently co-authored “Of Babies and Bathwater: Deterring Frivolous
              Stockholder Suits Without Closing the Courthouse Doors to Legitimate Claims,” Delaware
              Journal of Corporate Law (DJCL), Vol. 40, 2015.

              Before joining BLB&G, Mr. van Kwawegen was a litigator at Latham & Watkins (New York) and
              Schut & Grosheide (Amsterdam).

              EDUCATION: University of Amsterdam School of Law, LLM, 1998. Columbia University Law
              School, J.D., 2003; Harlan Fiske Stone Scholar.

              BAR ADMISSIONS: New York; U.S. Courts of Appeals for the Second and Third Circuits; U.S.
              District Courts for the Eastern and Southern Districts of New York; U.S. District Court for the
              District of Colorado.


              K A T H E R I N E M. S I N D E R S O N is involved in a variety of the firm’s practice areas, including
              securities fraud, corporate governance, and advisory services. She is currently leading the teams
              prosecuting securities class actions against FleetCor Technologies and Frontier Communications,
              as well as litigation arising from the failure of SunEdison, Inc.

              Ms. Sinderson played a key role in two of the firm’s largest cases in its history, both of which
              settled near trial for billions of dollars on behalf of investors. In In re Merck Securities Litigation,
              she was a member of the small trial team that achieved a $1.062 billion settlement. This
              settlement is the second largest recovery ever obtained in the Third Circuit, one of the top 10
              recoveries of all time, and the largest recovery ever achieved against a pharmaceutical company.
              She was also a member of the trial team prosecuting In re Bank of America Securities Litigation,
              which resulted in a recovery of $2.425 billion, the single largest securities class action recovery
              ever resolving violations of Sections 14(a) and 10(b) of the Securities Exchange Act and one of
              the largest shareholder recoveries in history. Most recently, Ms. Sinderson was a senior member
              of the team that led the securities litigation concerning Wilmington Trust, which resulted in a $210
              million recovery for the class (pending court approval).

              Ms. Sinderson has also been part of the trial teams in numerous other securities litigations that
              have successfully recovered hundreds of millions of dollars on behalf of injured investors. Most
              recently, she served as a senior member of the teams that recovered $210 million in In re Salix
              Pharmaceuticals, Ltd. Securities Litigation, and $74 million in the take-private merger litigation
              San Antonio Fire and Police Pension Fund et al v. Dole Food Co. et al. She was also a member
              of the trial team that prosecuted the action against Washington Mutual, Inc. and certain of its


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              former officers and directors for alleged fraudulent conduct in the thrift’s home lending
              operations. The action resulted in a recovery of $216.75 million, the largest recovery ever
              achieved in a securities class action in the Western District of Washington. Some of her other
              prominent prosecutions include the In re Bristol-Myers Squibb Co. Securities Litigation, which
              resulted in a recovery of $125 million; and In re Biovail Corporation Securities Litigation, which
              resulted in a recovery of $138 million for defrauded investors and represents the second largest
              recovery in any securities case involving a Canadian issuer.

              In 2016, Ms. Sinderson was recognized as a national “Rising Star” by Law360 for her work in
              securities litigation and was named to Benchmark Litigation’s “Under 40 Hot List,” which
              recognizes her as one the nation’s most accomplished legal partners under the age of 40. She is
              also regularly selected as a New York “Rising Star” by Super Lawyers.

              EDUCATION: Baylor University, B.A., cum laude, 2002. Georgetown University, J.D., cum
              laude, 2006; Dean’s Scholar; Articles Editor for The Georgetown Journal of Gender and the Law.

              BAR ADMISSIONS: New York; U.S. District Court for the Southern District of New York; U.S.
              Court of Appeals for the Second Circuit.


              J O N A T H A N D. U S L A N E R prosecutes class and direct actions on behalf of the firm’s
              institutional investor clients.

              Mr. Uslaner has litigated many of the firm’s most high-profile litigations. These include, among
              others, In re Bank of America Securities Litigation, which resulted in a historic settlement shortly
              before trial of $2.43 billion, one of the largest shareholder recoveries ever obtained; In re
              Genworth Financial, Inc. Securities Litigation, which settled for $219 million, the largest recovery
              ever obtained in a securities class action in Virginia; In re JPMorgan Chase & Co. Securities
              Litigation, which settled for $150 million; In re Wells Fargo Mortgage-Backed Certificates
              Litigation, which settled for $125 million; and In re Rayonier Securities Litigation, which settled
              for $73 million.

              Mr. Uslaner is also actively involved in the firm’s direct action opt-out practice. He currently
              represents the Firm’s clients in direct actions brought against American Realty Capital Properties
              and Valeant Pharmaceuticals International Inc.

              Mr. Uslaner has been a member of the Board of Governors of the Association of Business Trial
              Lawyers (ABTL). He is also a member of the Federal Bar Association (FBA) and the San Diego
              County Bar Association (SDCBA).

              Mr. Uslaner is an editor of the American Bar Association’s Class Actions and Derivative Suits
              Committee’s Newsletter. He has authored multiple articles relating to class actions and the federal
              securities laws, including “Much More Than ‘Housekeeping’: Rule 23(c)(4) in Action,” “Keeping
              Plaintiffs in the Driver’s Seat: The Supreme Court Rejects ‘Pick-off’ Settlement Offers,” and
              “Combating Objectionable Objections.”

              For his achievements, Mr. Uslaner was featured by Law360 as a national “Rising Star” and has
              been named among the “Top 40 Under 40” legal professionals in California by the Daily Journal.
              He was also featured by Benchmark Litigation in its “Under 40 Hot List,” which honors the
              nation’s most accomplished legal partners under the age of 40.

              Mr. Uslaner is also a board member of Home of Guiding Hands, a non-profit organization that
              serves individuals with developmental disabilities and their families in the San Diego community.
              For his work and contributions to the organization, he was named “Volunteer of the Year.”

              Prior to joining BLB&G, Mr. Uslaner was a senior litigation associate at the law firm of Skadden,
              Arps, Slate, Meagher & Flom LLP, where he successfully prosecuted and defended claims from

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              the discovery stage through trial. He also gained significant trial experience as a volunteer
              prosecutor for the City of Inglewood, California, as well as a judicial extern for Justice Steven
              Wayne Smith of the Supreme Court of Texas.

              EDUCATION: Duke University, B.A., magna cum laude, 2001, William J. Griffith Award for
              Leadership; Chairperson, Duke University Undergraduate Publications Board. The University of
              Texas School of Law, J.D., 2005; University of Texas Presidential Academic Merit Fellowship;
              Articles Editor, Texas Journal of Business Law.

              BAR ADMISSIONS: California; New York; U.S. District Courts for the Central and Northern
              Districts of California; U.S. District Court for the Southern District of New York.


              J E R E M Y P. R O B I N S O N has extensive experience in securities and civil litigation. Since
              joining BLB&G, Mr. Robinson has been involved in prosecuting many high-profile securities
              cases. He was an integral member of the teams that prosecuted significant securities cases such as
              In re Refco Securities Litigation (total recoveries in excess of $425 million) and In re WellCare
              Health Plans, Inc. Securities Litigation ($200 million settlement, representing the second largest
              settlement of a securities case in Eleventh Circuit history). He served as counsel on behalf of the
              institutional investor plaintiffs in In re Citigroup, Inc. Bond Action Litigation, which settled for
              $730 million, representing the second largest recovery ever in a securities class action brought on
              behalf of purchasers of debt securities and ranking among the fifteen largest recoveries in the
              history of securities class actions. He also recently represented investors in In re Bank of New
              York Mellon Corp. Forex Transactions Litigation, which settled for $180 million, and in In re
              Freeport-McMoRan Derivative Litigation, which settled for a cash recovery of nearly $154
              million plus corporate governance reforms. He is presently a member of the teams prosecuting In
              re Allergan, Inc. Proxy Violation Securities Litigation; Fernandez et al. v. UBS AG et al.; and The
              Department of the Treasury of the State of New Jersey and its Division of Investment v. Cliffs
              Natural Resources Inc.

              In 2000-01, Mr. Robinson spent a year working with barristers and judges in London, England as
              a recipient of the Harold G. Fox Education Fund Scholarship. In 2005, Mr. Robinson completed
              his Master of Laws degree at Columbia Law School where he was honored as a Harlan Fiske
              Stone Scholar.

              EDUCATION: Queen’s University, Faculty of Law in Kingston, Ontario, Canada, LL.B., 1998;
              Best Brief in the Niagara International Moot Court Competition; David Sabbath Prizes in Contract
              Law and in Wills & Trusts Law. Columbia Law School, LL.M., 2005; Harlan Fiske Stone
              Scholar.

              BAR ADMISSIONS: Ontario, Canada; New York; U.S. District Court for the Eastern District of
              Michigan; U.S. District Court for the Southern District of New York.


              A D A M H. W I E R Z B O W S K I was a senior member of the team that recovered over $1.06 billion
              on behalf of investors in In re Merck Vioxx Securities Litigation, which arose out of the
              Defendants’ alleged misrepresentations about the cardiovascular safety of Merck’s painkiller
              Vioxx. The case was settled just months before trial and after more than 10 years of litigation,
              during which time plaintiffs achieved a unanimous and groundbreaking victory for investors at the
              U.S. Supreme Court. The settlement is the second largest recovery ever obtained in the Third
              Circuit, among the 15 largest recoveries of all time, and the largest securities recovery ever
              achieved against a pharmaceutical company.

              Mr. Wierzbowski was also a senior member of the team that achieved a total settlement of $688
              million on behalf of investors in In re Schering-Plough Corp./ENHANCE Securities Litigation and
              In re Merck & Co., Inc. Vytorin/Zetia Securities Litigation, which related to Schering and Merck’s
              alleged misrepresentations about the multi-billion dollar blockbuster drugs Vytorin and Zetia. The

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              combined $688 million in settlements is the third largest securities class action settlement in the
              Third Circuit and among the top 25 securities class action settlements of all time. The cases
              settled after nearly five years of litigation and less than a month before trial.

              Most recently, Mr. Wierzbowski was a senior member of the team that obtained $480 million for
              investors in the securities class action against Wells Fargo & Co. related to its fake accounts
              scandal. The settlement, if approved by the Court, would be the fourth largest settlement in the
              Ninth Circuit.

              In the UnitedHealth Derivative Litigation, which involved executives’ illegal backdating of
              UnitedHealth stock options, Mr. Wierzbowski helped recover in excess of $920 million from the
              individual Defendants. He also represented investors in the securities litigation against General
              Motors and certain of its senior executives stemming from that company’s delayed recall of
              vehicles with defective ignition switches, where the parties recovered $300 million for investors,
              in the second largest securities class action recovery in the Sixth Circuit.

              Mr. Wierzbowski also helped obtain significant recoveries on behalf of investors in Minneapolis
              Firefighters’ Relief Association v. Medtronic, Inc. et al. ($85 million recovery); Bach v. Amedisys,
              et al. ($43.75 million recovery); In re Facebook, Inc., IPO Securities and Derivative Litigation
              ($35 million recovery); In re Altisource Portfolio Solutions, S.A. Securities Litigation ($32 million
              recovery), and the Monster Worldwide Derivative Litigation (recovery valued at $32 million). He
              is currently a member of the teams prosecuting Town of Davie Police Pension Plan v. Pier 1
              Imports, Inc. Securities Litigation and In re Stericycle, Inc. Securities Litigation.

              In 2016, Mr. Wierzbowski was named to Benchmark Litigation’s “Under 40 Hot List,” in
              recognition of his achievements as one of the nation’s most accomplished legal partners under the
              age of 40. He is also regularly named as one of Super Lawyers’ New York “Rising Stars.” No
              more than 2.5% of the lawyers in New York are selected to receive this honor each year.

              EDUCATION: Dartmouth College, B.A., magna cum laude, 2000. The George Washington
              University Law School, J.D., with honors, 2003; Notes Editor for The George Washington
              International Law Review; Member of the Moot Court Board.

              BAR ADMISSIONS: New York; U.S. Supreme Court; U.S. District Courts for the Eastern and
              Southern Districts of New York; U.S. District Court for the Eastern District of Michigan; U.S.
              Courts of Appeals for the Third, Fifth and Sixth Circuits.


              M I C H A E L D. B L A T C H L E Y ’s practice focuses on securities fraud litigation. He is currently a
              member of the firm’s New Matter department in which he, along with a team of attorneys,
              financial analysts, forensic accountants, and investigators, counsels the firm’s clients on their legal
              claims.

              Mr. Blatchley has also served as a member of the litigation teams responsible for prosecuting a
              number of the firm’s significant cases. For example, Mr. Blatchley was a key member of the team
              that recovered $150 million for investors in In re JPMorgan Chase & Co. Securities Litigation, a
              securities fraud class action arising out of misrepresentations and omissions concerning
              JPMorgan’s Chief Investment Office, the company’s risk management systems, and the trading
              activities of the so-called “London Whale.” He was also a member of the litigation team in In re
              Medtronic, Inc. Securities Litigation, an action arising out of allegations that Medtronic promoted
              the Infuse bone graft for dangerous “off-label” uses, which resulted in an $85 million recovery for
              investors. In addition, Mr. Blatchley prosecuted a number of cases related to the financial crisis,
              including several actions arising out of wrongdoing related to the issuance of residential mortgage-
              backed securities and other complex financial products. Currently, Mr. Blatchley is a member of
              the team prosecuting In re Allergan, Inc. Proxy Violation Securities Litigation.




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              Mr. Blatchley was recently named to Benchmark Litigation’s “Under 40 Hot List,” which
              recognizes him as one the nation’s most accomplished legal partners under the age of 40.

              While attending Brooklyn Law School, Mr. Blatchley held a judicial internship position for the
              Honorable David G. Trager, United States District Judge for the Eastern District of New York. In
              addition, he worked as an intern at The Legal Aid Society’s Harlem Community Law Office, as
              well as at Brooklyn Law School’s Second Look and Workers’ Rights Clinics, and provided legal
              assistance to victims of Hurricane Katrina in New Orleans, Louisiana.

              EDUCATION: University of Wisconsin, B.A., 2000. Brooklyn Law School, J.D., cum laude,
              2007; Edward V. Sparer Public Interest Law Fellowship, William Payson Richardson Memorial
              Prize, Richard Elliott Blyn Memorial Prize, Editor for the Brooklyn Law Review, Moot Court
              Honor Society.

              BAR ADMISSIONS: New York, New Jersey; U.S. District Courts for the Southern District of
              New York and the District of New Jersey.


              L A U R E N M C M I L L E N O R M S B E E practices out of the firm’s New York office, focusing on
              complex commercial and securities litigation. She has prosecuted a variety of class and direct
              actions involving securities fraud and other fiduciary violations, obtaining hundreds of millions of
              dollars in recoveries on behalf of the firm’s institutional and private investor clients.

              Ms. Ormsbee has been an integral part of trial teams in numerous major actions, including: In re
              HealthSouth Bondholder Litigation, which obtained $230 million for the HealthSouth bondholder
              Class; In re New Century Securities Litigation, which resulted in $125 million for its investors
              after the mortgage originator became one of the first casualties of the subprime crisis; In re State
              Street Corporation Securities Litigation, which obtained $60 million in the wake of a series of
              alleged misrepresentations about the company’s own internal portfolio; In re Ambac Financial
              Group Securities Litigation, which obtained $33 million from the now-bankrupt insurer; In re
              Altisource Portfolio Solutions, S.A. Securities Litigation, which obtained $32 million from the
              mortgage loan servicer; In re Goldman Sachs Mortgage Pass-Through Litigation, which obtained
              $26.6 million for the benefit of the class of RMBS purchasers; and Barron v. Union Bancaire
              Privée, which recovered $8.9 million on behalf of the class of investors harmed by investments
              with Bernard Madoff, among others.

              Ms. Ormsbee graduated from the University of Pennsylvania Law School, where she was an editor
              of the Law Review. Following law school, she served as a law clerk for the Honorable Colleen
              McMahon of the Southern District of New York. Prior to joining the firm in 2007, Ms. Ormsbee
              was a litigation associate at Paul, Weiss, Rifkind, Wharton & Garrison LLP, where she had
              extensive experience in securities litigation and complex commercial litigation.

              EDUCATION: Duke University, B.A., History, 1996. University of Pennsylvania Law School,
              J.D., cum laude, 2000; Research Editor for the University of Pennsylvania Law Review.

              BAR ADMISSIONS: New York; U. S. District Courts for the Eastern and Southern Districts of
              New York; U.S. Courts of Appeals for the Second and Third Circuits.


              D A V I D K A P L A N practices in the firm’s California office and has over fifteen years of
              experience in the field of securities and shareholder litigation. He has helped investors achieve
              hundreds of millions of dollars in recoveries in federal and state courts nationwide. Mr. Kaplan
              currently represents lead plaintiffs in numerous high-profile class action lawsuits, including In re
              Qualcomm Inc. Securities Litigation pending in the Southern District of California, and In re
              Fannie Mae/Freddie Mac Senior Preferred Stock Purchase Agreement Class Action Litigations
              pending in the District of Columbia, each of which involves billions of dollars in damages.


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              As a member of the firm’s New Matter department, Mr. Kaplan, along with a team of attorneys,
              financial analysts, forensic accountants, and investigators, counsels the firm’s institutional clients
              on potential legal claims concerning a wide variety of financial instruments and investment
              products. Additionally, Mr. Kaplan has extensive experience advising the firm’s institutional
              clients on securities claims outside the United States. His work in this area includes shareholder
              group actions and collective settlements in Canada, Australia, England, the Netherlands, Germany,
              Italy, France, Japan, Taiwan, Israel, Brazil and Russia.

              Mr. Kaplan’s practice also focuses on advising institutional investors on whether to remain
              passive participants in securities class actions, or to pursue larger recoveries through strategic
              “opt-out” actions. He currently represents prominent institutional investors in opt-out cases
              pending in federal courts nationwide, including in New York, New Jersey, Connecticut, and
              Texas, and has also successfully represented institutional investors in opt-out actions in California
              state and federal courts.

              Mr. Kaplan is an editor of the American Bar Association’s Class Actions and Derivative Suits
              Committee’s Newsletter. He has authored multiple articles relating to class actions and the federal
              securities laws, which have been published in The National Law Journal, the Daily Journal,
              Law360, Pensions & Investments, and The NAPPA Report, among other national publications.
              For his achievements, Mr. Kaplan has repeatedly been selected as a “Rising Star” by Super
              Lawyers.

              Prior to joining BLB&G, Mr. Kaplan was a senior litigation associate at the law firm of Irell &
              Manella LLP, where he successfully prosecuted and defended claims in a variety of complex
              litigation matters.

              EDUCATION: Washington & Lee University, B.A., cum laude, 1999. Duke University School of
              Law, J.D., 2003; High Honors; Duke Law Journal; Stanley Starr Scholar.

              BAR ADMISSIONS: California, U.S. District Courts for the Northern, Central and Southern
              Districts of California; U.S. Courts of Appeals for the Ninth Circuit; U.S. Bankruptcy Court for
              the Central District of California.




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              Of Counsel

              G. A N T H O N Y G E L D E R M A N , III is a trusted advisor to the public pension fund community
              and a leading voice on shareholder rights and corporate governance issues. He heads the firm’s
              Louisiana office and is responsible for the firm's institutional investor and client outreach. He is a
              frequent speaker at U.S. investor conferences and has written numerous articles on securities
              litigation and asset protection.

              Earlier in his career, Mr. Gelderman served as Chief of Staff and General Counsel to the Treasurer
              of the State of Louisiana, (1992-1996) and prior to that served as General Counsel to the Louisiana
              Department of the Treasury. Mr. Gelderman also coordinated all legislative matters for the State
              Treasurer during his tenure with the Treasury Department. Earlier in Mr. Gelderman’s legal
              career, he served as law clerk to U.S. District Judge Charles Schwartz, Jr., Eastern District of
              Louisiana (1986-1987).

              Mr. Gelderman is a former adjunct professor of law at the Tulane Law School where he has taught
              a course in legislative process.

              Mr. Gelderman is a member of the Louisiana State Bar Association, where he served as Chairman
              for the Young Lawyers Continuing Legal Education Committee between 1990 and 1993, and the
              American Bar Association.

              BAR ADMISSIONS: Louisiana; U.S. District Courts for the Eastern and Middle Districts of
              Louisiana.


              K U R T H U N C I K E R ’s practice is concentrated in complex business and securities litigation.
              Prior to joining BLB&G, Mr. Hunciker represented clients in a number of class actions and other
              actions brought under the federal securities laws and the Racketeer Influenced and Corrupt
              Organizations Act. He has also represented clients in actions brought under intellectual property
              laws, federal antitrust laws, and the common law governing business relationships.

              Mr. Hunciker served as a member of the trial team for the In re WorldCom, Inc. Securities
              Litigation and, more recently, teams that prosecuted various litigations arising from the financial
              crisis, including In re Citigroup, Inc. Bond Litigation, In re Wachovia Preferred Securities and
              Bond/Notes Litigation, In re MBIA Inc. Securities Litigation and, In re Ambac Financial Group,
              Inc. Securities Litigation. Mr. Hunciker also was a member of the team that prosecuted the In re
              Schering-Plough Corp./Enhance Securities Litigation and In re Merck & Co., Inc. Vytorin/Zetia
              Securities Litigation. He presently is a member of the team prosecuting the In re Merck & Co.,
              Inc. Securities Litigation, which arises out of Merck’s alleged failure to disclose adverse facts to
              investors regarding the risks of Vioxx.

              EDUCATION: Stanford University, B.A.; Phi Beta Kappa. Harvard Law School, J.D., Founding
              Editor of the Harvard Environmental Law Review.

              BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
              New York; U.S. Courts of Appeals for the Second, Fourth and Ninth Circuits.




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              P E T E R R U S S E L L works on the firm’s institutional investor outreach and business development
              initiatives, with a particular focus on the firm’s Taft-Hartley clients.

              An experienced litigator and prosecutor, earlier in his career he served as an Assistant Attorney
              General in the Massachusetts Attorney General’s office and prior to that served as an Assistant
              District Attorney in Middlesex County where he prosecuted major felonies in Superior Court. Mr.
              Russell was a Director in the Attorney General’s Office where he tried cases in both state superior
              and federal courts. He also served in the Executive Bureau where he was the Attorney General’s
              liaison to all of the Mayors in the Commonwealth and Union Business Managers. In addition, he
              coordinated legislative matters for the Attorney General during his time in the Executive Bureau.

              Mr. Russell is a frequent lecturer at Boston College Law School and Suffolk Law School. The
              former president of the Needham (Massachusetts) Business Association, he is a member of the
              Newton/Needham Chamber of Commerce and has been active in both local and statewide politics
              in Massachusetts. He is also a former semi-professional soccer player and coaches youth league
              soccer, training young players to be collegiate scholarship level athletes, as he was. (He captained
              the Providence College Varsity Soccer team as a scholar athlete.)

              EDUCATION: Providence College, B.A. Boston College Law School, J.D.

              BAR ADMISSION: Massachusetts.




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              S ENIOR C OUNSEL

              J A I K . C H A N D R A S E K H A R prosecutes securities fraud litigation for the firm’s institutional
              investor clients. He has been a member of the litigation teams on many of the firm’s high-profile
              securities cases, including In re JPMorgan Chase & Co. Securities Litigation, in which a
              settlement of $150 million was achieved for the class; In re MF Global Holdings Ltd. Securities
              Litigation, in which settlements totaling $234.3 million were achieved for the class; In re Refco,
              Inc. Securities Litigation, in which settlements totaling $367.3 million were achieved for the class;
              and In re Bristol Myers Squibb Co. Securities Litigation, in which a settlement of $125 million
              was achieved for the class.

              Mr. Chandrasekhar is currently counsel for the plaintiffs in In re Facebook, Inc., IPO Securities
              and Derivative Litigation, a securities class action arising from misrepresentations and omissions
              in the registration statement for Facebook’s initial public offering (“IPO”) of common stock.
              Plaintiffs allege that the registration statement did not accurately disclose the impact that
              increasing usage of Facebook on mobile devices was having on the company’s revenue at the time
              of the IPO. He is also counsel for the plaintiffs in In re Volkswagen AG Securities Litigation, a
              securities fraud class action filed on behalf of purchasers of Volkswagen AG American Depositary
              Receipts (“ADRs”), which arises from Volkswagen’s undisclosed use of illegal “defeat devices”
              in its diesel vehicles to cheat on nitrogen-oxide emissions tests and the company’s false statements
              that its vehicles were “environmentally friendly” and complied with all applicable emissions
              regulations.

              Before joining BLB&G, Mr. Chandrasekhar was a Staff Attorney with the Division of
              Enforcement of the United States Securities and Exchange Commission, where he investigated
              securities law violations and coordinated investigations involving multiple SEC offices and other
              government agencies. Before his tenure at the SEC, he was an associate at Sullivan & Cromwell
              LLP, where he represented corporate issuers and underwriters in public and private offerings of
              stocks, bonds, and complex securities and advised corporations on periodic reporting under the
              Securities Exchange Act of 1934, compliance with the Sarbanes-Oxley Act of 2002, and other
              corporate and securities matters.

              Mr. Chandrasekhar is a member of the New York County Lawyers Association, where he serves
              on the Board of Directors, the Executive Committee, the Federal Courts Committee, and the Board
              of Directors of the New York County Lawyers Association Foundation. He is also a member of
              the New York City Bar Association, where he serves on the Professional Responsibility
              Committee, and the New York State Bar Association.

              EDUCATION: Yale University, B.A., summa cum laude, 1987; Phi Beta Kappa. Yale Law
              School, J.D., 1997; Book Review Editor of the Yale Law Journal.

              BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
              New York; U.S. Courts of Appeals for Second, Third, Fifth, and Federal Circuits.


              B R E T T M . M I D D L E T O N has nearly two decades of significant trial and litigation experience,
              in which he has recouped billions of dollars in cash and shareholder value on behalf of the firm’s
              institutional clients. He is involved in a number of the firm’s litigation practice areas, focusing
              specifically on securities fraud, corporate governance, and shareholder rights.

              Among numerous other matters, he was a key member of the trial team responsible for
              successfully prosecuting In re Clarent Corp. Securities Litigation, which resulted in a rare jury
              verdict in favor of plaintiffs and against the former CEO of Clarent Corp.; and the team that
              prosecuted In re Lehman Brothers Securities. Litigation., which recovered $735 million for
              investors from multiple defendants, including former Lehman directors and officers, the

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              underwriters of Lehman securities offerings, UBS and Ernst & Young. Mr. Middleton also served
              as counsel on behalf of the institutional investor plaintiffs in the Williams Securities Litigation
              Class Action, which resulted in a $311 million combined settlement, which was the largest known
              settlement at the time without a company restating its financial statements. In the Accredo Health
              Securities Litigation, he was instrumental in the recovery of $33 million for investors arising from
              accounting fraud claims. Mr. Middleton was also a member of the team that recovered $22
              million for investors in In re Accredited Home Lenders Sec. Litig. for fraud claims relating to
              mortgage lending practices – one of the earliest settlements of the financial crisis.

              Most recently, Mr. Middleton served on the trial team that successfully prosecuted In re Lumber
              Liquidators Securities Litigation, a federal securities fraud class action arising from an alleged
              scheme to inflate margins by importing cheap flooring products made from illegally harvested
              timber and containing dangerous amounts of formaldehyde as exposed by the CBS news show 60
              Minutes. The settlement was worth over $40 million in cash and common stock for class
              members.

              After the financial crisis, Mr. Middleton was a member of the team that represented institutional
              investors, including money managers and insurance companies, in direct and class actions arising
              out of the fraudulent sale of residential mortgage-backed securities that were successfully resolved
              against Bear Stearns, Countrywide Financial, JPMorgan, Morgan Stanley, and Washington
              Mutual.

              Mr. Middleton also has extensive experience representing institutional and individual clients in
              shareholder derivative litigation seeking to improve corporate governance practices and enforce
              the fiduciary obligations of corporate boards and officers. Among others, he was part of the teams
              that prosecuted the Activision, Apollo, Intuitive Surgical, News Corporation, Nu Skin, and Ryland
              Group derivative actions. Moreover, he has contributed significantly to the firm’s efforts to
              challenge the improper use of defensive measures and deal protections for management’s benefit
              in mergers and acquisitions, including deal litigation actions involving Arena, Caremark/CVS,
              Celera, Emulex, Long Drugs, Medco/Express Scripts, Ticketmaster, and Yahoo!

              For his professional achievements, Mr. Middleton has received multiple industry and national
              recognitions, including “Recommended Lawyer in M&A Related Shareholder Litigation” by
              Legal 500 USA Guide, a “San Diego Super Lawyer” by Super Lawyers, and one of the “Best of
              the Bar” by the San Diego Business Journal.

              EDUCATION: University of California, Los Angeles, 1993. University of San Diego School of
              Law, J.D., 1998.

              BAR ADMISSIONS: California; U.S. District Courts for the Central, Northern and Southern
              Districts of California.


              R I C H A R D D. G L U C K has almost 30 years of litigation and trial experience in bet-the-company
              cases. His practice focuses on securities fraud, corporate governance, and shareholder rights
              litigation. He has been named a Super Lawyer in securities litigation, recognized for achieving
              “the highest levels of ethical standards and professional excellence” by Martindale Hubbell®, and
              named one of San Diego’s “Top Lawyers” practicing complex business litigation.

              Since joining BLB&G, Mr. Gluck has been a key member of the teams prosecuting a number of
              high-profile cases, including several RMBS class and direct actions against a number of large
              Wall Street Banks. He was a senior attorney on the team prosecuting the In re Lehman Brothers
              Equity/Debt Securities Litigation, which resulted in over $615 million for investors and is
              considered one of the largest total recoveries for shareholders in any case arising from the
              financial crisis. Specifically, he was instrumental in developing important evidence that led to the
              $99 million settlement with Lehman’s former auditor, Ernst & Young – one of the top 10 auditor
              settlements ever achieved. He also was a senior member of the teams that prosecuted the RMBS

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              class actions against Bear Stearns, which settled for $500 million; JPMorgan, which settled for
              $280 million; Wilmington Trust, which settled for $210 million (pending court approval); and
              Morgan Stanley, which settled for $95 million. He was also a key member of the trial teams that
              prosecuted the litigations against MF Global, which recovered $234.3 million on behalf of
              investors; and Genworth, which settled for $219 million.

              Before joining BLB&G, Mr. Gluck represented corporate and individual clients in securities fraud
              and consumer class actions, SEC investigations and enforcement actions, and in actions involving
              claims of fraud, breach of contract and misappropriation of trade secrets in state and federal courts
              and in arbitration. He has substantial trial experience, having obtained verdicts or awards for his
              clients in multi-million dollar lawsuits and arbitrations. Prior to entering private practice, Mr.
              Gluck clerked for Judge William H. Orrick of the United States District Court for the Northern
              District of California.

              Mr. Gluck currently is a senior member of the teams prosecuting In re Vale, S.A. Securities
              Litigation, In re Intel Securities Litigation, Qualcomm, Inc. Securities Litigation, and a number of
              direct actions against Valeant Pharmaceuticals International, Inc. on behalf of almost two dozen
              institutional investors and government retirement systems. He practices out of the firm’s San
              Diego office.

              Mr. Gluck is a former President of the San Diego Chapter of the Association of Business Trial
              Lawyers and currently is a member of its Board of Governors.

              EDUCATION: California State University Sacramento, B.S., Business Administration, with
              honors, 1987. Santa Clara University, J.D., summa cum laude, 1990; Articles Editor of the Santa
              Clara Computer and High Technology Law Journal.

              BAR ADMISSIONS: California; U.S. District Courts for the Central, Northern and Southern
              Districts of California.


              L U C A S E. G I L M O R E practices out of the firm’s San Diego office and focuses on securities
              class actions and individual investor actions.

              Mr. Gilmore currently represents BlackRock, PIMCO, and nine other prominent institutional
              investors in six representative actions pending in the U.S. District Court of the Southern District of
              New York against the principal financial crisis-era RMBS trustee banks: U.S. Bank National
              Association; Deutsche Bank National Trust Company and Deutsche Bank Trust Company
              Americas; The Bank of New York Mellon; Wells Fargo; HSBC Bank USA, National Association;
              and Citibank N.A. The actions are brought by the plaintiffs in their representative capacity on
              behalf of over 2,200 RMBS trusts issued between 2004 and 2008. The suits allege that the
              trustees breached contractual, statutory and common law duties owed to the trusts and certificate-
              holders. The suits are brought as derivative actions, or in the alternative, as class actions on behalf
              of all current owners of certificates in the trusts.

              In addition, Mr. Gilmore is currently litigating securities fraud class action lawsuits, including In
              re Fannie Mae/Freddie Mac Senior Preferred Stock Purchase Agreement Class Action Litigations
              pending in the District of Columbia, Government of Guam Retirement Fund v. Invacare
              Corporation pending in the Northeastern District of Ohio, Deerfield Beach Police Pension Fund v.
              Quality Systems, Inc. pending in the Central District of California, and Anderson v. Spirit
              AeroSystems Holdings, Inc. pending in the District of Kansas, as well as representing class
              plaintiffs in antitrust litigation arising from the manipulation of LIBOR.




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              Mr. Gilmore is also currently representing prominent U.S. and international institutional investors
              in numerous direct action matters, including opt-out actions against BP plc in Texas federal court
              arising out of the catastrophic 2010 Gulf of Mexico oil spill, against AIG in California state court
              arising out of AIG’s massive accumulated exposure to the housing and subprime mortgage
              markets in the years leading up to the financial crisis, and against Petróleo Brasileiro (Petrobras) in
              Manhattan federal court arising out of the long-running bribery and kickback scheme at the
              Brazilian oil giant.

              Mr. Gilmore was recently selected as a member of the Leadership Development Committee of the
              San Diego Chapter of the Association of Business Trial Lawyers. For his outstanding work, Mr.
              Gilmore was also recognized as one of San Diego’s “Rising Stars” in 2014 by Super Lawyers.

              Prior to joining BLB&G, Mr. Gilmore was an associate at a law firm in San Francisco, where he
              successfully prosecuted and defended a variety of civil actions, including commercial, consumer
              and antitrust cases from the discovery stage through trial. He also gained significant experience as
              a judicial extern for the Honorable Vaughn R. Walker of the United States District Court for the
              Northern District of California.

              EDUCATION: Vanderbilt University, B.A., cum laude, Political Science, 2002. University of
              California, Hastings College of the Law, J.D., 2007; Computer Assisted Learning Institute Award
              for Excellence in Trial Advocacy I and II.

              BAR ADMISSIONS: California; U.S. Court of Appeals for the Ninth Circuit; U.S. District
              Courts for the Eastern and Northern Districts of California.


              B R A N D O N M A R S H ’s practice is focused on complex litigation, including matters involving
              securities fraud, corporate governance and shareholder rights litigation on behalf of the firm’s
              institutional investor clients. As a member of the firm’s new matter and foreign securities
              litigation departments, Mr. Marsh, along with a team of attorneys, financial analysts, forensic
              accountants, and investigators, also counsels the firm’s institutional clients on their legal claims
              and options with respect to shareholder litigation worldwide.

              Mr. Marsh currently represents the firm’s institutional investor clients as counsel in a number of
              significant actions, including the securities class action against Cobalt International Energy. He
              also represents the firm’s clients in securities class actions against Quality Systems, Inc. and RH,
              Inc. relating to their misrepresentations to investors. Since joining the firm, Mr. Marsh has been
              an integral part of the teams that prosecuted securities class actions against Genworth Financial,
              Inc., Rayonier Inc., and EZCORP, Inc. – which together recovered over $300 million for
              investors.

              Before joining the firm, Mr. Marsh clerked for the Honorable Jerome Farris of the United States
              Court of Appeals for the Ninth Circuit and was a senior associate at Irell & Manella. While at Irell
              & Manella, he represented both plaintiffs and defendants in a broad range of matters, including
              representing one of the world’s largest gaming companies in a major securities class action.

              Mr. Marsh has authored articles relating to class actions, arbitration, and the federal securities
              laws, including “Trump Administration Could Block Access To Courts” and “The Rising Tide of
              Dual-Class Shares: Recipe For Executive Entrenchment, Underperformance and Erosion of
              Shareholder Rights,” published in Pensions & Investments and The NAPPA Report, respectively.
              His further articles in publications such as Law360 and the ABA newsletter include “Keeping
              Plaintiffs in the Driver’s Seat: The Supreme Court Rejects ‘Pick-off’ Settlement Offers,”
              “Combating Objectionable Objections: Rule 23 Rules Committee Takes Aim At Frivolous
              Objections To Class Settlements,” “More Than One Way To Pick A Pocket: SEC Scrutiny Of



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              Private Equity Firms Reveals Widespread Abuses,” and “All Eyes On The UK: Institutional
              Investors Monitor High-Profile Cases In The London High Court.” Mr. Marsh also occasionally
              hosts BLB&G’s Real-Time Speaker Series, a periodic firm presentation regarding issues of
              current interest to the institutional investor community.

              Mr. Marsh earned his law degree from Stanford Law School, graduating with honors (“with
              Distinction”). While in law school, he served as an editor of the Stanford Law Review and
              authored “Preventing the Inevitable: The Benefits of Contractual Risk Engineering in Light of
              Venezuela’s Recent Oil Field Nationalization,” 13 Stan. J. L. Bus. & Fin. 453 (2008).

              The Southern California Super Lawyers magazine named Mr. Marsh a “Rising Star” for the years
              2014, 2016, 2017, 2018 and 2019.

              EDUCATION: University of California, Berkeley, B.A., with Highest Distinction, History and
              German, 2000. Stanford Law School, J.D., with Distinction, 2009.

              BAR ADMISSIONS: California; U.S. District Courts for the Central and Northern Districts of
              California; U.S. Court of Appeals for the Ninth Circuit.


              R E B E C C A B O O N practices out of the New York office, where she prosecutes securities fraud,
              corporate governance and shareholder rights litigation for the firm's institutional investor clients.

              Among other notable recoveries, Ms. Boon represented the New York State Teachers’ Retirement
              System in a securities litigation against the General Motors Company arising from a series of
              misrepresentations concerning the quality, safety, and reliability of the Company’s cars, which
              resulted in a $300 million settlement – the second largest securities class action recovery in the
              Sixth Circuit. Ms. Boon also represented the Department of the Treasury of the State of New
              Jersey and its Division of Investment in a securities litigation against Cliffs Natural Resources,
              which resulted in an $84 million settlement.

              Most recently, she was a senior member of the team that prosecuted an unprecedented shareholder
              derivative litigation against Fox News parent 21st Century Fox, Inc. arising from the systemic
              sexual and workplace harassment at the embattled network. After nearly 18 months of litigation,
              discovery and negotiation related to the shocking misconduct and the Board’s extensive alleged
              governance failures, the parties unveiled a landmark settlement with two key components: 1) the
              first ever Board-level watchdog of its kind – the “Fox News Workplace Professionalism and
              Inclusion Council” of experts (WPIC) – majority independent of the Murdochs, the Company and
              Board; and 2) one of the largest financial recoveries – $90 million – ever obtained in a pure
              corporate board oversight dispute. The WPIC is expected to serve as a model for public
              companies in all industries.

              Ms. Boon was also a senior member of the team that obtained $480 million for investors in the
              securities class action against Wells Fargo & Co. related to its fake accounts scandal. The
              settlement, if approved by the Court, would be the fourth largest settlement in the Ninth Circuit.

              Ms. Boon has been recognized by Super Lawyers for her accomplishments.

              EDUCATION: Vassar College, B.A., 2004 (History, Correlate in Women’s Studies); Social
              Justice Community Fellow. Hofstra University School of Law, 2007, J.D., cum laude; Charles H.
              Revson Foundation Law Students Public Interest Fellow; Hofstra Law Review; Distinguished
              Contribution to the School and Excellence in International Law Awards; Merit Scholarship.

              BAR ADMISSIONS: New York; U.S. District Court for the Southern District of New York, U.S.
              Courts of Appeals for the Second, Fourth, and Sixth Circuits.




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              A D A M H O L L A N D E R prosecutes securities fraud, corporate governance, and shareholder rights
              litigation on behalf of the firm’s clients.

              Mr. Hollander has represented investors and corporations in state and federal trial and appellate
              courts throughout the country. He was an integral member of the teams that prosecuted, among
              other cases, In re Salix Pharmaceuticals Ltd., recovering $210 million for investors; San Antonio
              Fire & Police Pension Fund v. Dole Food Company, Inc., recovering $74 million for investors;
              and Bach v. Amedisys, Inc., recovering $43.75 million for investors after a successful appeal to the
              U.S. Court of Appeals for the Fifth Circuit following a previous dismissal.

              Currently, Mr. Hollander represents clients in a number of disputes relating to corporate
              misconduct and alleging harm to investors, including a securities-fraud class action against
              Volkswagen arising out of the “Dieselgate” emissions-cheating scandal; a securities-fraud class
              action on behalf of investors in the now-bankrupt renewable energy company SunEdison, Inc.; a
              securities-fraud class action against Novo Nordisk concerning pricing of its insulin drugs; and a
              class action on behalf of Puerto Rico investors to whom UBS improperly recommended risky
              Puerto Rico securities.

              Prior to joining BLB&G, Mr. Hollander clerked for the Honorable Barrington D. Parker, Jr. of the
              U.S. Court of Appeals for the Second Circuit, and for the Honorable Stefan R. Underhill of the
              U.S. District Court for the District of Connecticut. He has also been associated with two New
              York defense firms, where he gained significant experience representing clients in various civil,
              criminal, and regulatory matters, including white-collar and complex commercial litigation.

              EDUCATION: Brown University, A.B., magna cum laude, 2001, Urban Studies. Yale Law
              School, J.D., 2006; Editor, Yale Law and Policy Review.

              BAR ADMISSIONS: New York; Connecticut; U.S. District Courts for the Southern District of
              New York and the District of Connecticut; U.S. Court of Appeals for the Second Circuit.




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              A SSOCIATES

              A B E A L E X A N D E R practices out of the New York office, where he focuses on securities fraud,
              corporate governance and shareholder rights litigation.

              As a principal member of the trial team prosecuting In re Merck Vioxx Securities Litigation, Mr.
              Alexander helped recover over $1.06 billion on behalf of injured investors. The case, which
              asserted claims arising out of the Defendants’ alleged misrepresentations concerning the safety
              profile of Merck’s pain-killer, VIOXX, was settled shortly before trial and after more than 10
              years of litigation, during which time plaintiffs achieved a unanimous and groundbreaking victory
              for investors at the U.S. Supreme Court. The settlement is the largest securities recovery ever
              achieved against a pharmaceutical company and among the 15 largest recoveries of all time.

              Mr. Alexander was also a principal member of the trial team that prosecuted In re Schering-
              Plough Corp./ENHANCE Securities Litigation and In re Merck & Co., Inc. Vytorin/Zetia
              Securities Litigation, which settled on the eve of trial for a combined $688 million. This $688
              million settlement represents the second largest securities class action recovery against a
              pharmaceutical company in history and is among the largest securities class action settlements of
              any kind. As lead associate on the firm’s trial team, Mr. Alexander helped achieve a $150 million
              settlement of investors’ claims against JPMorgan Chase arising from alleged misrepresentations
              concerning the trading activities of the so-called “London Whale.” Mr. Alexander also played a
              key role in obtaining a substantial recovery on behalf of investors in In re Penn West Petroleum
              Ltd. Securities Litigation. He is currently prosecuting Medina v. Clovis Oncology, Inc.; In re
              HeartWare International, Inc. Securities Litigation; Schaffer v. Horizon Pharma PLC; and Park v.
              Cognizant Technology Solutions Corp., among others.

              Prior to joining the firm, Mr. Alexander represented institutional clients in a number of high-
              profile securities, corporate governance, and antitrust matters.

              Mr. Alexander was an award-winning member of his law school’s national moot court team.
              Following law school, he served as a judicial clerk to Chief Justice Michael L. Bender of the
              Colorado Supreme Court.

              Super Lawyers has regularly selected Mr. Alexander as a New York “Rising Star” in recognition
              of his accomplishments.

              EDUCATION: New York University – The College of Arts and Science, B.A., Analytic
              Philosophy, cum laude, 2003. University of Colorado Law School, J.D., 2008; Order of the Coif.

              BAR ADMISSIONS: Delaware; New York; U.S. District Court for the District of Delaware; U.S.
              District Courts for the Eastern and Southern Districts of New York; U.S. Court of Appeals for the
              First Circuit.


              K A T E A U F S E S prosecutes securities fraud, corporate governance and shareholder rights
              litigation out of the firm’s New York office. She is currently a member of the teams prosecuting
              securities class actions against Insulet Corporation and Volkswagen AG, among others.

              Prior to joining the firm, Ms. Aufses was an associate at Hughes Hubbard & Reed, where she
              worked on complex commercial litigation. Prior to graduating law school, she also served as a
              judicial intern for the Honorable Jack B. Weinstein.




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              EDUCATION: Kenyon College, B.A., English, magna cum laude, 2008. University of
              Cambridge, MPhil, American Literature, 2009. University of Cambridge, MPhil, History of Art,
              2010. University of Michigan Law School, J.D., 2015; Managing Symposium Editor, Michigan
              Journal of Law Reform.

              BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
              New York.


              D A V I D L. D U N C A N ’s practice concentrates on the settlement of class actions and other
              complex litigation and the administration of class action settlements.

              Prior to joining BLB&G, Mr. Duncan worked as a litigation associate at Debevoise & Plimpton,
              where he represented clients in a wide variety of commercial litigation, including contract
              disputes, antitrust and products liability litigation, and in international arbitration. In addition, he
              has represented criminal defendants on appeal in New York State courts and has successfully
              litigated on behalf of victims of torture and political persecution from Sudan, Côte d’Ivoire and
              Serbia in seeking asylum in the United States.

              While in law school, Mr. Duncan served as an editor of the Harvard Law Review. After law
              school, he clerked for Judge Amalya L. Kearse of the U.S. Court of Appeals for the Second
              Circuit.

              EDUCATION: Harvard College, A.B., Social Studies, magna cum laude, 1993. Harvard Law
              School, J.D., magna cum laude, 1997.

              BAR ADMISSIONS: New York; Connecticut; U.S. District Court for the Southern District of
              New York.


              S C O T T R. F O G L I E T T A focuses his practice on securities litigation and is a member of the
              firm’s New Matter group, in which he, as part of a team of attorneys, financial analysts, and
              investigators, counsels institutional investors on potential legal claims.

              Mr. Foglietta also serves as a member of the litigation team responsible for prosecuting In re
              Lumber Liquidators Holdings, Inc. Securities Litigation. For his accomplishments, Mr. Foglietta
              was recently named a New York “Rising Star” in the area of securities litigation.

              Before joining the firm, Mr. Foglietta represented institutional and individual clients in a wide
              variety of complex litigation matters, including securities class actions, commercial litigation, and
              ERISA litigation. While in law school, Mr. Foglietta served as a legal intern in the Financial
              Industry Regulatory Authority’s (FINRA) Enforcement Division, and in the general counsel’s
              office of NYSE Euronext. Prior to law school, Mr. Foglietta earned his M.B.A. in finance from
              Clark University and worked as a capital markets analyst for a boutique investment banking firm.

              EDUCATION: Clark University, B.A., Management, cum laude, 2006. Clark University,
              Graduate School of Management, M.B.A., Finance, 2007. Brooklyn Law School, J.D., 2010.

              BAR ADMISSIONS: New York; New Jersey.




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              T A M A R A G A V R I L O V A prosecutes securities fraud, corporate governance and shareholder
              rights litigation for the firm's institutional investor clients.

              Prior to joining the firm, she represented institutional and individual investors in takeover cases
              involving violations of federal securities laws and corporate governance rules, before being
              recruited to clerk for the Honorable Daphne Barak-Erez of the Supreme Court of Israel. Ms.
              Gavrilova subsequently practiced in Israel where she represented and advised local and
              international clients on U.S. securities and governance related matters, including with respect to
              mergers and acquisitions, venture capital and capital markets transactions.

              During law school, she was a full-time extern in the enforcement division of the U.S. Securities &
              Exchange Commission, supporting primary liability prosecutions and compliance investigations of
              brokers and IPOs.

              EDUCATION: Baruch College, B.B.A., Finance & Investments, magna cum laude, 2006.
              Cornell Law School, J.D., 2013; Articles Editor, Cornell Journal of Law and Public Policy.

              BAR ADMISSIONS: New York; New Jersey; Pennsylvania.

              LANGUAGES: Hebrew, Russian.


              J E S S E L. J E N S E N prosecutes securities fraud, corporate governance and shareholder rights
              litigation on behalf of the firm’s institutional clients.

              Prior to joining the firm, Mr. Jensen was a litigation associate at Hughes Hubbard & Reed, where
              he represented accounting firms, banks, investment firms and high-net-worth individuals in
              complex commercial, securities, commodities and professional liability civil litigation and
              alternative dispute resolution. He also gained considerable experience in responding to
              investigations and inquiries by government regulators such as the SEC and CFTC. In addition,
              Mr. Jensen actively litigated several pro bono civil rights cases, including a federal suit in which
              he secured a favorable settlement for an inmate alleging physical abuse by corrections officers.

              Since joining the firm, he has helped investors achieve hundreds of millions in recoveries,
              including a $110 million settlement in Fresno County Employees’ Retirement Association v.
              comScore, Inc.; a $32 million cash settlement in an action against real estate service provider
              Altisource Portfolio Solutions, S.A.; a $210 million dollar settlement in In re Wilmington Trust
              Securities Litigation (pending court approval); and a $22 million settlement in an action against
              mutual fund company Virtus Investment Partners, Inc. (pending court approval). He is currently
              assisting the firm in its prosecution of In re Frontier Communications Corp. Sec. Litig.; Roofer’s
              Pension Fund v. Papa et al.; In re Bristol-Myers Squibb Company Sec. Litig.; and In re Cognizant
              Technology Solutions Co. Sec. Litig.

              In recognition of his professional achievements and reputation, Mr. Jensen has been named a
              “Rising Star” for the past five years by Thomson Reuters Super Lawyers (no more than 2.5% of
              the lawyers in New York are selected to receive this honor each year).

              EDUCATION: New York University School of Law, J.D., 2009; Staff Editor, NYU Journal of
              Law and Business.

              BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
              New York; U.S. Court of Appeals for the Second Circuit.




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              D A V I D M A C I S A A C practices out of the New York office, where he prosecutes corporate
              governance and shareholder rights litigation on behalf of the firm’s institutional investor clients.

              Prior to joining the firm, Mr. MacIsaac was a litigation associate at a major law firm. There his
              practice focused on general commercial, federal securities, corporate governance and other
              litigation matters. Mr. MacIsaac was also a Financial Planner at The Ayco Company, where he
              advised clients and counselors on exchange traded funds, variable annuities, stock option
              strategies, and employee stock purchase plans.

              While in law school, Mr. MacIsaac served as a summer Honors Intern in the Division of
              Enforcement of the U.S. Securities and Exchange Commission, and also worked as an extern at
              the United States Treasury Department.

              EDUCATION: Franklin and Marshall College, B.A., 2007, European History and Government.
              Georgetown University Law Center, J.D., cum laude, 2013; Member, Georgetown Journal of Law
              and Modern Critical Race Perspectives.

              BAR ADMISSION: New York.


              M I C H A E L M A T H A I ’s practice focuses on securities fraud, corporate governance and
              shareholder rights litigation.

              Prior to joining the firm, Mr. Mathai was a litigation associate at O’Melveny & Myers LLP, where
              he represented financial services and other companies in securities class action, shareholder rights,
              antitrust, and commercial litigation matters in state and federal court. He also gained considerable
              experience representing companies and individuals in investigations and inquiries by regulatory
              bodies including the SEC, DOJ, FTC, and FINRA.

              He is currently a member of the teams prosecuting securities class actions against Wells Fargo &
              Company, Signet Jewelers Limited, CenturyLink, Inc., and Henry Schein, Inc., among others.

              EDUCATION: Harvard University, A.B., cum laude, 2006, Economics. London School of
              Economics and Political Science, 2008, M.Sc., Economics. Columbia Law School, J.D., 2012;
              Harlan Fiske Stone Scholar.

              BAR ADMISSION: New York.


              J O H N J. M I L L S ’ practice concentrates on Class Action Settlements and Settlement
              Administration. Mr. Mills also has experience representing large financial institutions in
              corporate finance transactions.

              EDUCATION: Duke University, B.A., 1997. Brooklyn Law School, J.D., cum laude, 2000;
              Member of The Brooklyn Journal of International Law; Carswell Merit Scholar recipient.

              BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
              New York.


              B R E N N A N E L I N S O N ’s practice focuses on securities fraud, corporate governance and
              shareholder rights litigation.

              She is currently a member of the firm’s teams prosecuting securities class actions against Virtus
              Investment Partners and Signet Jewelers.


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              Prior to joining the firm, Ms. Nelinson was a Litigation Associate at Hogan Lovells US LLP. She
              represented a variety of defendants in all aspects of corporate litigation.

              EDUCATION: New York University, B.A., 2011, Individualized Study – Psychology and
              Philosophy. American University Washington College of Law, J.D., cum laude, 2014; Note &
              Comment Editor, American University International Law Review; Moot Court Honor Society.

              BAR ADMISSION: Maryland.


              C H R I S T O P H E R J. O R R I C O ’s practice is focused on complex litigation, including matters
              involving securities fraud, corporate governance and shareholder rights litigation on behalf of the
              firm’s institutional investor clients.

              Mr. Orrico has significant experience in complex litigation, representing investor plaintiffs in
              major securities, antitrust and ERISA litigation, as well as a variety of other business tort
              litigation. He has also represented insurers in matters involving directors and officers liability
              policies, errors and omissions, and fiduciary liability.

              Mr. Orrico obtained his joint J.D. and M.B.A. from Villanova University School of Law and
              School of Business. He completed the four-year joint degree program in only three years and has
              since served as a guest lecturer on securities litigation for the school. Additionally, Mr. Orrico
              obtained his B.A. in Economics from Yale University where he was Captain of the Varsity
              Baseball Team. He is the co-author of “Entire Fairness Or Business Judgment? It’s Anyone’s
              Guess,” which was published by Law360.com in 2015 and “The X’s and O’s of Football’s
              Offseason of Discontent,” which was published by the New York Law Journal in 2011. He is the
              author of “If You Ain’t Cheating You Ain’t Trying!” and “The Shifting Meaning of ‘Fair Value,’
              From Corwin to Dell: Recent Rulings and Reversals in Delaware’s Courts May Spell Trouble for
              Investors” which were published by The Advocate for Institutional Investors in 2016 and 2018,
              respectively.

              Mr. Orrico is a member of the American Bar Association, the New York State Bar Association
              and the Connecticut Bar Association, as well as the National Italian American Foundation. He is
              also a member of the Villanova Law Alumni Mentoring Program.

              Mr. Orrico was a key member of the teams that successfully litigated: In re Appraisal of Towers
              Watson & Co. (n/k/a WTW Delaware Holding LLC); Williams v. Ji, et al. (Sorrento Therapeutics,
              Inc.); California Public Employees’ Retirement System v. IAC/InterActiveCorp, et al.; 3-Sigma
              Value Financial Opportunities LP, et al. v. Jones (CertusHoldings, Inc.); In re Globe Specialty
              Metals, Inc. Stockholders Litigation; In re Appraisal of Diamond Resorts International, Inc.; In re
              Vaalco Energy, Inc. Consolidated Stockholder Litigation and In re Sanchez Energy Derivative
              Litigation. He is currently a member of the teams prosecuting: In re Appraisal of Columbia
              Pipeline Group, Inc. and In re Starz Stockholder Litigation.

              EDUCATION: Yale University, B.A., Economics, 2005. Villanova University School of Law and
              School of Business, J.D., MBA, 2009.

              BAR ADMISSIONS: New York; Connecticut.


              R O S S S H I K O W I T Z focuses his practice on securities litigation and is a member of the firm’s
              New Matter group, in which he, as part of a team attorneys, financial analysts, and investigators,
              counsels institutional clients on potential legal claims.




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              Mr. Shikowitz has also served as a member of the litigation teams responsible for successfully
              prosecuting a number of the firm’s significant cases involving wrongdoing related to the
              securitization and sale of residential mortgage-backed securities (“RMBS”), and has recovered
              hundreds of millions of dollars on behalf of injured investors. He successfully represented
              Allstate Insurance Co., Metropolitan Life Insurance Company, Teachers Insurance and Annuity
              Association of America, Bayerische Landesbank, Dexia SA/NV, Sealink Funding Limited, and
              Landesbank Baden-Württemberg against various issuers of RMBS in both state and federal courts.

              Currently, Mr. Shikowitz serves as a member of the litigation team prosecuting the securities fraud
              class action against Volkswagen AG, which arises out of Volkswagen’s illegal use of defeat
              devices in millions of purportedly clean diesel cars to cheat emissions standards worldwide. He
              also serves as a member of the team litigating the securities class action concerning GT Advanced
              Technologies Inc., which alleges that defendants knew that the company’s $578 million deal to
              supply Apple, Inc. with product was an onerous and massively one-sided agreement that allowed
              GT executives to sell millions worth of stock. The case concerning GT has resulted in $36.7
              million in recoveries to date.

              For his accomplishments, Mr. Shikowitz has consistently been named by Super Lawyers as a New
              York “Rising Star” in the area of securities litigation.

              While in law school, Mr. Shikowitz was a research assistant to Brooklyn Law School Professor of
              Law Emeritus Norman Poser, a widely respected expert in international and domestic securities
              regulation. He also served as a judicial intern to the Honorable Brian M. Cogan of the Eastern
              District of New York, and as a legal intern for the Major Narcotics Investigations Bureau of the
              Kings County District Attorney’s Office.

              EDUCATION: Skidmore College, B.A., Music, cum laude, 2003. Indiana University-
              Bloomington, M.M., Music, 2005. Brooklyn Law School, J.D., magna cum laude, 2010;
              Notes/Comments Editor, Brooklyn Law Review; Moot Court Honor Society; Order of Barristers
              Certificate; CALI Excellence for the Future Award in Products Liability, Professional
              Responsibility.

              BAR ADMISSIONS: New York; U.S. District Courts for the Eastern and Southern Districts of
              New York.


              J A C O B S P A I D practices out of the firm’s San Diego office, where he prosecutes securities fraud,
              corporate governance, and shareholder rights litigation on behalf of the firm’s institutional
              investor clients.

              He is currently a member of the team representing prominent institutional investors, including
              BlackRock and PIMCO, against six financial crisis-era RMBS trustee banks in ten cases pending
              in the U.S. District Court for the Southern District of New York, New York Supreme Court, and
              California Superior Court. The suits allege that the RMBS trustee banks breached contractual,
              statutory and common law duties owed to the trusts and certificate holders.

              Mr. Spaid is also involved in litigation against Qualcomm, Inc., Symantec Corporation, and
              Cobalt International Energy, Inc., and in the Firm’s direct action opt-out practice, including in
              direct actions brought against American Realty Capital Properties.

              Prior to joining the firm, Mr. Spaid represented national and international insurance companies
              and businesses in a broad range of litigation. While in law school, Mr. Spaid was a Judicial
              Extern for the Honorable Ruben Brooks in the Southern District of California and the Honorable
              Steven R. Denton in the San Diego Superior Court.

              Super Lawyers has named Mr. Spaid a “Rising Star” for the years 2017 and 2018.

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              EDUCATION: San Diego State University, B.S., Business Administration, magna cum laude,
              2006. San Diego State University, MBA, 2014. California Western School of Law, J.D., magna
              cum laude, 2009; Associate Writer, Editor and Senior Editor, California Western Law Review;
              Associate Writer and Editor, California Western International Law Journal.

              BAR ADMISSIONS: California; U.S. District Courts for the Central, Eastern, and Southern
              Districts of California.


              J U L I A T E B O R practices out of the New York office and prosecutes securities fraud, corporate
              governance, and shareholder rights litigation on behalf of the firm’s institutional investor clients.
              She was a member of the trial team that recovered $210 million (pending court approval) on
              behalf of defrauded investors in In re Wilmington Trust Securities Litigation. She is currently a
              member of the teams prosecuting In re Green Mountain Coffee Roasters, Inc. Securities
              Litigation, and St. Paul Teachers’ Retirement Fund Association v. HeartWare International, Inc.

              A former litigation associate with Seward & Kissel, Ms. Tebor also has broad experience in white
              collar, general commercial, and employment litigation matters on behalf of clients in the financial
              services industry, as well as in connection with SEC and DOJ investigations.

              EDUCATION: Tufts University, B.A., Spanish and English, 2006; Dean’s List. Boston
              University School of Law, J.D., cum laude, 2012; Notes Editor, American Journal of Law and
              Medicine.

              BAR ADMISSIONS: Massachusetts; New York.


              E D W A R D G. T I M L I N practices out of the firm’s New York office, where he prosecutes
              securities fraud, corporate governance and shareholder rights litigation on behalf of the firm’s
              institutional clients.

              Prior to joining BLB&G, Mr. Timlin was a senior litigation associate at a major corporate law
              firm. Among other matters, he successfully represented corporate clients in complex litigation,
              including securities class actions, derivative actions, and merger and acquisitions matters, playing
              a key role in drafting briefs, taking depositions and managing discovery, and was responsible for
              pre-trial and settlement activities.

              Mr. Timlin is currently a member of the team prosecuting In re GFI Group, Inc. Stockholder
              Litigation, In re TIBCO Software Inc. Stockholders Litigation, Lieblein v. Ersek (The Western
              Union Company), In re Empire State Building Associates, L.L.C. Participant Litigation, and In re
              Intuitive Surgical Shareholder Derivative Litigation.

              EDUCATION: Cornell University, B.A., Philosophy and History, 2006. Columbia Law School,
              J.D., 2009; Harlan Fiske Stone Scholar.

              BAR ADMISSION: New York.


              R O B E R T T R I S O T T O is an associate in Bernstein Litowitz’s San Diego office, where he
              represents the firm’s institutional investor clients in securities fraud, corporate governance, and
              shareholder rights matters.

              He is currently a member of the team representing prominent institutional investors, including
              BlackRock and PIMCO, against six financial-crisis era RMBS trustee banks in ten cases pending
              in the U.S. District Court for the Southern District of New York, New York Supreme Court, and
              California Superior Court. The suits allege that the RMBS trustee banks breached contractual,
              statutory and common law duties owed to the trusts and certificate-holders.

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              Mr. Trisotto is also a member of the team prosecuting Vale S.A. Securities Litigation against the
              Brazilian mining company, arising from the collapse of the massive Fundão mining dam, which
              killed at least 17 people, destroyed an entire city, and polluted numerous waterways.

              Prior to joining the firm, he was a senior litigation associate at Quinn Emanuel Urquhart &
              Sullivan LLP, where he gained significant experience in complex commercial litigation, securities
              litigation, and international disputes. For example, Mr. Trisotto was a member of the team that
              successfully prosecuted leading investment banks on behalf of the Federal Housing Finance
              Agency, conservator for Fannie Mae and Freddie Mac, in RMBS litigation arising from violations
              of securities laws, in which Fannie Mae and Freddie Mac ultimately recovered tens of billions of
              dollars. He also successfully represented mezzanine lenders in a contractual dispute relating to the
              $5.4 billion financing of the Stuyvesant Town-Peter Cooper Village property in Manhattan, the
              largest single real estate transaction in U.S. history at its time.

              EDUCATION: New York University, B.A., Economics, 2005. New York Law School, J.D.,
              2009; New York Law Review.

              BAR ADMISSIONS: California; New York; New Jersey; U.S. Courts of Appeals for the Second
              and Ninth Circuits; U.S. District Courts for the Eastern and Southern Districts of New York, and
              the Central and Southern Districts of California.


              C A T H E R I N E E. V A N K A M P E N ’s practice concentrates on class action settlement
              administration. She has extensive experience in complex litigation and litigation management,
              having overseen attorney teams in many of the firm’s most high-profile cases. Fluent in Dutch,
              she has served as lead investigator and led discovery efforts in several actions involving
              international corporations and financial institutions headquartered in Belgium and the Netherlands.

              Prior to joining BLB&G, Ms. van Kampen focused on complex litigation initiated by institutional
              investors and the Federal Government. She has worked on litigation and investigations related to
              regulatory enforcement actions, corporate governance and compliance matters as well as
              conducted extensive discovery in English and Dutch in cross-border litigation.

              A committed humanitarian, Ms. van Kampen was honored as the 2018 Ambassador Medalist at
              the New Jersey Governor’s Jefferson Awards for Outstanding Public Service for her international
              humanitarian and pro bono work with refugees. The Jefferson Awards, issued by the Jefferson
              Awards Foundation that was founded by Jacqueline Kennedy Onassis, are awarded by state
              governors and are considered America’s highest honor for public service bestowed by the United
              States Senate. Ms. van Kampen was also honored in Princeton, New Jersey by her high school
              alma mater, Stuart Country Day School, in its 2018 Distinguished Alumnae Gallery for her
              humanitarian and pro bono efforts on behalf of women and children afflicted by war in Iraq and
              Syria.

              Ms. van Kampen clerked for the Honorable Mary M. McVeigh in the Superior Court of New
              Jersey, where she was also trained as a court-certified mediator. While in law school, she was a
              legal intern at the Center for Social Justice’s Immigration Law Clinic at Seton Hall University
              School of Law.

              EDUCATION: Indiana University, B.A., Political Science, 1988. Seton Hall University School
              of Law, J.D., 1998.

              BAR ADMISSION: New Jersey

              LANGUAGES: Dutch, German



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              J O H N V I E L A N D I practices out of the New York office and prosecutes fiduciary duty, corporate
              governance, and shareholder rights litigation on behalf of the firm’s institutional investor clients.

              Mr. Vielandi was a key member of the teams that successfully litigated: California Public
              Employees’ Retirement System v. IAC/InterActiveCorp, et al.; In re TIBCO Software Inc.
              Stockholders Litigation; In re GFI Group, Inc. Stockholder Litigation; In re Appraisal of Jarden
              Corporation; The Police Retirement System of St. Louis v. Erbey, et al. (Altisource Residential
              Corporation); 3-Sigma Value Financial Opportunities LP, et al. v. Jones (CertusHoldings, Inc.); In
              re Globe Specialty Metals, Inc. Stockholders Litigation; City of Monroe Employees’ Retirement
              System v. Rupert Murdoch et al. (Twenty-First Century Fox Inc.); In re Vaalco Energy, Inc.
              Consolidated Stockholder Litigation; In re Healthways, Inc. Shareholder Litigation; Williams v.
              Ji, et al. (Sorrento Therapeutics, Inc.); and In re Athlon Energy, Inc. Stockholder Litigation.

              Prior to joining BLB&G, Mr. Vielandi clerked at a Manhattan firm, where he assisted partners and
              associates with preparing SEC filings and transaction documents regarding the issuance of
              securities in private placements, employee compensation plans, limited public offerings, and other
              transactions.

              EDUCATION: Georgetown University, B.A., History, 2010. Brooklyn Law School, J.D., 2013;
              Notes and Comments Editor for the Brooklyn Journal of Corporate, Financial and Commercial
              Law.

              BAR ADMISSION: New York.


              A L L A Z A Y E N C H I K practices out of the firm’s New York office, where she prosecutes securities
              fraud, corporate governance, and shareholder rights litigation on behalf of the firm’s institutional
              investor clients.

              Prior to joining BLB&G, Ms. Zayenchik was a litigation associate at a New York law firm, where
              she successfully represented clients in class action and corporate governance litigation.

              While in law school, Ms. Zayenchik was a Symposium Editor for the Cardozo Public Law, Policy,
              and Ethics Journal. She also served as a judicial intern for the Honorable Melvin L. Schweitzer of
              the New York Supreme Court, Commercial Division, and as a legal intern for The Innocence
              Project.

              EDUCATION: Baruch School of the City College of New York, B.A., summa cum laude,
              Philosophy, 2010. Benjamin N. Cardozo School of Law, J.D., 2013.

              BAR ADMISSION: New York.




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              S TAFF A SSOCIATE

              D A V I D S T E A C I E has represented institutional investors in numerous securities fraud class
              actions. He was a member of the teams that prosecuted In re Refco Securities Litigation (total
              recoveries in excess of $400 million), Ohio Public Employees Retirement System, et al. v. Freddie
              Mac, et al. ($410 million settlement) and In re Biovail Corp. Securities Litigation ($138 million
              settlement). Mr. Steacie also supervises the attorneys at BLB&G who are primarily focused on
              electronic discovery.

              Prior to joining BLB&G, Mr. Steacie was an attorney in private practice where he focused on
              securities and consumer fraud class action litigation.

              EDUCATION: University of Massachusetts at Amherst, B.B.A., cum laude, 1986. Suffolk
              University Law School, J.D., 1994.

              BAR ADMISSION: Massachusetts.




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                         EXHIBIT E
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                         OLSTEIN, BRODY & AGNELLO, P.C.



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  Carella, Byrne


                                      AN INTRODUCTION TO
                                        CARELLA, BYRNE

                   Carella, Byrne, Cecchi, Olstein, Brody & Agnello, with offices in Roseland, New
   Jersey, had its origins in a partnership created in 1976 by Charles C. Carella and others. Since
   then, the firm has grown from four attorneys to over 35 attorneys. In 1990, the firm merged with
   two others: Bozonelis and Woodward of Chatham, New Jersey, and Cecchi, Brody & Agnello, of
   Lyndhurst, New Jersey.


   a diversified full-service firm that offers our clients a depth of experience that is virtually
   unmatched. Most importantly, our growth has been a studied one: an approach which has
   enabled us to maintain the energy and cooperative spirit of a small practice, allowing us to
   respond quickly and c

                   We have significant strength in complex litigation, federal class action litigation,
   intellectual property, corporate, health care, public financing, environmental, labor, tax and
   administrative law. This level of experience offers our corporate clients very broad-based legal
   representation.

                   We have long been recognized as one of the leading New Jersey law firms, a
   reputation that has helped us attract a wide spectrum of clients -- from individuals to
   multinational corporations; from small businesses to non-profit organizations; from zoning
   boards to state governments.

                  Today, Carella, Byrne, Cecchi, Olstein, Brody & Agnello is an established and
   successful law firm that is ready to serve you or your organization with a breadth and depth of
   experience rare in a firm our size.


   full complement of law clerks, paralegals, word processors and support staff, and state-of-the-art
   computer and word processing systems, including optical scanners, laser printers, and Westlaw.

                  We are committed to quality and diversity in our practice areas. Diversity allows

   highest quality of legal work walks hand-in-hand with its commitment to employ the highest
   quality of diverse people so that we can best serve all of the needs of our clients.




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  Carella, Byrne

                                      GENERAL LITIGATION
                   The Carella, Byrne, Cecchi, Olstein, Brody & Agnello litigation department
   participates in a broad range of contested matters. We represent corporations in derivative suits
   and with respect to allegations of breach of federal and state securities regulations. Additionally,
   we represent institutions and national companies in warranty, franchise and dealer termination
   actions; medical malpractice defense claims; and real estate matters, including planning board,
   board of adjustment proceedings and fair-share housing cases.

   Technical Litigation
                  We are uniquely staffed to handle complex technical litigation. In addition to
   legal training, a number of attorneys have degrees and experience in chemical, electrical,
   mechanical and biomedical engineering. Litigation cases involve patents, trademarks, trade
   secrets, copyrights, unfair competition and construction, as well as architectural and engineering
   malpractice.

   Environmental Litigation
                  We handle environmental cases involving current owner liability and third-party
   common law claims, plus cases under federal and state statutes such as the Federal Water
   Pollution Control Act, ECRA, the Spill Act, the Resource Conservation Recovery Act (as
   amended by the Hazardous and Solid Waste Amendments of 1984), the Clean Water Act, the
   Toxic Substances Control Act, the Comprehensive Environmental Response Compensation
   Liability Act of 1980 (as amended by the Superfund Amendment and Reauthorization Act of
   1986), and many others. We have attorneys expertly trained in environmental matters with a
   background uniquely suitable to rendering appropriate advice to our corporate and individual
   clients.
   Medical Malpractice Defense

                  Medical malpractice defense work is one of the busiest areas of our litigation
   practice. We represent a number of major health care institutions, and serve as primary defense
   counsel for insureds of major insurance companies. During our history, we have represented
   physicians, dentists, podiatrists, chiropractors, nurses, nurse midwives, and hospitals in a variety
   of complex litigated matters throughout the state courts.

   Intellectual Property Expertise

                  Carella, Byrne, Cecchi, Olstein, Brody & Agnello is nationally recognized in the
   fields of patent, trademark, copyright, unfair competition, trade secret law and antitrust law as
   applied domestically and internationally. We have broad technical expertise in chemical,
   mechanical and electrical engineering; physics; organic chemistry; biochemistry; commercial
   and industrial building construction, and road and bridge construction; sewage and waste
   management, including toxic and hazardous waste, radwaste and environmental control. A
   number of our partners and associates are registered to practice before the U.S. Patent and
   Trademark Office.




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  Carella, Byrne
                  Our particular litigation expertise is in U.S. District Courts and Circuit Courts of
   Appeal in California, Illinois, Texas, New York, Pennsylvania, Florida and New Jersey, as well
   as the Court of Appeals for the Federal Circuit.

                  We also maintain close ties with associate counsel in the United Kingdom, Japan,
   West Germany, Canada, Italy, France, Austria, Taiwan, Korea, Australia and the Peoples
   Republic of China. We have controlled and/or participated in patent and other intellectual
   property litigation in Japan, West Germany, the United Kingdom, Canada, Australia, New
   Zealand and Austria.

                                we offer many other intellectual property services, including
   licensing and preparation and prosecution of patent applications around the world.

   Corporate and Financial

                  Carella, Byrne, Cecchi, Olstein, Brody & Agnello provides all legal services
   involving the sale, purchase and reorganization of a business, including creation of corporations,
   partnerships and limited partnerships, mergers and acquisitions, public and private corporate
   financing, and representation in regulatory compliance cases.

   Banking

                  We have broad experience in commercial lending matters (secured and
   unsecured), representing both lenders and borrowers; and have counseled banks in all aspects of
   operations. We have represented institutions in both state and federal regulatory compliance, and
   in all phases of loan work-outs and financial restructurings. Our experience also extends to
   commercial litigation and foreclosures.

                  All too often, financial institutions face breach of both secured and unsecured
   loan agreements. So to help our clients preserve their banking relationships with their customers,
   we regularly handle work-
   multistate transactions involving construction, apartment complexes, warehouse lines of credit
   and inventory financing.

   Savings and Loan Conversions

                  We have helped savings and loan associations convert from mutual ownership to
   stock ownership. These include standard conversions, modified conversions, supervisory
   conversions and holding company formations. Services range from contract negotiation and
   completion, to regulatory authority application preparation and follow-up. And after conversion,
   we provide general counsel.

   Mergers and Acquisitions

                  Our firm has counseled corporate clients on mergers and acquisitions, with a
   special emphasis on the acquisition or divestiture of stand-alone businesses. Clients have
   included large corporations filling in product lines; small, privately held corporations which are


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  Carella, Byrne
   liquidating; and large corporate division managers involved in a management buy-out. We
   counsel clients on employee issues, environmental concerns, liability and contractual issues,
   regulatory matters and tax issues.



                  Our firm provides comprehensive legal expertise for clients involved in both
   corporate and individual insolvencies. We have represented corporate debtors-in-possession,
   corporate trustees, creditors committees and secured and priority parties in reorganizations and
   liquidations.

                   We have expertise in those areas impacting on current bankruptcies including tax
   (including ERISA), environmental (including state and federal regulations), labor, admiralty,
   intellectual property, general corporate transactions and commercial and corporate litigation.

   Public Finance
                 We are a nationally recognized Bond Counsel firm. This means that the
   investment community looks to us as an expert in public finance law, and that our approving
   legal opinions are relied on by investors as to the legality and enforceability of tax-exempt
   obligations.

                   We have served as Bond Counsel for the issuance of hundreds of millions of
   dollars of tax-exempt financings for municipalities and local, county and state authorities. And in
   this capacity, we have assisted in financing everything from the purchas
   system to the building of a resource recovery facility, to the repair of the Garden State Parkway.


   investment banking firms, and as general counsel to companies obtaining tax-exempt loans for
   industrial development.

   Class Action Litigation


   cases involving securities fraud, consumer fraud and antitrust.

          Takata Airbag Litigation

          Carella Byrne was appointed as                                                    in In
   re Takata Airbag Product Liability Litigation, MDL 2599, currently pending in the U.S. District
   Court for the Southern District of Florida. This litigation involves claims against Takata
   Corporation and related companies, and several automobile manufacturers, arising from
   exploding airbags installed in the vehicles.

          Orange Juice Litigation

         Carella Byrne is Co-Lead Counsel in two similar cases, In re Tropicana Orange Juice
   Marketing and Sales Practices Litigation, MDL 2415, pending in the U.S. District Court for the


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  Carella, Byrne
   District of New Jersey and In Re Simply Orange Orange Juice Marketing And Sales Practices
   Litigation, MDL No. 2361, pending in the U.S. District Court for the Western District of
   Missouri. In these cases, Plaintiffs allege that the respective manufacturers of orange juice
   labeled their juice as being all natural when, in fact, they added flavorings and other ingredients
   which were prohibited by applicable FDA regulations. These cases are ongoing.



         Carella Byrne was appointed as sole Lead Counsel in
   Marketing Practices Litigation, MDL 2415, pending in the U.S. District Court for the District of

   eliminating wrinkles when, in fact, the ingredients in the products are scientifically incapable of
   doing so. This litigation is ongoing.

          UCR Litigation


   Settlement Liaison Counsel in this litigation, which alleges that Aetna systematically underpaid
   out-of-network medical claims using the flawed Ingenix database. Generally, subscribers in
   health insurance plans receive reimbursement for out-of-

                                                       which health insurers used for calculating out-
   of-network reimbursement. Plaintiffs allege that the health insurers which used the Ingenix
   database for calculating reimbursement knowingly submitted artificially low data to the database,
   which, they, in turn, used to pay artificially low reimbursement for out-of-network services. In
   re Aetna UCR Litigation, Master Docket No. 07-3541(SRC).

          In a virtually identical case against CIGNA, Carella Byrne was appointed as Settlement
   Liaison Counsel. Franco v. Connecticut General Life Insurance, Master Docket No. 07-6039
   (SRC).

          Hertz Equipment Rental LDW Litigation

           Carella Byrne is Co-
   loss damage waiver and environmental recovery fee. In that litigation, the plaintiffs contend that
   those fees violate the New Jersey Consumer Fraud Act because the loss damage waiver provides
   no real benefit to customers and the environmental recovery fee has nothing to do with expenses
   related to environmental protection. Settlement in this matter received final approval on June 20,
   2013. Davis Landscape v. Hertz Equipment Rental Corporation, Civil Action No. 06-
   3830(DMC).

          In re Medco/Express Scripts Merger Litigation

           Carella Byrne was co-Interim Lead Counsel in this action, which challenged the $30
   billion proposed merger between Medco and Express Scripts, among the largest pharmacy
   benefit management companies in the country. The action challenged, among other things, the



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  Carella, Byrne
   $945 million break-up fee payable to Express Scripts in the event of an offer from another
   bidder.

          The settlement in this action, which was approved in April 2012, included a $300 million
   reduction in the breakup fee and certain additional disclosures in the proxy statements soliciting
   shareholder approval of the merger. In re Medco/Express Scripts Merger Litigation, Civil
   Action No. 11-4211(DMC).

          In re Effexor Antitrust Litigation


   alleges that Wyeth violated federal and state antitrust laws by fraudulently obtaining patents and
   filing sham patent infringement litigation to extend its monopoly on the brand-name drug
   Effexor XR, an anti-depressant drug which generates over $1 billion per year in revenues.
   Certain claims in this action are presently on appeal. In re Effexor XR Antitruxt Litigation, Civil
   Action No. 11-5661.

          In Re: Schering-Plough/Enhance Securities Class Action Litigation

          Carella Byrne filed the first case against Schering Corporation and was appointed to the
   leadership team as liaison counsel on behalf of the class in this securities fraud litigation related
   to misleading statements contained in public securities filings made by Schering-Plough
   Corporation related to the continued commercial viability of Vytorin and Zetia, while it was
   aware of the results of the Enhance study which questioned the effectiveness of both drugs.
   Settlements in this matter received final approval on October 1, 2013. In Re: Schering-
   Plough/Enhance Securities Litigation, Lead Case No. 08-397(DMC).

          In re: Merck & Co. Enhance Securities Class Action Litigation

           Carella Byrne has been appointed to the leadership team of the case as Liaison Counsel
   on behalf of the class in this securities fraud litigation related to misleading statements contained
   in public securities filings made by Merck & Co., Inc. related to the continued commercial
   viability of Vytorin and Zetia, while it was aware of the results of the Enhance study which
   questioned the effectiveness of both drugs. Settlements in this matter received final approval on
   October 1, 2013.                                                                                     ,
   Civil Action No. 08-2177 (DMC); Horowitz and Hoffmans v. Merck & Co., Inc., et al., Civil
   Action No. 08-2260 (DMC)

          Merck/Vioxx Securities Class Action

          In September 2006, Carella Byrne was appointed Co-Liaison Counsel for the class in the
   multi-billion dollar securities class action against Merck & Co. arising out of the withdrawal of
   the drug Vioxx from the market in 2004. The trial in this matter is anticipated to go forward in
   the Spring of 2016.                                                                             ,
   MDL No. 1658 (SRC).




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  Carella, Byrne
          Rail Fuel Surcharge Antitrust Class Action

           In May 2006 Carella Byrne, along with Quinn, Emmanuel, Urquhart Olvier & Hedges
   and others, filed the first nation-wide class action against the five major United States railroads
   alleging that they engaged in a price-fixing conspiracy through the use of inflated rail fuel
   surcharges, Dust Pro, Inc. v. CSX Transportation, Inc., et. al., Civil Action No. 07-2251 (DMC).
   This significant nationwide antitrust case (involving damages in the billions) has been
   consolidated by the Panel on Multi District Litigation in the District of Columbia with
   approximately 20 other complaints filed around the nation. Carella Byrne has been appointed to
   the five member Executive Committee who, along with two co-lead counsel, will lead this
   important case forward. In re Rail Freight Fuel Surcharge Antitrust Litigation, MDL No. 1969
   (PLF).

          Schering-Plough/Merck Merger Litigation

            Carella Byrne was appointed as Co-Class Counsel, out of 15 competing lawsuits, in
   litigation challenging the merger between Schering-Plough and Merck. As Co-Class Counsel,
   Carella Byrne was able to negotiate a settlement which provided for significant disclosures to
   shareholders for use in the vote on deciding whether to approve the merger. That settlement
   received final approval on April 16, 2010. In re Schering-Plough/Merck Merger Litigation,
   Civil Action No. 09-1099(DMC).

          In re Vytorin/Zetia Marketing, Sales Practices and Products Liability Litigation

          Carella Byrne filed the first complaint, and numerous follow up complaints, against
   Schering-Plough and Merck relating to their marketing of anti-cholesterol drugs Vytorin and
   Zetia after it was revealed that the companies had been concealing a significant study
   questioning the effectiveness of the drugs. The hundreds of cases filed across the nation were
   consolidated in the United States District Court for the District of New Jersey by the Judicial
   Panel for Multidistrict Litigation. Carella Byrne was appointed Co-Lead Class Counsel and
   achieved final approval of a $41.5 million settlement on behalf of consumers and third-party
   payors. In Re: Vytorin/Zetia Marketing, Sales Practices and Products Liability Litigation, MDL
   No. 1938 (DMC).

          KPMG Tax Shelter Litigation

          Carella Byrne was co-counsel for the class with respect to a class action entitled Marvin
   Simon, as Authorized Representative for The Marvin Simon Trust, as amended, for Palm
   Investors, LLC and for The Jeffrey Markman 1993 Irrevocable Trust, Marilyn Simon, Clause
   Harris, Ann Harris, Ben Simon, Heidi Simon, Britt Simon, Kim Fink, Amy Goldberg, Stefan
   Ressing, Individually and as Trustee of The S. Ressing 1999 Trust, Fitzroy Ventures, Llc,
   Michael Le, Individually and as Trustee of the ML Le 1999 Trust, and Mackenzie Ventures, LLC
   v. KPMG LLP and Sidley Austin Brown & Wood LLP, Civil Action No. 05-3189(DMC).

          The Simon class action involved allegations against KPMG, and the law firm of Sidley
   Austin Brown & Wood, stemming out of their role in the promotion of fraudulent off-shore tax



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  Carella, Byrne
   shelters. The case settled for approximately $200,000,000, and was approved by the United
   States District Court, District of New Jersey. Carella Byrne was instrumental in achieving this
   significant settlement over vigorous objections from certain class members. Indeed, to achieve
   the settlement three full days of plenary hearings were held before the District Court, where both
   fact witnesses and expert witnesses testified. Carella, Byrne handled all aspects of the plenary
   hearing.

          Exxon Dealer Class Action

          In 2005, Exxon and Class Counsel reached a settlement which required Exxon to pay
   $1,000,070,000 into a settlement fund which would then be utilized to pay claims submitted to a
   Special Master by over 10,000 class members. On behalf of the State of New Jersey, Carella
   Byrne participated in the settlement negotiations and assisted class counsel achieve an
   overwhelming victory for the class.



   the post-settlement claims administration process. That assignment was completed in 2013.
   Allapattah Services, Inc. v. Exxon Corporation, Case No. 91-0986-Civ-Gold.

          Wachovia ERISA Class Action

         Carella Byrne was Co-Lead Class Counsel on behalf of the class in Serio, et al. v.
   Wachovia Securities LLC, Civil Action No. 06-4681(DMC), which was brought on behalf of
   former Prudential Financial financial advisors and branch managers whose deferred
   compensation contributions were forfeited when they left employment with Wachovia Securities.


   Alternatively, the plaintiffs argued that they were constructively discharged as a result of adverse
   employment conditions which made it impossible for them to perform their jobs and, as a result,
   their accounts should not have been forfeited under the terms of the respective plans. The
   settlement in this matter was approved in March 2009.

          In re: Mercedes-Benz Tele-Aid Contract Litigation

           Carella Byrne was Co-Lead Counsel with two other firms on behalf of the class in this
   multidistrict litigation arising from Mercedes-               ued sales of analog Tele-Aid systems
   in its automobiles when it knew that FCC regulations required the discontinuance of all analog
   cellular communications as of February 2008. In this action, In re Mercedes-Benz Tele-Aid
   Contract Litigation, MDL No. 1914(DRD), the plaintiffs allege claims for consumer fraud and
   breach of warranty. The District Court certified a national consumer fraud and unjust enrichment
   class in 2009. The settlement of this case received final approval in September 2011.

          In Re Virgin Mobile USA IPO Litigation

          On November 21, 2007, Carella Byrne filed the first securities class action lawsuit



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  Carella, Byrne
   against Virgin Mobile USA alleging that Virgin created and distributed a materially false and
   misleading Registration Statement and Prospectus in connection with its October 2007 IPO.

           On March 18, 2008, Carella Byrne and its co-counsel were appointed Co-Lead Counsel
   for the Class by the United States District Court for the District of New Jersey. Final approval of
   the $19.5 million settlement in this matter was granted in December 2010. In Re: Virgin Mobile
   USA IPO Litigation, Lead Case No. 07-5619 (SDW).

          Internet Tax Class Actions

           This class action was filed in Florida of Monroe County and other Florida counties
   which charge occupancy taxes on hotel and motel rooms. The complaint alleges that the
   defendants, travel websites, paid occupancy taxes based upon on the wholesale prices they paid
   for hotel and motel rooms, rather than the retail prices paid by the customer. The suit seeks taxes
   on the difference between the wholesale and retail prices. Final approval of the $6.5 million
   settlement was granted in January 2011. The County of Monroe, Florida v. Priceline.com, Case
   No. 09-10004-CIV-MOORE/SIMONTON

          Johnson & Johnson

           Carella Byrne is Co-Lead Counsel in an action asserting shareholder derivative claims
   and is liaison counsel in separate securities fraud claims relating to allegations that Johnson &
   Johnson undertook several massive secret recalls of products, violated anti-kickback laws, and
   engaged in off-label marketing products which resulted in expenses and governmental fines of
   hundreds of millions of dollars. In re Johnson & Johnson Derivative Litigation¸ Civil Action
   No. 10-2033(FLW); Monk v. Johnson & Johnson, Civil Action No. 10-4841(FLW)

          Sprint ETF Action

          Carella Byrne was appointed as Co-Class Counsel for a nationwide class of individuals
   who were charged an early termination fee by Sprint Nextel. The Sprint ETF action settled for
   $17,500,000 in 2009 and the Court granted final approval of the settlement in this matter by way
   of Opinion and Order dated January 15, 2010. Sampang, et al. v. AT&T Mobility LLC, et al.,
   Civil Action No. 07-5324(JLL).

          T-Mobile ETF Action

          Carella Byrne was appointed as Co-Class Counsel for a nationwide class of individuals
   who were charged an early termination fee by T-Mobile. The Court granted final approval of the
   $12,500,000 settlement in this matter by way of Opinion and Order dated September 10, 2009.
   Milliron v. T-Mobile, Civil Action No. 08-4149(JLL).

          AT&T ETF Action

         Carella Byrne was appointed as Co-Class Counsel for a nationwide class of individuals
   who were charged an early termination fee by Cingular and AT&T. The action as settled for in



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  Carella, Byrne
   excess of $18,000,000 in 2009 and the Court final approval of the settlement by way of Order
   dated October 13, 2010. Sampang, et al. v. AT&T Mobility LLC, et al., Civil Action No. 07-
   5324(JLL).

   Patent Infringement Actions

           Carella Byrne is also representing numerous pharmaceutical companies in pending patent
   infringement actions. The majority of these actions arise under the Hatch-Waxman Act.
   Representative cases include: Aventis v. Teva Pharmaceutical, Civil Action No. 07-2454 (JAG)
   (Allegra); Schering v. Ivax Corporation, Civil Action No. 00-2931 (Claritin); Eli Lilly and
   Company v. Actiavis Elizabeth LLC et. al., Civil Action No. 07-770; Connetics v. Agis
   Industries, Civil Action No. 05-5038 (GEB) (Olux); Merck & Co. v. Apotex, Civil Action No.
   06-5789(MLC) (Trusopt); Janssen Pharmaceutica v. Apotex, Civil Action No. 06-1020(DMC)
   (risperidone); Cephalon v. Mylan Pharmaceuticals, et al., Civil Action No. 03-1394(JCL)
   (Provigil); Celgene Corp. v. Barr Laboratories, Civil Action No. 07-286(SDW)(Thalomid);
   Novartis Corp., et al. v. Lupin Ltd., Civil Action No. 06-5954(HAA); Savient Pharmaceuticals v.
   Sandoz, et al., Civil Action No. 0605782(PGS) (oxandrolone).

   Trusteeship/Receiverships

           In addition to these ongoing matters, Carella Byrne previously was appointed
   Trustee/Receiver by the United States District Court, District of New Jersey, in connection with
   securities law violations by Eddie Antar, founder of the defunct consumer electronics chain
   Crazy Eddie, Securities and Exchange Commission v. Eddie Antar et al., Civil Action No. 89-
   3773 (JCL).

          The Antar Receivership required Carella Byrne to work with the Securities and Exchange

   Switzerland, Canada, Liechtenstein and Israel, in an effort to repatriate and recover millions of
   dollars in illegally obtained assets which Mr. Antar had diverted from the Crazy Eddie chain.

           In its capacity as Trustee/Receiver, Carella Byrne recovered over $80,000,000, which
                                                      reported that the Antar case represented the
   largest asset recovery in a contested case as of that time. The investment of the assets fully
   funded all expenses of the receivership and contributed a substantial amount to the settlement
   fund, even though the receivership extended from 1990 to 2005.

           In addition to its other responsibilities Carella Byrne undertook administration of the
   settlement fund, including addressing tax and lien issues on behalf of the funds and harmed
   investors, participating in obtaining a tax exempt ruling on fund income from the New Jersey
   Division of Taxation, and working closely with the claims administrator and the SEC. Notably,
   in the claims evaluation and payment process, Carella Byrne personally reviewed and evaluated
   each claim for payment or denial of payment, and communicated the decisions to investors, the
   SEC and the Court, and appeared in response to any objection or appeal of the claims decisions,
   none of which was reversed or modified. Carella Byrne also oversaw the distribution process
   consisting of payments of thousands of checks to investors in a two-tier distribution process



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  Carella, Byrne
   administered by the claims administrator and the bank. Finally, investor contact information was
   maintained and updated for future distributions in a related case.

          Carella Byrne appeared for the bankruptcy trustee in In Re Robert E. Brennan, Debtor,
   Case No. 95-35502(KCF) and Conway v. Pirates Associates et al., Adv. Pro. No. 98-3245(KCF).
   The Brennan matter arose out of claims by the SEC against Robert Brennan, formerly of First
   Jersey Securities, for securities law violations. Litigation was pursued in various domestic and
   foreign jurisdictions for the recovery of assets. We were successful in identifying and piercing
   various off-shore trusts and recovering millions of dollars for the bankruptcy estate, which was


           Carella Byrne has also appeared either as trustee, receiver or counsel in: Federal Trade
   Commission v. Oak Tree Numismatics, et al. (D.N.J.) (control and operation of a rare coin dealer,
   distributions to customers, and turn-back of the enterprise to the defendants without exception);
   United States v. Sheelan (D.N.J.) (liquidation of Rule 144 restricted stock as restitution); Harvey,
   Attorney General v. Clover Merchant Group et al.(Superior Court of New Jersey, Essex County
   Chancery Division) (equitable receivership for fraudulent securities dealer).

          Carella Byrne attorneys have also advised and represented clients with respect to
   numerous antitrust issues relating to restraint of trade, price fixing and monopolization, both in
   court and in connection with FTC investigations. Those cases include: Biovail Corporation
   International v. Hoechst AG, 49 F.Supp.2d 750 (D.N.J. 1999); Grace Consulting, Inc. v. Geac
   Computer Systems, Inc. et al., Civil Action No. 02-1252(KSH)(D.N.J.) and Golden Bridge
   Technologies v. Nokia, et al., Docket No. 2:05-CV-170 (E.D.Tex).

   REAL ESTATE, LAND USE AND RESORT DEVELOPMENT

                   The Firm handles all aspects of transactions involving residential, commercial and
   industrial properties for both corporate and individual clients. Such transactions involve the
   preparation and review of real estate and financial documentation, environmental matters, land
   use regulations, and other related matters. Condominium transactions, including the formation of
   the condominium project and its approval by the regulatory authorities, and the preparation of
   the registration statement are included within this area.

                  The Fi
   developer of Planning Board Applications, and the appearance before such Boards in connection
   with applications for subdivisions, variances and site plans. In this connection, the Firm works

   traffic.

                 The Firm has been engaged in extensive litigation in real estate and related
   environmental matters, and has both represented and opposed major title companies in complex
   litigation.

   Regulatory Practice




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  Carella, Byrne
                   Carella, Byrne, Cecchi, Olstein, Brody & Agnello is uniquely qualified to guide
   its clients through the proliferation of governmental regulation in a number of different areas of
   the law, from the regulation of casinos, to hospitals, from resource recovery facilities to public
   utilities.

   Health Care Law


   other health care delivery systems must keep pace with technological advances and changes in
   law and insurance. We do.

                   Currently we represent and advise a variety of health care clients, from
   rehabilitation facilities and nursing homes to general acute care hospitals. And our primary
   concern is to help each organization achieve workable solutions to operational problems. To
   accomplish this, we identify problems and then offer both short- and long-term recommendations
   to prevent exposure to legal and financial risks. Most importantly, we provide up-to-date
   knowledge in a constantly changing regulatory system.


   requirement correction; risk management review; and efficient, effective management plan
   development. And we do it all with a sensitive approach t

                  We have extensive experience representing fiscally distressed hospitals in turn
   around situations. Our team of experts provides needed direction in the areas of affiliation,
   corporate restructuring, general workouts, and vendor negotiations, while overseeing crucial day-
   to-day financial and system operations.

   Public Utilities
                  Our firm has a well-earned reputation for excellence in litigation and negotiation
   of public utility matters, with special emphasis on rate applications, alternative energy and
   cogeneration projects, solid waste litigation, and utility-related public issue negotiation.


   resource recovery facilities; we have served as senior counsel in numerous cases before the
   Board of Public Utilities; and we have worked with major investment banks to provide financing
   for utility and cogeneration projects.

   Environmental Law

                   We have a broad range of experience in guiding clients through the increasingly
   complex web of federal and state laws designed to clean up and preserve the environment. We
   offer counsel on compliance with all government statutes and regulations, as well as their
   application to commercial and real estate transactions. We can help businesses obtain the needed
   air, water and waste permits. And our litigation attorneys have extensive trial and appellate
   experience in a variety of cases, including toxic tort, hazardous waste, products liability,
   insurance law, and more.



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  Carella, Byrne
   Tax

                   Our firm has sophisticated experience in New Jersey State tax matters. We
   represent multi-national and multi-state corporations in planning, compliance, and litigation
   cases involving corporate income tax, sales and use tax, and other state and local taxes, including
   property taxes. We also provide services in federal, corporation, partnership, individual and non-
   profit association tax matters. This includes providing representation before the U.S. Tax Court
   and Administrative offices of the IRS.

   Labor Relations

                  Carella, Byrne, Cecchi, Olstein, Brody & Agnello handle all aspects of labor
   relations matters in the public and private sectors. Our labor relations practice encompasses
   representation of management in collective bargaining negotiations, including preparation of

   and preparation and finalization of negotiated collective bargaining agreements. In addition, we
   represent management in the public and private sectors in grievance, disciplinary and binding
   arbitration proceedings.

                 We also have extensive experience in handling matters before the New Jersey
   Public Employment Relations Commission and the National Labor Relations Board and in
   representing management in labor related litigation in both the state and federal courts.

   Government Affairs

                  Recognizing the need for both adversarial and negotiation excellence in the
   modern government arena, Carella, Byrne, Cecchi, Olstein, Brody & Agnello has developed an
   extensive public issues practice. Our members have testified before Congress, State Legislatures,
   plus state, county and local governmental and regulatory agencies. To help us retain our
   leadership role, we are active in a public policy consortium -- the State Capital Law Firm Group
   -- working within a network of prestigious firms located in every state and throughout the world.

                  We first work to help our clients focus their concerns, then to develop strategies
   for implementing their proposals, and finally to act as their representative in every forum of
   public policy development.

                   With a strong emphasis on administrative law proceedings and municipal law, we
   have been successful in representing major national clients in government-related matters. This
   strength enables us to provide full-service public policy programs for clients, ranging from
   specific issue representation to integrated crisis management.

   International Law

                  Carella, Byrne, Cecchi, Olstein, Brody & Agnello has valuable expertise in
   various aspects of international law.




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  Carella, Byrne
                 Areas of note include airline transportation and trademark litigation involving
   gray market or parallel imports. Our foreign litigation experience is in the United Kingdom,
   Canada, Japan, West Germany, Austria, Australia, New Zealand and Italy.

                   The firm has particular expertise in taking foreign discovery for use in domestic
   litigation under the Hague Convention as well as Consular Treatises. Additionally, we have
   special expertise in the international overreach of the U.S. Antitrust Laws and the international
   transfer of technology. To accomplish this, we maintain a close working relationship with
   associate counsel in many foreign countries. These firms have special competence in dealing
   with economic and financial issues, both in their own countries and in regional economic blocks
   in their region, such as the Common Market.

                  In connection with our intellectual property law expertise, we file and prosecute
   patent and trademark applications throughout the world, including the European Patent. And we
   handle the sale and licensing of technology and trademarks.




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  Carella, Byrne

                                             PARTNERS

                                     CHARLES C. CARELLA
                                    CCCarella@CarellaByrne.com

           CHARLES C. CARELLA has been a member of Carella, Byrne, Cecchi, Olstein, Brody
   & Agnello since 1976 and is Chairman of the Executive Committee. He has extensive experience
   in many areas of corporate practice, including mergers and acquisitions, bank finance, both state
   and federal administrative matters, plus environmental and solid waste matters. He has appeared
   on numerous occasions before the Board of Public Utilities in all forms of utility matters, and has
   served as a Trustee/Receiver in matters initiated by the Federal Trade Commission, Securities
   and Exchange Commission, the Federal District Court for the District of New Jersey and has
   served as Provisional Director upon appointment by the Superior Court of the State of New
   Jersey, Chancery Division.

          Mr. Carella graduated from Fordham University with a B.S. degree in 1955 (Cum Laude)
   and received an LL.B. degree from Rutgers University in 1958. He was admitted to the New
   Jersey Bar in 1959 and the New York Bar in 1983.

           He has served as an Assistant Prosecutor as well as Special Prosecutor of Essex County;
   Director of the New Jersey State Lottery Commission, Executive Secretary to the Governor,
   State of New Jersey, 1975-1976; Member of the Ethical Standards Commission for the State of
   New Jersey; as well as Chairman, New Jersey State Racing Commission, 1976-1980. He has
   served as Chief Counsel to the Passaic Valley Sewerage Commissioners.

          Mr. Carella is a member of the Essex County, New Jersey State, New York State and
   American Bar Associations, the Association of Trial Lawyers of America, and the American
   Judicature Society. He is a member of the Finance Board of the Archdiocese of Newark, and a
   Trustee Fellow of Fordham University. He was formerly Chairman of the Board of Trustees of
   The University of Medicine and Dentistry of New Jersey; a member of the Board of Trustees of
   Robert Wood Johnson University Hospital; a member of the Board of Trustees of University
   Health System of New Jersey; a member of the Board of Bally Gaming International, Inc., and a
   member of The Board of Carteret Savings Bank.

          Mr. Carella has been named to                         an Law.

                                       BRENDAN T. BYRNE
                                      BByrne@CarellaByrne.com
          BRENDAN T. BYRNE graduated from Princeton University with an A.B. degree in
   1949 and received an LL.B. degree from Harvard Law School in 1950.

          He served as Prosecutor of Essex County, New Jersey; as President of the New Jersey
   Public Utility Commission; as Assignment Judge of the New Jersey Superior Court; and then as
   Governor of New Jersey from 1974-1982.

         Mr. Byrne is a former Vice President of the National Dist
   Chairman of the National Commission on Criminal Justice Standards and Goals; Chairman,


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  Carella, Byrne
   National Governors Association on International Trade; and trustee of Princeton University. He
   is an Editor of the New Jersey Law Journal and of Irish Law Reports; and former Chairman of
   the Princeton University Council on New Jersey Affairs and United States Marshals Foundation.
   He is a former member of the Board of Directors of Mack Cali Realty and Chelsea GCA.

          Mr. Byrne was a member of the Board of Directors of Prudential Insurance Company of
   America, New Jersey Bell Telephone Company, Elizabethtown Water Company, Jamesway
   Corporation, Ingersoll-Rand and served as a Commissioner of the New Jersey Sports and
   Exposition Authority. He was litigation counsel to Carvel Corp. and Witco Corporation.

                                         JAMES E. CECCHI
                                      JCecchi@CarellaByrne.com

           JAMES E. CECCHI
   complex civil and chancery litigation in federal and state court as well as the prosecutor of
   complex federal class actions involving claims arising under federal securities laws, consumer
   protection laws and antitrust laws. Mr. Cecchi personally handled on behalf of the firm the
   Exxon class action litigation, Merck Securities litigation, KPMG class action litigation and is
   currently prosecuting securities class actions, antitrust class actions and numerous consumer
   fraud class actions on behalf of the firm. Mr. Cecchi joined the firm in 1994 after serving in the
   United States Department of Justice as an Assistant United States Attorney for the District of
   New Jersey. In that capacity, Mr. Cecchi participated in numerous significant criminal
   prosecutions involving money laundering, narcotics smuggling and violations of federal firearms
   laws.

          Mr. Cecchi graduated from Colgate University in 1989 with honors, majoring in History
   and Political Science. Mr. Cecchi was Executive Editor of the Colgate News. In 1989 he
   graduated from Fordham University School of Law and was a member of the International Law
   Journal. Mr. Cecchi served as Law Clerk to the Honorable Nicholas H. Politan in the United
   States District Court, District of New Jersey from 1989-1991. He is a member of the Federal,
   New Jersey State, Essex County and Bergen County Bar Associations.

                                      ELLIOT M. OLSTEIN
                                     EOlstein@CarellaByrne.com

           ELLIOT M. OLSTEIN, a member of the Executive Committee, has broad experience in
   intellectual property law including securing patent protection; licensing of technical information
   and patents; infringement and validity opinions; evaluating intellectual property rights for
   investors; and intellectual property litigation. His particular areas of expertise include chemical
   and biochemical inventions with particular emphasis on their medical applications.

          He also has experience in corporate law and business financing, including venture capital
   financing, with specific emphasis on technically-oriented business.

           Mr. Olstein graduated from Columbia College and Columbia School of Engineering,
   receiving an A.B. Degree in 1960 and a B.S.Ch.E. in 1961. He received a J.D. Degree from



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  Carella, Byrne
   Georgetown University Law Center in 1965 and an LL.M. in taxation from New York
   University.

           Mr. Olstein served for three years as Chairman of the Patents, Trademarks, Copyrights
   and Unfair Competition Section of the New Jersey Bar Association and is admitted to practice in
   the States of New Jersey, New York, and Virginia.

                                       JAN ALAN BRODY
                                     JBrody@CarellaByrne.com

           JAN ALAN BRODY a member of the Executive Committee, became associated with
   the firm of Cecchi & Politan in 1976. He became a partner in 1982 and, in 1987, the firm name
   was changed to Cecchi, Brody & Agnello when partner Nicholas H. Politan became a United
   States District Court Judge.

           Mr. Brody graduated from Boston University cum laude in 1973 with an A.B. degree in
   political science. In 1976, he graduated Boston University Law School with a Juris Doctor
   degree. He has had extensive experience in complex civil and chancery litigation and has a
   substantial family law practice.
          He is a member of the American, New Jersey State, and Bergen County Bar
   Associations. He has also served as counsel for the Fort Lee Planning Board and as a Standing
   Master appointed by the United States District Court for the District of New Jersey.

                                      JOHN M. AGNELLO
                                    JAgnello@CarellaByrne.com

          JOHN M. AGNELLO joined the firm of Cecchi and Politan in 1979. In 1983, he

   to Cecchi, Brody & Agnello after Nicholas H. Politan became a U.S. District Court Judge.
   Cecchi, Brody and Agnello merged with Carella, Byrne in 1990 at which time Mr. Agnello
   became a partner in Carella, Byrne.

            Mr. Agnello graduated from Stevens Institute of Technology in 1975 receiving a B.E.
   with Honor in mechanical engineering. In 1979, he graduated from Seton Hall University School
   of Law receiving a J.D., Cum Laude. He has extensive experience in complex commercial
   litigation with particular emphasis on environmental, insurance coverage, ERISA and
   construction cases. Additionally, he has a substantial labor practice representing management
   (both public and private) in collective bargaining negotiations, labor mediation and arbitration
   proceedings, as well as actions before the National Labor Relations Board and the New Jersey
   Public Employment Relations Commission. Mr. Agnello also represents ERISA Pension and
   Welfare Funds.

          He is a member of the American, Federal, New Jersey State, and Bergen County Bar
   Associations.




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   Carella, Byrne
                                     CHARLES M. CARELLA
                                    CMCarella@CarellaByrne.com

          CHARLES M. CARELLA is experienced in general counsel law, municipal law,

   He received his B.S. in mechanical engineering from Lehigh University in 1979 and his M.B.A.
   from Iona C
   Fordham University School of Law in 1989. He is admitted to the Bars of the State of New
   Jersey; The United States District Court for the District of New Jersey; the State of New York;
   and the United States District Courts for the Southern and Eastern Districts of New York. He is a
   member of the New Jersey State and New York Bar Associations. He is currently outside
   General Counsel for the Archdiocese of Newark and is a member of the Professionals Group
   Advisory Council for Valley National Bank. He was formerly Township Attorney for the
   Township of Nutley, New Jersey, 1996. He formerly served as a member of the Board of
   Trustees of Caldwell College and a member of the Board of Governors of the CYO Youth
   Ministries of the Archdiocese of Newark, New Jersey.

                                      LINDSEY H. TAYLOR
                                     LTaylor@CarellaByrne.com

           LINDSEY H. TAYLOR, specializes in complex commercial litigation in federal court.
   He gr
   Chapel Hill in 1983 and a juris doctor degree in 1986. He joined Carella, Byrne, Cecchi, Olstein,
   Brody & Agnello as of counsel in 2002 and became a partner in 2008. He is admitted to the bars
   of the States of New Jersey and New York, the District of Columbia, and the United States
   District Courts for the District of New Jersey, Southern and Eastern Districts of New York, and
   the Eastern District of Michigan, the United States Courts of Appeal for the Second, Third, and
   Sixth Circuits, and the United States Supreme Court. Reported cases: In re Suprema Specialties,
   285 Fed.Appx. 782 (2d Cir. 2008)(whether N.J. Affidavit of Merit Statute applied to malpractice
   claim brought by N.Y. bankruptcy trustee against NJ based accountants); Thoroughbred
   Software International, Inc. v. Dice Corp., 488 F.3d 352 (6th Cir. 2007)
   in part 439 F.Supp.2d 758 (E.D.Mich. 2006) on remand 529 F.Supp.2d 800 (E.D.Mich.
   2007)(copyright infringement of computer software); Yuen v. Bank of China, 151 Fed.Appx. 106
   (3d Cir. 2005)(whether NJ or NY law applied to oral settlement agreement); Aetna Casualty and
   Surety Co. v. Aniero Concrete Co., 404 F.3d 566 (2d Cir. 2005)(whether construction contract
   was valid because of a failure to satisfy a condition precedent and remedies if there was no valid
   contract); Lucent Information Management, Inc. v. Lucent Technologies, Inc., 186 F.3d 311 (3d
                                                 is necessary to obtain trademark protection); Circle
   Industries USA, Inc. v. Parke Construction Group, Inc., 183 F.3d 105 (2d Cir.) cert. denied 120
   S.Ct. 616 (1999)(what is the citizenship for diversity purposes for corporation which has ceased
   doing business); Brown v. Grabowski, 922 F.2d 1097 (3d Cir. 1990), cert. denied 111 S.Ct. 2827
   (1991)(civil rights claim relating to right to protection); Hall v. AT&T Mobility, 608 F.Supp.2d
   592 (D.N.J. 2009)(enforceability of class action waiver in arbitration clause); In re Mercedes-
   Benz TeleAid Contract Litigation, 257 F.R.D. 46 (D.N.J. 2009)(class certification of 50 state
   consumer fraud class); Harper v. LG Electronics, Inc., 595 F.Supp.2d 486 (D.N.J. 2009)(motion
   to dismiss consumer fraud class action); Coppolino v. Total Call International, 588 F.Supp.2d
   594 (D.N.J. 2008)(whether prior settlement was entitled to Full Faith and Credit); Waudby v.


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   Carella, Byrne
   Verizon Wireless Services LLC, 228 F.R.D. 173 (D.N.J. 2008)(motion to intervene and
   appointment of class counsel); In re Gabepentin Patent Litigation, 395 F.Supp.2d 175 (D.N.J.
   2005)(motion for summary judgment in Hatch-Waxman patent infringement case); Euro-Pro
   Corporation v. TriStar Products, 172 F.Supp.2d 567 (D.N.J. 2001)(whether shape of hand-held
   vacuum had acquired secondary meaning for trademark protection); Biovail Corporation
   International v. Hoechst AG, 49 F.Supp.2d 750 (D.N.J. 1999)(antitrust claim related to
   settlement agreement to pay generic drug maker to keep product off the market); Broadcast
   Music, Inc. v. 84-88 Broadway, Inc., 942 F.Supp. 225 (D.N.J. 1996)(copyright infringement);
   Broadcast Music, Inc. v. DeGallo, Inc., 872 F. Supp. 167 (D.N.J. 1995)(copyright infringement);
   Lifschultz Fast Freight v. Rainbow Shops, 805 F.Supp. 1119; 784 F.Supp. 89 (S.D.N.Y.
   1992)(claims relating to negotiated freight charges made in excess of published tariffs); McGill
   v. Mountainside Police Dept., 720 F.Supp. 418 (D.N.J. 1989)(civil rights claims); In Re Sound
   Radio, Inc., 145 B.R. 193 (Bankr., D.N.J. 1992)(motions to pay professional fees from
   bankruptcy estate); In Re Prestegaard, 139 B.R. 117 (Bankr., S.D.N.Y. 1992)(extent to which
   homestead exemption can avoid mortgage); Unanue v. Rennert, 39 A.D.2d 289, 831 N.Y.S.2d
   904 (1st Dept. 2007)(appeal of sua sponte order); Downs v. Yuen, 298 A.D.2d 177, 748 N.Y.S.2d
   131 (1st Dept. 2002)(enforceability of Hong Kong divorce decree under international comity);
   Velazquez v. Jiminez, 336 N.J.Super. 10 (App.Div. 2000)(whether Good Samaritan statute
   applies to physician responding to emergency in the hospital); Conestoga Title Insurance Co. v.
   Premier Title Agency, 328 N.J.Super. 460 (App.Div. 2000)(whether corporation can make
   fidelity bond claim for thefts by sole owner of corporation); Citibank v. Errico, 251 N.J.Super.
   236 (App. Div. 1991)(whether NJ or NY law applies to deficiency judgment on defaulted
                                                              New Jersey Federal Civil Procedure,
                                                                                                are
                   Metropolitan Corporate Counsel,
                                                                                               New
   Jersey Law Journal,
   OT Practice,                                           -                 OT Practice, December

   Legal Malpractice Conference, sponsored by ABA Standing Commi
                                          -Help in 2000: How a business can do its own Y2K
                                                                                New Jersey
   Law Journal,                                        of Software: A Trap for the Unwary


   Continuing Legal Education, October, 15
   Intellectual Property Summit, New Jersey Institute For Continuing Legal Education, May 2,

                                                 8, 1995. Practice areas: Commercial Litigation;
   Intellectual Property Litigation; Bankruptcy. Mr. Taylor was a merit selection to the 2005, 2008,


                                        JAMES T. BYERS
                                     JByers@CarellaByrne.com

          JAMES T. BYERS has been a member of Carella, Byrne, Cecchi, Olstein, Brody &
   Agnello since 1981 and during that time has been engaged in general corporate, real estate and


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   Carella, Byrne
   banking law and tax exempt bond financing. He has broad expertise in many areas of corporate
   practice, including real estate and asset based lending, mergers and acquisitions, purchase and
   sale of real estate and corporate counseling; and as Bond Counsel in connection with the
   issuance of tax exempt bonds. Mr. Byers graduated from Rutgers College with an A.B. degree in
   1974 and received a J.D. degree from George Washington University in 1979. He has lectured
   and participated in panel discussions on financing and banking law subjects. He is a member of
   the American and New Jersey State Bar Associations and a member of the National Association
   of Bond Lawyers.

                                     DONALD F. MICELI
                                    DMiceli@CarellaByrne.com
           DONALD F. MICELI specializes in financial matters including federal income taxation,
   state and real property taxation, taxation litigation and rate making matters before the New
   Jersey Board of Public Utilities. His practice also includes the representation of developers
   before local planning boards. He received a B.A. degree from Seton Hall University, an LL.B.
   degree from Rutgers University, and an LL.M. degree from New York University. He is
   admitted to the bar of the State of New Jersey and the United States Tax Court. Mr. Miceli has
   served as Assistant Corporation Counsel, City of Newark, and as Tax Consultant to the Essex
   County Board of Taxation.

                                      A. RICHARD ROSS
                                     RRoss@CarellaByrne.com

           A. RICHARD ROSS is a member of the Litigation and Corporate Departments of the
   Firm. He has broad experience in complex litigation, corporate, securities, tort and banking
   matters. Mr. Ross is particularly experienced in international matters including asset recovery
   and transnational commercial ventures. He also has extensive experience in equity practice and
   equitable receiverships, and has engaged in a wide range of real estate, trust and estates and
   commercial loan transactions. Mr. Ross graduated with a B.A. degree from Reed College in
   1972, and received a J.D. degree from New York Law School in 1977. He served as a Staff
   Attorney in the Office of the President, New Jersey Civil Service Commission in 1977, and in
   the Office of Legal Counsel, New Jersey Supreme Court from 1978-1982, where he also served
   as an ex-officio member of the Supreme Court Committee on Civil Practice. He is a member of
   the New Jersey Supreme Court and District Ethics Committee, New Jersey State Bar Association
   and the American Bar Association (member of the International, Litigation, Business Law, Tort
   and Insurance and Real Estate, Property and Probate Sections). Mr. Ross has numerous reported
   decisions including SEC v. Antar, 831 F. Supp. 380 (D.N.J. 1993),                   54 F. 3d 770
   (3d Cir. 1995);                                                                   , 722 F. Supp.
   152 (D.N.J. 1989); and Reinfeld Inc. v. Schieffelin & Co., 94 N.J.(1984). Mr. Ross was a merit


                                   CARL R. WOODWARD III
                                  CWoodward@CarellaByrne.com

          CARL R. WOODWARD III is experienced in environmental law, municipal law,
   zoning and planning, real estate, insurance, personal injury and general civil litigation. He


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   Carella, Byrne
   received a B .A. degree, Rutgers University, 1965, and a J.D. degree, Rutgers University of Law,
   Newark, New Jersey, 1968. He served as Captain, United States Army, 1969-1971. Mr.
   Woodward was Law Secretary to the Honorable Baruch S. Seidman, Superior Court of New
   Jersey, Chancery Division. He served as Assistant United States Attorney, District of New
   Jersey, Chief, Environmental Protection Division, 197 1-1978. He is Township Attorney,
   Township of Chatham, 1992-present, Attorney, Borough of New Providence 1995-present, and
   Township Attorney, Township of Cranford 2007. He was formerly Attorney, Chatham Township
   Board of Adjustment, 1979-1992 and Attorney, Borough of New Providence Planning Board
   1986-1994. He was Adjunct Professor of Law, Seton Hall University School of Law in 1985;
   President of the Rutgers Alumni Association from 1984-1985; and Trustee of Rutgers University
   from 1985-1991. He currently serves as a Trustee of the New Jersey Institute of Local
   Government Attorneys. He is a member of the American Bar Association, New Jersey State Bar
   Association, and Morris County Bar Association.

                                      MELISSA E. FLAX
                                     MFlax@CarellaByrne.com

          MELISSA E. FLAX is a member of the Litigation Department of the firm. She received
   an A.B. Degree from the University of Michigan; American University, London, England and a
   J.D. Degree from Loyola University where she was a member of Loyola University Law
   Review. Ms. Flax served as a Law Clerk from 1992-1993 to Hon. Julio M. Fuentes, Superior
   Court of New Jersey, Essex County. She is a member of New Jersey State and New York State
   Bar Associations.

                                    DAVID G. GILFILLAN
                                   DGilfillan@CarellaByrne.com

          DAVID G. GILFILLAN, born Washington, D.C., April 23, 1966; admitted to bar, 1993,
   New Jersey and U.S. District Court, District of New Jersey. Education: Boston College (B.A.,
   1988); Seton Hall University (J.D., 1993). Member, Worrall F. Mountain Inn of Court. Reported
   Cases: Handy & Harmon, et al v. Borough of Park Ridge, 302 N.J. Super. 558 (App. Div. 1997).

                                 G. GLENNON TROUBLEFIELD
                                 GTroublefield@CarellaByrne.com

          G. GLENNON TROUBLEFIELD, born Belleville, New Jersey, October 3, 1966;
   admitted to bar, 1991, New Jersey and U.S. District Court, District of New Jersey; 1992,
   Pennsylvania and U.S. District Court, Eastern District of Pennsylvania; registered to practice
   before U.S. Patent and Trademark Office. Education: University of Pittsburgh (B.S.M.E., 1988);
   Seton Hall University (J.D., 1991). Law Clerk to Honorable Virginia A. Long, Judge, New
   Jersey Superior Court, Appellate Division, 1991-1992. Member, 1989-1990, Articles Editor,
   1990-1991, Seton Hall Legislative Law Journal. Member: New Jersey State, Garden State and
   American Bar Associations. Practice Areas: Patents; Trademarks; Copyrights; Unfair
   Competition; Intellectual Property Litigation.




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   Carella, Byrne


                                       BRIAN H. FENLON
                                     BFenlon@CarellaByrne.com

          BRIAN H. FENLON, born New York, N.Y., October 30, 1962; admitted to bar, 1987,
   New Jersey and U.S. District Court, District of New Jersey. Education: Muhlenberg College
   (A.B., 1984); Seton Hall University (J.D., 1987). Phi Alpha Theta. Member: Morris County and
   Essex County Bar Associations; Worral F. Mountain Inns of Court.


                                    CAROLINE F. BARTLETT
                                    CBartlett@CarellaByrne.com

           CAROLINE F. BARTLETT is a member of the litigation department of the firm. Ms.
   Bartlett received an A.B. Degree from Barnard College, Columbia University and a J.D. Degree
   magna cum laude from Seton Hall University School of Law where she received the Raymond
   Del Tufo Award and the Chicago Title Insurance Award for academic excellence in
   Constitutional Law and Real Property, respectively. During law school, Ms. Bartlett served as
   an articles editor for the Seton Hall Law Review. Before entering private practice, Ms. Bartlett
   was a judicial clerk for the Honorable Michael A. Chagares of the U.S. Court of Appeals for the
   Third Circuit and the Honorable John C. Lifland, U.S.D.J., and the Honorable Madeline Cox
   Arleo, U.S.M.J., of the U.S. District Court for the District of New Jersey. Prior to joining this
   firm, Ms. Bartlett engaged in commercial litigation, products liability and mass tort defense at
   the law firm of Patton Boggs LLP. Ms. Bartlett is active in the community and currently serves
   as a Director of the Federal Historical Society of the New Jersey District Court and has served on
   the executive boards of several non-profit organizations. She is admitted to practice in New
   Jersey and the District of Columbia




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   Carella, Byrne



                                            OF COUNSEL

                  RICHARD K. MATANLE has broad experience in real estate, banking, general
   contract and business matters as well as commercial litigation. Within these fields of
   concentration, he has extensive experience in commercial lending and real estate transactions,
   including commercial real property leasing. His commercial loan transaction experience includes

   University of New York at Buffalo and a J.D. degree from Hofstra University School of Law.
   Mr. Matanle was previously Associate Counsel with the Chase Manhattan Bank, N.A. and a
   partner in the law firm of Blackburn, Rice and Matanle. He also served as counsel with the
   Federal Deposit Insurance Corporation. He is admitted to the Bars of the State of New Jersey and
   New York and to the Bars of the United States District Courts in both States.


                 DONALD S. BROOKS received a B.A. degree from Columbia College and an
   LLB degree from Columbia University Law School. He served as a Trial Attorney with the
   National Labor Relations Board and immediately prior to joining Carella, Byrne, he was Senior
   Counsel for Merck & Co., Inc. During his twenty-seven-year career with Merck, Mr. Brooks
   coordinated a wide variety of general corporate work for the company, including negotiations
   and preparation of contracts, regulatory compliance and worldwide labor relations activities.

   activities, including planning, negotiations and drafting licensing agreements, strategic alliances
   and joint as well as marketing, distribution, supply and research related agreements. Mr. Brooks
   has also served as a U.S. delegate to the International Labor Organization in Geneva,
   Switzerland. He is a member of the New Jersey and Pennsylvania Bar Association and has
   served as Chairman of the Corporate Law Section of the New Jersey Bar Association. Mr.
   Brooks is also a member of the New York Bar and has published articles on labor relations, joint
   ventures and training and development in corporate law departments.

                  FRANCIS C. HAND, born New York, N.Y.; admitted to bar, 1964, District of
   Columbia; 1965, New York; 1971, New Jersey; registered to practice before U.S. Patent and
   Trademark Office. Education: Manhattan College (B.C.E.); Georgetown University (J.D.).
   Arbitrator, American Arbitration Association. Member: New York State, New Jersey State and
   American Bar Associations; The District of Columbia Bar. Mr. Hand was previously a partner in
   the patent law firm of Kenyon & Kenyon for twenty years and presently represents domestic and
   foreign corporations in the prosecution of patents and trademarks and the litigation of patents in
   the federal courts. Practice Areas: Patents; Trademarks; Licensing; Litigation.

                AVRAM S. EULE, born Newark, New Jersey, April 9, 1948; admitted to bar,
   1971, New Jersey and U.S. District Court, District of New Jersey; 1986, U.S. Supreme Court.
   Education: Rutgers University (A.B., 1968); University of Oklahoma (J.D., 1971). Phi Alpha
   Delta. Member, Board of Governors, Rutgers Alumni Federation, 1974-1978. Board of Trustees,
   Temple Beth Am, 1989-1994; Task Forces, United Jewish Federation of MetroWest, 1992-1998.
   Member: American Bar Association. Reported Cases: Dienco, Inc. v. Security National Bank of
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   Carella, Byrne
   New Jersey, 221 N.J.Super. 438 (App. Div. 1987). Practice Areas: Transactional Law; Real
   Estate Law; Commercial Litigation; Corporate Law; Loan Workouts.

                  RAYMOND W. FISHER, born Newark, New Jersey, June 8, 1949; admitted to
   bar, 1975, New Jersey and U.S. District Court, District Court of New Jersey; 1981, U.S.
   Supreme Court; 1982, U.S, Court of Appeals, Third Circuit. Education: Georgetown University
   (B.A., cum laude, 1971); Fordham University (J.D., 1975). Phi Beta Kappa. Member, Fordham
   Law Review, 1974-1975. Clerk to Honorable Thomas F. Murphy, United Stated District Court
   Judge, Southern District of New York, 1975-1976. Member New Jersey State and American Bar
   Association. Practice Areas: Litigation and Appeals in state and federal courts; General Practice;
   Employment Law; Commercial Law; Computer Law.

                                            ASSOCIATES

           RAYMOND J. LILLIE has experience in patent and trademark cases, including patent
   application prosecution, interferences, and validity and infringement studies. Mr. Lillie received
   his B.S. degree (magna cum laude) from the University of Scranton in 1981. He received a J.D.
   degree from the Marshall-Wythe School of Law, College of William and Mary in 1984. He is
   registered to practice before the United States Patent and Trademark Office.

                 He is a member of the American and New Jersey State Bar Associations, and a
   Fourth Degree member of the Knights of Columbus.

          WILLIAM SQUIRE graduated from Newark College of Engineering (NJIT) in 1959
   with a BS degree in Mechanical Engineering. In 1968, he received his juris doctor degree from
   Seton Hall University, Newark, N.J. He is admitted to the bar of the State of New Jersey. He is
   admitted to the United States District Court for the District of New Jersey, the United States
   Supreme Court and the Court of Appeals for the Federal Circuit. He is a registered patent
   attorney in the United States Patent and Trademark Office, having been registered in 1970.

                  He is a member of the New Jersey State Bar Association, The American
   Intellectual Property Law Association and The New Jersey Intellectual Property Law
   Association.

          ALAN J. GRANT, born Brooklyn, New York, March 8, 1950; admitted to bar, 1985,
   New York; 1989, U.S. District Court, Southern and Eastern Districts of New York; 1993, U.S.
   Court of Appeals, Federal Circuit; registered to practice before U.S. Patent and Trademark
   Office. (Not admitted in New Jersey). Education: St. Francis College (B.S., 1972); State
   University of New York, Downstate Medical Center (Ph.D., 1979); Brooklyn Law School (J.D.,
   1985). Member: New York State Bar Association. Practice Areas: Patent Law; Trademark;
   Copyright.

          STEPHEN R. DANEK, born Newark, New Jersey, May 3, 1964; admitted to bar 1989,
   New Jersey and U.S. District Court, District of New Jersey, 1989. Education: Muhlenberg
   College (B.A., Political Science, 1986); Seton Hall School of Law (J.D. 1989). Practice Areas:
   Personal Injury Litigation; Environmental Law.
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   Carella, Byrne
           DONALD ECKLUND Donald Ecklund focuses his practice on all aspects of complex
   commercial disputes, environmental litigation, consumer fraud, and class action litigation. Prior
   to joining the firm, Donald was an associate at a prestigious New York law firm for four years
   where he represented clients in complex products liability litigation, as well as various
   environmental contamination cases and other matters. Donald has served on committees in
   several multi-district litigations (MDLs) involving pharmaceutical drugs and medical devices.
   Most recently, he has been extensively involved in class action litigation arising from deceptive
   sales practices and engaged in commercial litigation relating to direct broadcast satellite
   television.

            A former law clerk for the Honorable Marina Corodemus, Mass Tort Judge for the State
   of New Jersey (Retired), where he focused on complex mass tort and environmental litigation,
   and for the Honorable Joseph C. Messina, Presiding Judge Chancery Division, General Equity
   Part, Superior Court of New Jersey (Retired) where he focused on business and commercial
   litigation, Donald brings unique insights and effective advocacy skills. Donald values the views
   of and input from his clients, and strives to meet their needs and obtain optimal outcomes.

          Donald is admitted to the Bars of the States of New Jersey and New York, and the United
   States District Courts for the Southern and Eastern Districts of New York and the District of
   New Jersey.

          MEGAN A. NATALE graduated from Seton Hall University with a Bachelor of the Arts
   degree in 2007. In 2010, Ms. Natale received a Juris Doctor degree from New York Law
   School. In 2011, Ms. Natale joined this firm as an associate. She e0250ngages in general and
   complex civil litigation, with a focus on personal injury litigation, employment law, and
   municipal law. Ms. Natale is admitted to practice before the New Jersey State Bar and the
   United States District Court for the District of New Jersey.

           AMANDA J. BARISICH engages in general civil litigation in state and federal court.
   She received a B.S. degree from Lehigh University in 2007 and Juris Doctor degree with a
   concentration in Intellectual Property from Seton Hall University School of Law in 2010. Prior
   to entering this firm, Ms. Barisich clerked for the Hon. Bernadette N. DeCastro, J.S.C. in the
   Civil Division of the Superior Court of New Jersey, Hudson Vicinage .

            ZACHARY S. BOWER graduated with a Bachelor of Arts in Economics and History
   from the University of Michigan in 2000 and received his J.D. from Boston University School of
   Law in 2004. After receiving his J.D., Mr. Bower served as a Law Clerk for the Honorable
   Judge K. Michael Moore in the United States District Court for the Southern District of Florida
   from September 2004 to September 2005. After his clerkship, Mr. Bower joined the law firm of
   Stearns Weaver Miller in Miami, FL where his practice focused on complex commercial matters
   such as securities litigation, fraud, and banking litigation as well as all aspects of class action
   litigation on behalf of both plaintiffs and defendants. Mr. Bower's current practice focuses
   primarily on multidistrict class action litigation. Ms. Bower is admitted to practice before the
   Florida State Bar and the United States District Court for the Southern District of Florida.
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   Carella, Byrne



                             MEMBERS OF THE FIRM
                                CHARLES C. CARELLA
                                 BRENDAN T. BYRNE
                                      JOHN N. BAIN
                                 PETER G. STEWART
                                  ELLIOT M. OLSTEIN
                                  JAN ALAN BRODY
                                  JOHN M. AGNELLO
                                CHARLES M. CARELLA
                                   JAMES E. CECCHI
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                               CARL R. WOODWARD III
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                                 DAVID G. GILFILLAN
                            G. GLENNON TROUBLEFIELD
                                  BRIAN H. FENLON
                                 LINDSEY H. TAYLOR
                               CAROLINE F. BARTLETT
                                 RAYMOND J. LILLIE
                                   WILLIAM SQUIRE
                                     ALAN J. GRANT
                                 STEPHEN R. DANEK
                                DONALD A. ECKLUND
                                  MEGAN A. NATALE
                                AMANDA J. BARISICH
                                 ZACHARY S. BOWER
                                   MICHAEL CROSS


                             RICHARD K. MATANLE, II
                                DONALD S. BROOKS
                                 FRANCIS C. HAND
                                  AVRAM S. EULE
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                                    (Of Counsel)
